Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 1 of 129 Page ID
                                    #878


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 JANIA VOLZ,                         )
                                     )
      Plaintiff,                     )                      Case No. 3:15-cv-00627-DRH-RJD
                                     )
 v.                                  )
                                     )
 TRICORP MANAGEMENT COMPANY, ET AL., )                      Judge: David R. Herndon
                                     )                      Magistrate: Reona J. Daly
      Defendants.                    )
                                     )

                             STIPULATION OF SETTLEMENT

        This Stipulation of Settlement (referenced herein as the "Settlement Agreement") is

 entered into on this 13th day of September, 2016 in settlement of the claims asserted in the

 Complaints and all subsequent amended complaints in Jania Volz v. Tricorp Management

 Company, et al., Case No. 3:15-cv-00627-DRH-PMF (hereinafter “the Lawsuit”) filed against

 Defendants Tricorp Management Company (“Tricorp Management”), Fairview Heights Bistro,

 LLC, Bistate Bistro Associates, L.P., Tricorp, Inc., Tricorp Food Services, Inc., Tricorp

 Enterprises, LTD, Primrose Restaurant Properties, L.P., BB Holding, LLC, Tricorp Holding,

 LLC, Bradley Bax, Stephen Bell (hereinafter “Defendants”) by the Plaintiff Jania Volz in the

 above-styled case who asserted claims under the Fair Labor Standards Act (“FLSA”), the Illinois

 Minimum Wage Law (“IMWL”), and common law (breach of contract and unjust enrichment)

 on her own behalf and on behalf of all other individuals who worked as tipped employees for

 Defendant Tricorp Management in Illinois, Missouri, Oklahoma, Kansas, and Arkansas. The

 Parties to the aforementioned lawsuits intend to resolve all claims under the IMWL, the Missouri

 Minimum Wage Law (“MMWL”), the Kansas Minimum Wage Maximum Hour Law

 (“KMWMHL”), the Oklahoma Minimum Wage Act (“OMWA”), and common law on a class

                                                1
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 2 of 129 Page ID
                                    #879


 basis pursuant to Fed. R. Civ. P. 23 and to resolve all claims under the FLSA on a collective

 basis pursuant to 29 U.S.C. §216(b). This Settlement Agreement is intended to fully resolve,

 discharge and settle the claims asserted in the aforementioned lawsuits, upon and subject to the

 terms and conditions of this Settlement Agreement.

                                            Article I

                                           Definitions

        The following terms shall have the meanings as set forth below:

        1.01 “Administrative Expenses” shall mean the costs and expenses of creating the

 mailing list, printing, mailing, providing notice of the settlement, reporting, preparation and

 mailing of distributions of settlement funds and tax documents to Class Members, and all related

 and incidental fees, charges and expenses of the Claims Administrator.

        1.02 “Class” means all Plaintiffs and all similarly-situated individuals who worked as

 tipped employees for Tricorp Management or any of the other Defendants in Illinois, Missouri,

 Oklahoma, Kansas, and Arkansas from February 25, 2013 through January 11, 2016 (“Class

 Period”) and who fail to properly opt out the state law and common law claims applicable to

 them. “Tipped Employees” shall mean all persons who worked for Tricorp Management at any

 time during the Class Period in any tipped position, including the following positions: (1)

 Waiter/Waitress; (2) Bartender; (3) Busser; (4) Host/Hostess; and (5) Barback.

        1.03 “Class Counsel” means the attorneys and firm representing Plaintiffs, the Class, the

 Subclasses, and the Collective in this Lawsuit (i.e. Brandon M. Wise; the Wise Firm LLC).

        1.04 “Class List” means the list of Class Members and Collective Members, including

 with regard to each Class Member and Collective Member, his or her name, last known mailing




                                                2
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 3 of 129 Page ID
                                    #880


 address, and, with regard to each Class Member and Collective Member, the respective dates of

 employment, and such other information as the Claims Administrator may request.

          1.05 “Class Member” or “Class Members” means all persons who fall within the

 definition of the “Class,” including individuals who meet the below definition of Collective.

          1.06 “Collective” or “Collective Members” means all Plaintiffs and any other Class

 Member who previously submitted a Claim Form/FLSA Consent Form to Class Counsel.

          1.07 “Defendants” means Tricorp Management, Fairview Heights Bistro, LLC, Bistate

 Bistro Associates, L.P., Tricorp, Inc., Tricorp Food Services, Inc., Tricorp Enterprises, LTD,

 Primrose Restaurant Properties, L.P., BB Holding, LLC, Tricorp Holding, LLC, Bradley Bax,

 Stephen Bell, and their current and former affiliates, related entities, parent corporations,

 subsidiaries, representatives, successors, assigns, employees, managers, agents, shareholders,

 officers, directors, and attorneys.

          1.08 “Effective Date” or “Effective Date of the Settlement Agreement” means the first

 date by which all of the events and conditions specified in § 11.01 herein have been met or have

 occurred and are final.

          1.09 “Fairness Hearing” means the hearing to determine whether the proposed Class and

 Collective was properly certified and whether the settlement should be finally approved by the

 Court.

          1.10 “Final” or “Finality Date” means that the time for filing a notice of appeal has run,

 or, if such a notice has been filed, the judgment or order has been affirmed and the time for

 seeking any further review has run, review has been denied, or the decision of the court of

 appeals has been affirmed.




                                                  3
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 4 of 129 Page ID
                                    #881


         1.11 “Judgment” or “Judgments” means the judgments and orders of dismissal to be

 rendered by the Court in the Lawsuit as provided for in Article VII.

         1.12 “Mailing of the Notice of Settlement” means the mailing being sent to the Class List

 referred to in § 9.02.

         1.13 “Notice of Settlement” means the Notice of Proposed Class and Collective

 Settlement as provided for in Articles 6.05 and 9.02 herein.

         1.14 “Opt Out List” means the list of names and addresses prepared by the Claims

 Administrator of the potential Class Members who have timely requested to be excluded from

 the Class.

         1.15 “Plaintiffs” means Jania Volz and any additional Plaintiffs named in an amended

 complaint.

         1.16 “Preliminary Approval Order” means the order preliminarily approving the

 Settlement Agreement, approving the Notice of Proposed Settlement and setting the date of the

 Fairness Hearing, as provided in Article VI herein.

         1.17 “Released Claims” means those claims being released, relinquished and forever

 discharged as a result of this settlement as described in Article VIII.

         1.18 “Release of Claims” means the act of releasing the Released Claims.

         1.19 “Settling Parties” means the Plaintiffs, the Class Members (except those Class

 Members who submit a timely, valid Request for Exclusion Form), the Collective Members and

 Defendants and, unless so limited herein, his, her, its or their respective executors,

 representatives, administrators, heirs, beneficiaries, guardians, custodians, predecessors,

 successors, assigns, current and former affiliates, related entities, parent corporations,




                                                   4
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 5 of 129 Page ID
                                    #882


 subsidiaries, representing successors, employees, managers, agents, officers, directors, and

 attorneys.

        1.20 “Unknown Claims” means any of the Released Claims which the Plaintiffs or any

 Class Members and Collective Members do not know exists or suspect exists in his, her, or their

 favor at the time of the release of the Defendants which, if known, might have affected his, her,

 or their settlement with and release of the Defendants or might have affected the decision not to

 object to this Settlement Agreement or any portion or aspect of the Settlement Agreement

 reached by the Settling Parties.

        1.21 “The Lawsuit” means Jania Volz v. Tricorp Management Company, et al., Case No.

 3:15-cv-00627-DRH-PMF.

                                            Article II

                                         The Litigation

        2.01 The original Complaint in the Lawsuit was filed against Defendants on June 5,

 2015, and an Amended Complaint was filed against Defendants on August 25, 2015.

        2.02 Defendants have denied and continue to deny all of the substantive and class

 allegations of the Complaints and all Amended Complaints in the Lawsuit.

        2.03 The Lawsuit has been vigorously prosecuted by the Plaintiffs and Class Counsel.

 The Lawsuit has been vigorously defended by Defendants. Thousands of documents have been

 produced and examined, and the Parties to the Lawsuit anticipate that, if the claims are not

 settled, the continued prosecution of the Lawsuit would require similar additional discovery

 efforts and thousands of hours of attorneys’ time for discovery, trial preparation, trial, and

 appellate proceedings.




                                                5
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 6 of 129 Page ID
                                    #883


        2.04 The Parties to the Lawsuit engaged in serious settlement negotiations that included

 an exchange of thousands of pages of time records and a settlement conference with Magistrate

 Judge Philip M. Frazier.

        2.05 The Lawsuit has not yet been certified as a class action. The Lawsuit has already

 been conditionally certified as a collective action with respect to the FLSA claims. By this

 Settlement Agreement and subject to the approval of the Court, the Parties agree that a Class

 may be certified pursuant to Federal Rules of Civil Procedures 23(a) and 23(b)(3) solely for

 purposes of effectuating this Settlement related to claims under the IMWL, MMWL,

 KMWMHL, OMWA, and common law unjust enrichment claims, and that a collective action

 may be finally certified pursuant to 29 U.S.C. § 216(b) solely for purposes of effectuating this

 settlement related to claims under the FLSA. Defendants expressly reserve the right to oppose

 certification should the Settlement not become final.

                                            Article III

                                    Benefits of the Settlement

        3.01 Class counsel has concluded, after substantial investigation, discovery of the facts,

 settlement negotiations that included a mediation, and careful consideration of the claims and

 defenses being asserted herein and the substantial costs, delays and uncertainties associated with

 proceeding, that it is in the best interest of the Settling Parties to enter into this Settlement

 Agreement in order to avoid the uncertainties of complex litigation, to assure a benefit to Class

 Members and Collective Members, and to minimize the need for significant additional litigation.

 Class Counsel believes that, in consideration of all the circumstances and after considerable

 arm’s-length negotiations, aided by Judge Frazier, the proposed settlement embodied in this

 Settlement Agreement is fair, reasonable, and adequate and confers substantial benefits on, and is



                                                 6
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 7 of 129 Page ID
                                    #884


 in the best interests of the Class and Collective and each of the Class Members and the

 Collective Members.

         3.02 Defendants have denied and continue to deny any liability with respect to any of the

 facts or claims raised against them and have interposed various affirmative defenses, all of which

 they continue to believe have legal merit. Nonetheless, Defendants have concluded after

 substantial investigation, settlement negotiations, and careful consideration of the circumstances

 of the claims and defenses being asserted herein and the substantial costs associated with

 proceeding, that it is in its best interests to enter into this Settlement Agreement in order to avoid

 further expense, inconvenience, the burden of this protracted litigation, the risks inherent in

 uncertain complex litigation, and to avoid the expense and risks inherent in any possible future

 litigation amongst the Parties raising similar claims.

                                               Article IV

                        Terms of Stipulation and Agreement of Settlement

         NOW, THEREFORE, IT IS AGREED by and among the Parties to the Lawsuit, through

 their respective counsel, that, subject to the final approval of the Court, all of Plaintiffs, the Class

 Members and Collective Members’ claims in the Lawsuit, including the Class and Collective

 claims, shall be finally and fully settled and compromised and shall be dismissed by agreement

 with prejudice, and without costs, expenses or an award of attorneys’ fees (except as set forth in

 Article X herein), within ten (10) days after the Settlement Agreement receives final approval.

                                               Article V

                   Retention of Claims Administrator and Payment of Moneys

         5.01 Subject to approval by the Court, the Parties to the Lawsuit agree to appoint a

 Claims Administrator for the purpose of performing all acts required herein of the Claims



                                                    7
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 8 of 129 Page ID
                                    #885


 Administrator. Prior to the appointment of any person or entity as Claims Administrator, said

 person or entity must agree in writing to perform all acts required herein of the Claims

 Administrator and to subject himself, herself or itself to the jurisdiction of the Court for purposes

 of enforcement of this Settlement Agreement and of the agreement to perform the acts required

 by this Settlement Agreement.

        5.02 This Settlement Agreement provides for a claim process requiring the Claims

 Administrator to make settlement payments to the Class Members and Collective Members

 according to the formula discussed below for each timely and valid claim submitted. The

 maximum total payment, including all attorneys’ fees and costs, incentive payments, back pay,

 liquidated damages, and interest, under the Settlement Agreement is Three Hundred Fifty

 Thousand Dollars ($350,000.00) (hereinafter the “Settlement Fund”).              Money from the

 Settlement Fund is to be distributed as follows:

                a.      Up to $105,000 in attorneys’ fees and up to $4,038.77 in costs and

        expenses to Class Counsel, pending the Court's approval of their fee petition, as provided

        in Article X.

                b.      A total of $6,500.00 in “Service Awards” to be paid to the Plaintiffs in the

        following manner: (i) $5,000.00 to Jania Volz; (ii) $500.00 to Catrina Milo; (iii) $500.00

        to Kristin Boyle; and (iv) $500.00 to Denise Klincik. These Services Awards are in

        addition to the Claims Payments to which the Plaintiffs are entitled pursuant to the

        formula referenced forth below in section 5.02(c) of this Settlement Agreement. The

        Plaintiffs are responsible for correctly characterizing the Service Awards for tax purposes

        and for paying any taxes due on the amounts received.




                                                    8
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 9 of 129 Page ID
                                    #886


              c.     “Claims Payments” will also be made to those Class Members who do not

       opt-out of the Class and Collective Members who opted into the Collective. Claims

       Payments to the Class Members who do not opt-out will be paid out of the portion of the

       Settlement Fund remaining after deducting the payments to be made pursuant to § 5.02(a)

       above (hereinafter the “Net Settlement Amount”). Claims Payments will be made by the

       Claims Administrator from the Net Settlement Amount pursuant to the formula set forth

       in the document attached hereto as Exhibit A. Exhibit B shall provide the full estimated

       amount (before withholding taxes) to be paid as Claims Payments, based on the formula

       set forth in said exhibit, to each Class Member assuming that the Class Member does not

       opt out of this Settlement Agreement. Collective Members will be paid based on the

       formula set forth in Exhibit B and be bound by the Settlement Agreement regardless of

       whether they opt out of the Class Action. If an individual is both a Class Member and a

       Collective Member, the individual will only be paid once based on the formula set forth

       in Exhibit A. The Claims Payments will be allocated in the following manner to be paid

       by the Claims Administrator in two (2) separate checks: (1) 50% as a wage distribution;

       and (2) 50% as a liquidated damages distribution. Thus, the Claims Payments will be

       treated as one-half back pay for which the applicable tax withholdings will be deducted

       from the earnings. All Class Members and Collective Members who timely cash Claims

       Payment checks distributed to them will receive an IRS Form W-2 with respect to this

       portion of the Claims Payments and the Claims Administrator shall compute and deduct

       all appropriate withholdings from such checks. Each Class Member and Collective

       Member who timely cashes a Claims Payment check distributed to them will also receive

       an IRS Form 1099 if such a form is required to be distributed by law. Such W-2 and



                                              9
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 10 of 129 Page ID
                                    #887


       Form 1099’s shall be given to the Class Members and Collective Members by the Claims

       Administrator and shall be issued for the year in which such payments are made by the

       Claims Administrator. The Class Members and Collective Members will be responsible

       for correctly characterizing the Claims Payments for tax purposes and for paying any

       taxes imposed upon them by virtue of the amounts received by them. Class Members and

       Collective Members shall not be responsible for any employer side taxes as provided in

       5.02(e)(5).

              d.     Not later than seven (7) days after mailing the checks, the Claims

       Administrator shall provide Defendants and Class Counsel with a listing of all checks

       representing wage distribution to Class Members and Collective Members and all

       employer side taxes due on such distributions (“Tax Listing”). Not later than seven (7)

       days after receipt of the Tax Listing, Defendants shall remit to the Claims Administrator

       funds sufficient to pay all employer side taxes. The Claims Administrator shall prepare

       and file all required tax documents with all taxing authorities including payment of all

       taxes withheld from the Class Members and Collective Members and all employer side

       taxes in a timely manner.

              e.     It is the intent of this Settlement that the Claims Payments provided for in

       this Settlement Agreement are the only payments to be made to the Class Members and

       Collective Members in consideration for the Release of Claims. After all payments

       required by subsections (a) through (c) of this § 5.02 are distributed and 90 days has

       transpired since issuance of the Claims Payments has expired, the remainder of the

       Settlement Fund, including the amounts of any unclaimed Claim Payments or uncashed

       Claims Payment checks, shall revert to and be paid to Defendants. The Settling Parties



                                              10
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 11 of 129 Page ID
                                    #888


         further agree, to the extent permitted by law, that state laws regarding collection of

         unpaid wages and unclaimed property shall not be applicable.

                f.      Defendants shall have no obligation to pay any person or entity except as

         to: (1) Claims Payments for the Collective Members and Class Members who do not opt

         out of the Class; (2) the attorneys’ fees, costs, and expenses approved by the Court; (3) all

         costs of claims administration; and (4) the employer portion of the withholdings

         attributable to the portion payable to Class Members and Collective Members as wages.

         5.03 These payments as set forth in § 5.02(a) through § 5.02(c) shall be collectively

  referenced herein as the “Settlement Payments.”

                                              Article VI

           Entry of Preliminary Approval Order and Notice To The Settlement Class

         As soon as possible, and no later than seven (7) days after the execution of this

  Settlement Agreement, the Parties shall jointly submit this Settlement Agreement, together with

  its Exhibits to the Court, and Plaintiffs shall apply to the Court for entry of a Preliminary

  Approval Order that will provide for the following:

         6.01 Preliminarily approve this Settlement Agreement as being fair, reasonable, adequate

  and in the best interests of the Class Members and Collective Members and a fair and reasonable

  resolution of a bona fide dispute under FLSA provisions and applicable state laws.

         6.02 Certify a Class under Fed. R. Civ. P. 23(b)(3) for the purpose of effectuating this

  Settlement Agreement to include the Plaintiffs and all Class Members.

         6.03 Certify a collective action in final under 29 U.S.C. §216(b) of the FLSA for the

  purpose of effectuating this Settlement Agreement to include the Plaintiffs and all Collective

  Members.



                                                  11
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 12 of 129 Page ID
                                    #889


         6.04 Appoint Class Counsel with authority to enter into and effectuate this Settlement

  Agreement on behalf of the Class and Collective.

         6.05 Approve the Notice of Settlement, which is to be sent to all Class Members and

  Collective Members by First Class Mail.

         6.06 Approve the mailing of a Request for Exclusion Form, along with the Notice of

  Settlement, to Class Members and Collective Members who are not already Plaintiffs in the

  Lawsuit.

         6.07 Require that to be valid all individuals falling within the definition of the Class who

  wish to exclude themselves from the Class and from participation in the settlement shall mail a

  completed, signed Request for Exclusion Form to the Claims Administrator postmarked no later

  than sixty (60) days after the mailing of the Notice of Settlement.

         6.08 Set a deadline for the filing of Plaintiffs’ memoranda in support of the motion to

  approve this Settlement Agreement and Petition to Approve Fee Award of seven (7) days prior to

  the Fairness Hearing.

         6.09 Provide that the mailing of the Notice of Settlement be made within fourteen (14)

  days after the entry of the Preliminary Approval Order.

         6.10 Provide that objections by any Class Member and Collective Members to this

  Settlement Agreement shall be heard and any papers submitted in support of said objections shall

  be considered by the Court at the Fairness Hearing only if said objections are in writing, mailed

  to the Claims Administrator, and postmarked no later than sixty (60) days after the mailing of the

  Notice of Settlement, with copies of the foregoing objections and all other papers in support of

  such objections mailed to Class Counsel.




                                                  12
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 13 of 129 Page ID
                                    #890


         6.11 Provide that Class Counsel shall file all objections and other papers in support of

  such objections with the Court no later than seventy-five (75) days after mailing of the Notice of

  Settlement.

         6.12 Find that Plaintiffs have agreed to the terms of this Settlement Agreement.

         6.13 Find that the Notice of Settlement to be given in accordance with the Preliminary

  Approval Order constitutes the best notice practicable under the circumstances and constitutes

  valid, due and sufficient notice to all Class Members and Collective Members, and fully satisfies

  the requirements of Federal Rule of Civil Procedure 23(c)(2), the FLSA, and the requirements of

  due process.

         6.14 Provide that the Class Members, except those who timely submit a request for

  exclusion, and Collective Members will be included in and bound by any and all judgments or

  orders entered or approved by the Court in connection with the settlement, whether favorable or

  unfavorable to the Class and Collective and, upon the entry of judgment, will be permanently

  barred and enjoined from commencing, prosecuting any claim or participating in any recovery in

  any forum in which any of the Released Claims are asserted or pursued.

         6.15 Schedule a Fairness Hearing to be held by the Court no less than ninety (90) days

  and no more than one hundred five (105) days after the entry of the Preliminary Approval Order

  to consider and determine whether the proposed settlement, as set forth in the Settlement

  Agreement, should be approved as fair, reasonable and adequate to the Class and Collective, and

  whether Judgment should be entered.

         6.16 Provide that, at or after the Fairness Hearing, the Court shall determine whether the

  settlement should be approved and enter an order thereon.




                                                 13
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 14 of 129 Page ID
                                    #891


         6.17 Provide that the Fairness Hearing may, from time to time and without further notice

  to the Class and the Collective, be continued or adjourned by order of the Court.

         6.18 Provide that Defendants shall file a certificate with the Court of its compliance with

  28 U.S.C. § 1715’s notice requirements within 10 days of the Preliminary Approval Order.

         6.19 Grant Class Counsel’s leave to file a Second Amended Complaint (a copy of the

  Proposed Second Amended Complaint is attached hereto as Exhibit C).

         6.20 Provide that, on the date of the entry of the Judgment in the Lawsuit, Plaintiffs,

  Collective Members, and all Class Members who have not timely opted out in accordance with §

  6.07 and § 9.04, shall be barred from asserting any of the Released Claims against Defendants

  and shall conclusively be deemed to have released, relinquished and forever discharged any and

  all such Released Claims as against Defendants.

                                             Article VII

                              The Judgment and Order of Dismissal

         7.01 Upon the final approval of this Settlement Agreement, Judgment in the Lawsuit

  shall be entered providing for, among other things: (a) determination that the certification of the

  class was appropriate for the purpose of effectuating this Settlement Agreement; (b)

  determination that the certification of the collective was appropriate for the purpose of

  effectuating this Settlement Agreement; (c) approval of the Settlement Agreement, judging its

  terms to be fair, reasonable, adequate and in the best interests of the Settling Parties, and

  directing its consummation in accordance with its terms; (d) dismissal with prejudice of the

  Lawsuit, which shall provide for: (i) the entry of Final Judgment pursuant to Fed. R. Civ. P. 54 in

  this action dismissing all of the Plaintiffs' claims, the Class’ claims and the Collective’s claims

  on the merits with prejudice, and without costs and attorneys’ fees, and expenses (except as



                                                  14
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 15 of 129 Page ID
                                    #892


  provided herein in Article X); and (ii) the release by the Plaintiffs and the Class Members (with

  the exception of those Class Members who opted out) and the Collective Members of all

  Released Claims against Defendants as set forth in Article VIII.

                                            Article VIII

                                              Releases

         Upon entry of the Judgments, the Parties shall be deemed to have provided the following

  Release of Claims:

         8.01 Upon entry of Judgments, the Plaintiff, Collective Members, and all other Class

  Members, with the exception of those Class Members who submit a valid and timely Request for

  Exclusion form, and each of their respective spouses, heirs, executors, representatives,

  administrators, guardians, beneficiaries, custodians, successors, assigns and anyone claiming by,

  through or under them, hereby release, extinguish and forever discharge Defendants and will be

  deemed to have released, to have extinguished and to have forever discharged Defendants from

  any and all liabilities, demands, claims, disputes, grievances, charges, actions, arbitrations,

  matters, claims for attorneys’ fees, costs and expenses, causes of action and legal proceedings of

  any type, known or unknown, that they have, may have had, could have alleged, or did allege in

  the Lawsuit that relate to the payment or non-payments of wages, including payment of

  minimum and overtime wages or deductions made from payments, under the FLSA, the IMWL,

  the MMWL, the KMWMHL, the OMWA, or common law.

         8.02 The scope of the release given by the Plaintiffs and the Class Members and

  Collective Members is governed exclusively by this Article.

                                             Article IX

                    Administration of Settlement and Distribution of Money



                                                 15
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 16 of 129 Page ID
                                    #893


         9.01 Within seven (7) days after the Preliminary Approval Order, Counsel for Defendants

  will provide to the Claims Administrator and Class Counsel a CD containing the Class List. The

  Claims Administrator agrees to use this data solely for purposes of effectuating this Settlement

  Agreement. Further, the Claims Administrator and Class Counsel will comply with all state and

  federal laws that protect the privacy of current and former employees of Defendants.

         9.02 Within seven (7) days of receiving the Class List, the Claims Administrator shall

  cause a copy of the court approved written Notice of Settlement to be mailed to each person on

  the Class List by First Class Mail with proper postage prepaid to the best, last known address of

  each such individual. Enclosed with the Notice of Settlement will be a copy of the court

  approved Request for Exclusion Form. The Parties to the Lawsuit agree that any modifications

  to the Notice of Settlement or Request for Exclusion Form by the Court do not constitute

  grounds for rescission of this Settlement Agreement.        The right to submit a Request for

  Exclusion Form may only be exercised by a Class Member or his/her legally designated heir or

  legal administrator.

         9.03 Within fourteen (14) days after the completion of all of the events referenced in §

  9.01 and § 9.02 above, the Claims Administrator shall serve on Class Counsel and Counsel for

  Defendants a certificate, under oath, that the aforesaid Notices of Settlement were mailed in

  accordance with the requirements of §9.02 of this Settlement Agreement, and the aforesaid

  certificate shall state the total number of notices mailed and the date of the mailing. Notices of

  Settlement and enclosed forms returned to the Claims Administrator as non-delivered during the

  sixty (60) day period for opting out of the Lawsuit shall be resent within seven (7) days to the

  forwarding address, if any, on the returned envelope. If there is no forwarding address, the

  Claims Administrator shall promptly conduct a skip trace of the last known name, address and



                                                 16
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 17 of 129 Page ID
                                    #894


  social security number, using Accurint and such other means as the Claims Administrator deems

  appropriate, to locate any and all persons whose notice was returned as undeliverable, and, upon

  finding a new address of such person, provide Class Counsel and Counsel for Defendants with

  the new address and promptly mail such person a new Notice of Settlement at the new address.

  No less than sixty (60) days and no more than eighty (80) days after the entry of the Preliminary

  Approval Order, the Claims Administrator shall provide to the Defendants and Class Counsel a

  certificate, stating under oath the number of Notices of Settlement that were returned as

  undeliverable, the number of new addresses that were found and the number of notices re-mailed

  to those new addresses. Defendants shall file this certificate with the Court within five (5) days

  of receiving it. Upon completion of the above steps by the Claims Administrator, the Parties to

  the Lawsuit shall be deemed to have satisfied their obligation to provide the Notice of Settlement

  to each Class Member and Collective Member and each Class Member and Collective Member

  shall be bound by all the terms of the Settlement Agreement and the Court’s Orders and final

  judgments unless such Class Member submitted a timely Request for Exclusion Form or, solely

  with respect to any claim under the FLSA, failed to submit an Opt-In Form.

         9.04 The Notice Of Proposed Settlement shall include a statement that any Request for

  Exclusion Forms from Class Members and any objections to the Settlement Agreement must be

  signed and in writing. Objections must be mailed to the Claims Administrator and postmarked

  on or before sixty (60) days after the initial mailing of Notice of Settlement, with a copy mailed

  to Class Counsel at the addresses as set forth in the Notice of Settlement. Requests for Exclusion

  Forms must be mailed to the Claims Administrator at the Claims Administrator’s address as set

  forth in § 12.01, postmarked no later than sixty (60) days after the mailing of the Notice of

  Settlement. Any Objection to the Settlement Agreement not made in conformity with these



                                                 17
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 18 of 129 Page ID
                                    #895


  requirements shall be deemed invalid and the Class Member will not be able to contest this

  Settlement Agreement at the fairness hearing.       Any Request for Exclusion Form not in

  conformity with these requirements shall be deemed invalid and the Class Member will not be

  excluded from this Settlement Agreement. At no time shall Defendants, Class Counsel, or

  Counsel for Defendants seek to solicit or otherwise encourage Class Members to submit

  Objections to this Settlement Agreement or Request for Exclusion Forms.            The Claims

  Administrator and Class Counsel shall retain all envelopes in which any Objection or Request for

  Exclusion Form are sent to them and any other evidence of the mailing or delivery date of such

  documents.

         9.05 Within seventy-five (75) days after the mailing of the Notice of Settlement, the

  Claims Administrator shall prepare a list of the name and address of any Class Member who

  submitted a timely, valid Request for Exclusion Form (“Opt-Out List”). Within the aforesaid

  time period, the Claims Administrator shall provide to Counsel for Defendants and Class

  Counsel copies of the list in the form of a Excel file and hard printed copy, certified by the

  Claims Administrator to be correct and accurate, and PDF copies of the Request for Exclusion

  Forms submitted by the deadline. Class Counsel shall file the Opt-Out List and Request for

  Exclusion Forms with the Court within five (5) days of receiving them from the Claims

  Administrator.

         9.06 Within eighty (80) days after the mailing of the Notice of Settlement, the Claims

  Administrator shall submit to Defendants’ Counsel and Class Counsel a “Final Class List,”

  which shall provide the name and mailing address for the Plaintiffs, Collective Members, and

  every Class Member who did not opt-out of the Settlement. The list shall also provide the full

  pre-tax withholdings amount of the Claims Payments to be made to each Collective Member and



                                                18
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 19 of 129 Page ID
                                    #896


  each Class Member who did not opt-out of the Lawsuit. Within five (5) business days after

  receiving the Final Class List, the Class Counsel shall move for leave to file the Final Class List

  under seal. As soon as practicable after the Court rules on the motion for leave to file under seal,

  the Class Counsel shall file the Final Class List with the Court, under seal if allowed by the

  Court or as a public document otherwise.

         9.07 Within seven (7) days prior to the Fairness Hearing, Class Counsel shall file a

  motion before the Court seeking, upon final approval of the Settlement Agreement at the

  Fairness Hearing, Judgments: (a) determining that the certifications of the Class and Collective

  were appropriate for the purpose of effectuating the Settlement Agreement; (b) approving this

  Settlement Agreement, judging its terms to be fair, reasonable, adequate and in the best interests

  of the Class Members and the Settling Parties, and directing its consummation in accordance

  with its terms; (c) excluding from the Class each person who has timely submitted a valid

  Request for Exclusion Form; (d) approving, for purposes of calculating and making distributions

  under the terms of this Settlement Agreement to the individuals listed on the Final Class List, the

  amount to be paid to each individual as calculated pursuant to § 5.02; (e) approving the payment

  of attorneys’ fees, costs and expenses referenced in Article X; and (f) providing for dismissal

  with prejudice of the Lawsuit.

         9.08 Within twenty (20) days following the Effective Date of the Settlement Agreement,

  the Claims Administrator shall provide Class Counsel and Counsel for Defendant, with a report

  listing the amount of all payments to be made to each individual on the Final Class List.

         9.09 The Claims Administrator shall issue Claims Payments to each Collective Member

  and each Class Member who did not opt-out of the Lawsuit, in accordance with the monetary

  amount designated on the Final Class List, within thirty (30) days of the Effective Date of the



                                                  19
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 20 of 129 Page ID
                                    #897


  Settlement Agreement. The Claims Administrator shall mail the checks by First Class Mail to

  each respective individual on the Final Class List at his or her last known address. Within

  twenty-five (25) days of the Effective Date of the Settlement Agreement, Defendants will make

  available to the Claims Administrator funds sufficient to cover all checks the Claims

  Administrator will be required to issue pursuant to this Settlement Agreement.

         9.10 Within seven (7) days after the completion of the above-described mailing of the

  settlement checks, the Claims Administrator shall provide Class Counsel and Counsel for

  Defendants with a certification that the settlement payments required by the Final Class List have

  been mailed.

         9.11 Upon presentation of letters of administration with respect to an estate of a deceased,

  disabled or incompetent Class Member on the Final Class List or other sufficient evidence of

  personal representation, the Claims Administrator shall promptly provide such representative

  with the settlement check(s) for the Class Member without charge and shall provide Class

  Counsel and Counsel for Defendants with the name, address, and office of the personal

  representative and the name of the Class Member for whom a letter of administration or other

  evidence of personal representation has been presented.

         9.12 All settlement checks shall bear a prominent legend that the check must be cashed

  within ninety (90) days after the date on which it is shown to have been drawn. If a check is not

  cashed within ninety (90) days after the date on which it is shown to have been drawn, the

  settlement check will be void and a stop-payment order will be placed on such checks. All

  voided settlement checks will be treated as part of the remainder amount that will revert to

  Defendants as set forth above in 5.02(d) of this Settlement Agreement.




                                                 20
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 21 of 129 Page ID
                                    #898


         9.13 The Claims Administrator shall be responsible for preparing and filing all IRS W-2

  forms, IRS 1099 forms and sending said forms to the Class Members and Collective Members

  who receive a settlement check of any kind. Class Counsel and Counsel for Defendants do not

  intend this Settlement Agreement to constitute legal advice regarding tax liability of any Class

  Member or Collective Member.

         9.14 In addition to any and all duties otherwise required of the Claims Administrator in

  the Settlement Agreement, the Claims Administrator shall also perform the following duties: (a)

  at least once every thirty (30) days during the period commencing with the mailing of the Notice

  of Settlement and ending with the mailing of the checks, the Claims Administrator shall provide

  Class Counsel and counsel for Defendant with an alphabetized (by last name) list, together with

  last known addresses, of all Class Members and Collective members whose Notice of Settlement

  were returned as undeliverable and shall further provide such counsel with all information

  available to the Claims Administrator concerning new addresses of such Class Members and

  Collective Members; (b) at least once every fourteen (14) days, the Claims Administrator shall

  provide Class Counsel and Counsel for Defendants with copies of all mail received by the

  Claims Administrator from Class Members and Collective Members since the prior distribution

  of such copies of mail to said counsel; (c) upon the request of Class Counsel or Counsel for

  Defendants, and as soon as practicable after such request, the Claims Administrator shall provide

  such counsel with copies of any mail or data related in any way to the processing of this

  Settlement Agreement that is in the custody, control or possession of the Claims Administrator;

  (d) date stamp receipt of all incoming written communications from Class Members and

  Collective Members, including but not limited to Request for Exclusion Forms and objections;

  and (e) upon the request of a Class Member or a Collective Member, and as soon as practicable



                                                 21
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 22 of 129 Page ID
                                    #899


  after such request, provide the Class Member or Collective Member with a copy of this

  Settlement Agreement.

         9.15 Defendants are responsible for the Administrative Expenses, as defined in § 1.01.

  The Claims Administrator shall provide a monthly accounting to Counsel for Defendants of all

  expenses incurred.

         9.16 All disputes relating to the Claims Administrator’s performance of its duties shall be

  referred to the Court, if necessary, which will have continuing jurisdiction over the terms and

  conditions of this Settlement Agreement until all payments and obligations contemplated by this

  Settlement Agreement have been completed.



                                              Article X

                       Class Counsel's Fees and Reimbursement of Expenses

         10.01 Class Counsel agrees that the aggregate amount awarded to Class Counsel will not

  exceed $105,000.00 in attorneys’ fees and will not exceed $4,038.77 in costs and expenses.

  Defendants will not oppose this petition. Any award of attorneys’ fees, costs and expenses shall

  be part of the $350,000.00 Settlement Fund and not a separate payment in addition to this

  amount.

         10.02 Within thirty (30) days of the Effective Date of this Settlement Agreement, the

  Claims Administrator shall pay the fee awards approved by the Court in full satisfaction of the

  Plaintiffs’ and the Class and Collective claims for attorneys’ fees, expenses, and costs incurred in

  connection with the Lawsuit. The check shall be made payable to Class Counsel in the amounts

  awarded by the Court. Class Counsel agrees to provide Defendants with a completed W-9 form

  within thirty (30) days of the Preliminary Approval Order.



                                                  22
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 23 of 129 Page ID
                                    #900


         10.03 Should the Court for whatever reason reduce the amount of attorneys’ fees and/or

  costs and expenses to what it believes Class Counsel is entitled, this Settlement Agreement will

  remain in effect and will not be deemed null and void.

                                              Article XI

                     Effective Date and Termination of Settlement Agreement

         11.01 Subject to the provisions of § 11.02 below, the Effective Date of the Settlement

  Agreement shall be the first date by which all of the following events and conditions shall have

  occurred:

                  a. Execution of this Settlement Agreement by all signatories hereto;

                  b. The Court has preliminarily approved this Settlement Agreement, certified the

         Class action and Collective action, and approved the method for providing the Notice of

         Settlement and content of the Notice of Settlement by entry of the Preliminary Approval

         Order;

                  c. The Court has entered judgment in the Lawsuit pursuant to Fed. R. Civ. P. 54,

         described in Article VII; and

                  d. The Judgment in the Lawsuit have become Final as defined in § 1.10. In this

         regard, it is the intention of the Parties to the Lawsuit that this Settlement Agreement

         shall not become effective until the Court’s Judgment approving this Settlement

         Agreement is completely final, and there is no further recourse by an appellant or

         objector who seeks to contest this Settlement Agreement.

         11.02 If any of the conditions specified in § 11.01 herein are not met, then the Settlement

  Agreement shall be cancelled and terminated unless otherwise mutually agreed to in writing by

  the Parties to the Lawsuit.



                                                  23
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 24 of 129 Page ID
                                    #901


         11.03 If this Settlement Agreement is not approved by the Court, or if the Effective Date

  does not occur, then this Settlement Agreement shall be canceled and terminated and shall not be

  used in the Lawsuit or in any other proceeding or for any other purpose, and any judgments or

  orders entered by the Court in accordance with the terms of this Settlement Agreement shall be

  treated as vacated nunc pro tunc. The Settling Parties shall revert to their respective positions as

  though this Settlement Agreement had never been executed.

         11.04 Defendants do not consent to certification of the class action or final certification

  of the collective action for any purpose other than to effectuate the settlement of the Lawsuit. If

  this Settlement Agreement is terminated pursuant to its terms or the Effective Date for any

  reason does not occur, the Orders certifying the Class action and Collective action and all

  preliminary or final findings regarding the Court’s certification orders shall be automatically

  vacated upon notice to the Court of the termination of the Settlement Agreement or the failure of

  the Effective Date to occur, and the Lawsuit shall proceed as though the Class had never been

  certified and Collective had never been finally certified and such findings had never been made.



                                             Article XII

                                 Other Provisions of the Settlement

         12.01 Where notice is required to be provided to Class Counsel or Counsel for

  Defendants by the Claims Administrator, or where materials are required to be sent to Class

  Counsel or Counsel for Defendants by the Claims Administrator, then such requirements shall be

  satisfied by providing such notice or sending such materials to:

         In the case of Defendants:

         McMahon Berger, P.C.
         Attn: Daniel G. Fritz

                                                  24
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 25 of 129 Page ID
                                    #902


         Attn: Brian M. O’Neal
         2730 North Ballas Road, Suite 200
         P.O. Box 31901
         St. Louis, MO 63131-3039
         fritz@mcmahonberger.com
         oneal@mcmahonberger.com


         In the case of the Claims Administrator:

         Tricorp Management Settlement
         c/o Dahl Administration
         6465 Wayzata Boulevard, Suite 420
         Minneapolis, MN 55426

         In the case of Plaintiffs, the Class and the Collective 1:

         Peiffer Rosca Wolf
         Abdullah Carr & Kane, APLC
         Attn: Brandon Wise
         818 Lafayette Ave., Floor 2
         St. Louis, MO 63104
         bwise@prwlegal.com

         12.02 The Plaintiffs, Defendants, Class Counsel, and Counsel for Defendants will use

  their best efforts to ensure that any factual statements they make to any third party (including the

  media) are accurate; however, no statements will be made to a third party before the Effective

  Date of the Settlement Agreement unless specifically permitted under the terms of this

  Agreement.

         12.03 Appropriate withholding of federal, state, and local income taxes, and the

  appropriate employee share of FICA and Medicare taxes will be made from the portion of the


  1
    Plaintiff’s Counsel has changed his firm and address after conditional certification and
  settlement of this matter. Counsel agrees to maintain the following contact information for the
  duration of the settlement administration:
         The Wise Firm LLC
         Attn: Brandon Wise
         P.O. Box 701
         Carlinville, IL 62626
         brandon.wise@thewisefirm.com
                                                   25
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 26 of 129 Page ID
                                    #903


  Claims Payments that are apportioned as back pay and said withholdings will be deducted from

  the Net Settlement Amount. No deductions shall be made from the portion of the Claims

  Payments that are apportioned as liquidated damages. The employer’s share of FUTA, FICA,

  and Medicare taxes shall be paid by Defendants and not deducted from the Settlement Fund. To

  the extent permissible by federal regulations, the amount of federal income tax withholdings will

  be based upon a flat withholding rate for supplemental wage payments of 25 percent. Income

  tax withholding will also be made pursuant to applicable state and/or local withholding codes or

  regulations.

           12.04 The prevailing party in any dispute to enforce the terms of this Settlement

  Agreement shall be entitled to their reasonable attorneys’ fees and costs from the non-prevailing

  party.

           12.05 Defendants will provide the required notice of the settlement to the appropriate

  State and Federal officials as required under the Class Action Fairness Act (“CAFA”), 28 U.S.C.

  § 1715.     The CAFA notice will be sent no more than ten (10) days after the motion for

  preliminary approval is filed with the Court.

           12.06 This Settlement Agreement shall be binding upon and inure to the benefit of the

  Settling Parties and their respective heirs, trustees, executors, administrators, successors, and

  assigns.

           12.07 If any individual or entity objects to or appeals the approval of this Settlement

  Agreement, the Parties to the Lawsuit shall support and defend the propriety of and approval of

  this Settlement Agreement.

           12.08 If the Settlement Agreement is not preliminarily or finally approved, whether by

  reason of an order of the United States District Court for the Southern District of Illinois or of



                                                  26
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 27 of 129 Page ID
                                    #904


  any appellate court or for any other reason, then the Releases contained herein shall be null and

  void and any and all further undertakings of the Parties under this Settlement Agreement shall be

  excused.

         12.09 Neither the making of this Settlement Agreement nor anything stated in this

  Settlement Agreement shall be construed as an admission by the Defendants of any fact alleged

  by the Plaintiffs or the Class Members or the Collective Members or of the merits of any claim

  of liability, Defendants expressly denying all such facts and claims of liability. Neither the

  making of this Settlement Agreement nor anything stated in this Settlement Agreement shall be

  construed or used as an admission by Plaintiffs or any of the Class Members or any of the

  Collective Members of any fact alleged by Defendants in the Lawsuit or of the merits of any

  defense, Plaintiffs and the Class Members and the Collective Members expressly denying all

  such facts and claims of defense. The Settlement Agreement shall not constitute evidence of any

  violation of law by Defendants. Neither this Settlement Agreement nor any statements made or

  documents exchanged solely for mediation and settlement of the Lawsuit, nor any documents

  filed by the Settling Parties in connection with this settlement shall be admissible or offered into

  evidence in the Lawsuit or any other action for any purpose other than for purposes of this

  settlement or as agreed by the Settling Parties.

         12.10 The Settling Parties acknowledge that they are entering into this Settlement

  Agreement voluntarily and that it is his, her, its or their intent to consummate this Settlement

  Agreement and agree to cooperate to the extent necessary to effectuate and implement all terms

  and conditions of this Settlement Agreement and exercise best efforts to establish the foregoing

  terms and conditions of the Settlement Agreement. The Settling Parties agree that the terms and

  conditions of this Settlement Agreement are the result of substantial negotiations and that this



                                                     27
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 28 of 129 Page ID
                                    #905


  Settlement Agreement shall not be construed in favor of or against any party by reason of the

  extent to which any party or his, her, or its counsel participated in the drafting of this Settlement

  Agreement.

         12.11 Upon execution of this Settlement Agreement, all discovery and other proceedings

  in the Lawsuit shall be stayed until further order of the Court, except such proceedings as may be

  necessary to implement the settlement or comply with or effectuate the terms of this Settlement

  Agreement.

         12.12 This Settlement Agreement (along with the Exhibits thereto) constitutes the entire

  agreement among the Settling Parties and supersedes all prior and contemporaneous agreements

  or understandings between the Settling Parties with respect to the subject matter hereof, and any

  and all prior correspondence, conversations or memoranda between the Settling Parties are

  merged herein and are replaced hereby. This Settlement Agreement may not be altered or

  amended except by a written instrument that has been approved by an order of the United States

  District Court for the Southern District of Illinois.

         12.13 The Settling Parties hereto submit to the jurisdiction of the Court for purposes of

  implementing and enforcing the settlement embodied in this Settlement Agreement. The terms

  of this Settlement Agreement are and shall be binding upon and inure to the benefit of each of

  the Settling Parties. No provision of this Settlement Agreement shall provide any rights to, or be

  enforceable by, any person or entity that is not one of the Settling Parties.

         12.14 If any part, sub-part, section, paragraph, sub-paragraph, sentence, clause or term of

  this Settlement Agreement or the application of same to any person or circumstance is, for any

  reason, judged by any court to be unenforceable or contrary to law, or if the enactment or

  amendment of any federal or state statute, order, ordinance or regulation renders any provision of



                                                    28
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 29 of 129 Page ID
                                    #906


  this Settlement Agreement unenforceable or contrary to law, such judgment, enactment or

  amendment shall not affect, impair or invalidate the remainder of this Settlement Agreement,

  provided that such portion of this Settlement Agreement that has or may become unenforceable

  is not a material part or the essence of any party's bargain hereunder.

          12.15 The promises, agreements, obligations, undertakings, representations, and

  warranties set out herein shall survive the closing of this Settlement Agreement, the releases

  contained herein, and the judgment of dismissal to be entered.

          12.16 The Settling Parties agree that any claim that Defendants have breached this

  Agreement will not renew or reinstate the underlying claims released by this Agreement.

          12.17 This Settlement Agreement and the Exhibits hereto, and the rights and obligations

  of the Settling Parties, shall be construed and enforced in accordance with the laws of the State

  of Illinois as to substance and procedure, including all questions of conflicts of laws.

          12.18 The undersigned counsel and individuals are fully authorized to execute and enter

  into the terms and conditions of this Settlement Agreement on behalf of their respective clients.

  It is agreed that because the number of Class Members and Collective Members is numerous, it

  is impossible or impractical to have each Class Member and Collective Members execute this

  Settlement Agreement. The Notice of Settlement will advise all Class Members and Collective

  Members of the binding nature of the release, and the release shall have the same force and effect

  as if this Settlement Agreement were executed by each Collective Member and each Class

  Member who does not submit a timely, valid Request for Exclusion Form.

          12.19 This Settlement Agreement may be signed in single or separate counterparts, each

  of which shall constitute an original. Fax or electronically transmitted signatures will be binding

  on all of the Parties hereto.



                                                   29
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 30 of 129 Page ID
                                    #907
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 31 of 129 Page ID
                                    #908




                   EXHIBIT A
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 32 of 129 Page ID
                                    #909


                     EXHIBIT A TO STIPULATION OF SETTLEMENT
  Payments will be based on the following formula:
  Gross Settlement Fund = $350,000.00.
  Gross Settlement Fund, Less attorney’s fees ($105,000.00) and expenses ($4038.77) and service
  awards ($6,500.00) results in a Net Settlement Fund of $234,461.23
         The Net Settlement Fund first pays all alleged 20% Rule Violations, which total $12,598.65.
         Then the remainder of the Net Settlement Fund ($221,862.58) is to be distributed to all class
         members as payment, with $5.00 being the minimum payment.
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 33 of 129 Page ID
                                    #910




                   EXHIBIT B
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 34 of 129 Page ID
                                    #911

                                                Total State and Federal
      Last Name                First Name      With Liquidated Damages
                                                 (And Interest For IL)
         Altaf                    Sohel                  $55.81
       Antonio                  Amanda                   $15.71
       Arellano                   Celso                  $20.22
      Armstrong                   Dylan                  $11.28
        Arnold                  Courtnie                 $35.64
       Arteaga                   Ricardo                 $21.89
         Baker                   Marion                  $57.91
        Barker                  Meagan                   $14.35
        Barrett                  Denver                  $43.30
         Beals                    Jamie                  $9.52
       Bellafato                 Tiffany                 $80.69
      Belmonte                  Melanie                  $20.08
     Bencriscutto              Jennipher                 $39.70
       Bennett                   William                 $44.91
      Bernheisel                Shannon                $1,413.29
          Bibb                  Timothy                  $7.14
         Bickel                Elizabeth                 $27.92
      Bougades                  Kimberly                 $1.33
         Boyle                    Jessy                  $14.85
         Boyle                    Jessy                  $45.60
      Bradshaw                   Austin                  $6.75
      Brczewski                 Madison                  $7.70
        Brown                    Tyshea                  $33.01
        Bryant                   Shawn                   $6.14
         Burns                 Corey Ann                 $4.90
       Cabrera                     Jose                  $23.65
         Camp                     Aaron                  $30.69
      Carpenter                Kourtney                  $15.86
         Clark                    Jaime                  $51.11
        Clayton                 Danielle                 $14.49
         Cleek                   Robert                  $11.72
          Cole                   Colton                 $105.59
         Conn                   Heather                $1,258.62
       Coronilla                 Brenda                  $7.27
        Crowe                     Doug                  $724.50
          Cruz                     Rosa                  $8.33
     Cunningham                  Richard                 $5.19
         Daily                  Chelsea                  $2.45
        Daniel                    Bryan                  $14.14
         Davis                    Areta                  $8.19
         Davis                   Kristina                $15.22
         Davis                    Bryan                  $5.28
        Deines                  Christian               $132.77
       Dowling                   Patrick                 $43.16

                                    1 of 5          Exhibit B - 20% Rule Settlement Amounts
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 35 of 129 Page ID
                                    #912

                                                Total State and Federal
      Last Name                First Name      With Liquidated Damages
                                                 (And Interest For IL)
        Ellington                  John                  $7.34
           Ervin                 Dearria                 $32.38
          Farra                   Lindsy                 $93.49
          Feeler                Candace                  $7.93
          Ferkel                  Justin                 $2.16
       Fetherling               Michael                  $8.78
           Fink                  Reanna                  $4.23
        Fletcher                  Sarah                  $20.15
          Forte                  Shawn                   $6.59
        Fuentes                    Rosa                  $41.48
         Gaddis                 Cameron                  $24.75
          Garcia                   Juan                 $287.05
         Gavina                    Ryan                  $6.31
          Gibbs                 Ramonte                  $39.11
         Gibson                    Kyler                 $97.90
        Goldberg                  Paual                  $54.31
         Goode                   Samuel                  $14.74
        Grabow                     Blair                $269.62
            Hall                  Kelcie                 $2.20
       Hammack                 Madeleine                $148.19
          Hanna                   Linda                  $23.76
         Hardin                   Austin                 $16.37
          Harris                 Dalton                  $13.58
          Harris               Alphonso                  $85.69
          Harry                  Joshua                  $83.55
        Harzman                 Matthew                  $39.73
        Henning                  Joshua                  $11.07
       Hernandez                  Ofelia                 $37.33
            Hof                Frederick                 $4.20
        Howard                  Kaitlynn                 $24.53
        Hubbard                    Marc                 $144.16
         Hudson                   Justin                $146.94
        Huffman                  Bradley                $125.51
          Hurst                  Daniele                 $18.27
         Jacobs                   Jason                 $351.01
         Jenkins                 Kristina                $23.17
        Johnson                  Joshua                  $8.50
        Johnson                 Danielle                 $30.20
        Johnson                Shelvonna                 $41.41
          Jones                  Andrew                  $10.34
      Karabegovic                 Amira                  $4.19
          Keller                Nicholas                 $2.39
           Klein                    Karl                 $23.76
      Konersman                 Brittany                 $33.53

                                    2 of 5          Exhibit B - 20% Rule Settlement Amounts
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 36 of 129 Page ID
                                    #913

                                                Total State and Federal
      Last Name                First Name      With Liquidated Damages
                                                 (And Interest For IL)
        Korobey                    Kyle                  $6.03
          Leach               Christopher                $19.94
         Lesinski               Nicholas                $185.56
         Lingard               Richmand                 $113.19
          Lopez                   Alisha                 $66.05
          Lopez               Quadalupe                  $24.61
         Louton                  Keenan                  $8.21
          Lynch                 Michael                  $13.59
        Martinez                  Carlos                $123.26
         Mason                  Rebekka                  $15.42
        McClure                   Kevin                  $11.17
        McCurry                 Brendan                  $17.33
        McKellips                Sammi                   $5.43
         Medler                   Holly                  $26.17
         Mercer                   Jacob                  $67.17
          Miller                shannon                  $14.00
   Miller (Bernheisel)         Shannon                   $49.69
           Milo                  Catrina                $232.44
        Miranda                  Marlon                  $18.12
     Montgomery                 Zachary                  $18.59
         Moore                   Dardon                  $38.23
         Navarro                 Leticia                 $51.53
         Nobles                  George                  $22.37
       Ohlendorf                 Abigail                 $2.84
         Ovando                    Raul                 $104.50
        Overton                   Chris                 $217.13
         Owens                   Gordon                  $15.07
          Paulus               Kennedy                   $5.09
         Paxston                 Jessica                 $3.63
        Pedrotty                 Joseph                  $33.61
       Pettersen                Hannah                   $18.84
          Pierce               Matthew                   $7.77
           Pitts                 Jordan                  $65.26
          Prater                 Barret                  $21.62
           Price                Brianna                  $17.73
           Pyatt                 Renee                   $46.05
          Raines               Jermaine                  $41.81
        Randolph                Karmen                   $14.03
          Rangi                Ronowar                   $25.07
            Ray                    Levi                  $14.84
           Reed                Donnelle                  $26.29
         Rhodes                 Quanita                  $53.84
         Rhodes                   Hilary                 $43.02
       Richardson                 Jacori                 $52.47

                                    3 of 5          Exhibit B - 20% Rule Settlement Amounts
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 37 of 129 Page ID
                                    #914

                                                Total State and Federal
      Last Name                First Name      With Liquidated Damages
                                                 (And Interest For IL)
        Robinson                Kenneth                  $27.94
        Robinson                Antonio                  $73.44
        Robinson                Elizabeth                $35.33
          Romo                 Fernando                  $8.64
         Rosson                   Stevie                 $10.24
           Ruhl                Alexander                $431.86
           Ruiz                    Isaac                 $8.51
          Ruster                 Devon                   $17.85
         Salcedo               Alejandra                $210.60
       Samelton                   Zhane                  $23.59
         Sanders                  Mark                   $39.67
        Schempp                    Tyler                 $15.69
        Semones                  Sabrina                 $15.00
          Shoop                  Dustin                  $11.44
        Simmons                   Ronda                  $4.34
          Smith                Katarzyna                 $10.85
          Smith                  Andrew                  $18.59
      Songs-Miller                  Two                  $39.87
         Stevens                Matthew                  $18.62
         Stewart                Maxwell                  $60.55
           Stith                    Leo                  $11.00
       Strickland                  Elcid                 $17.29
          Taylor                 Gabriel                 $37.68
           Tech                   Kevin                  $9.23
          Terrell               Rebecca                  $9.59
       Thompson                 Whitney                  $6.84
          Tigrett                 Alexis                 $36.04
          Torrez                  Hilda                 $487.24
           Totty                  Aaron                 $150.58
         Traylor                  Alexis                 $2.92
           Trice                 Tationa                 $13.10
        Vazques                   Kevin                  $43.97
         Vicente                Benancio                 $50.67
           Volz                    Jania                $305.67
          Wade                   Devona                 $496.06
          Ware                     Amy                   $11.83
          Wells                Dominique                 $35.03
         Whaley                    Evan                 $104.67
       Whisenand                   Leah                  $12.88
      Whittemore                  Karyn                  $10.85
        Williams                 Melvin                  $25.19
           Witt                   Cody                   $16.07
         Wright                 Margaret                 $10.80
         Wright                 Brandon                 $134.89

                                    4 of 5          Exhibit B - 20% Rule Settlement Amounts
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 38 of 129 Page ID
                                    #915

                                                Total State and Federal
      Last Name                First Name      With Liquidated Damages
                                                 (And Interest For IL)
         Wright                 Destine                 $331.78
        Wyckoff                 Chelsea                  $43.30
          Yort                    Kasey                  $58.68
       Zdanowski                 Jessica                 $28.56
         Zepu                    Dewitt                  $2.36
      Zink-Cornell              jennifer                 $42.88

      COUNT: 182                                   SUM: $12,598.65




                                    5 of 5          Exhibit B - 20% Rule Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 39 of 129 Page ID
                                       #916

                                                             Days
             Name         Original Hire Date   Term Date   Employed Percentage      Settlement
ABBINK, SCOTT A.                   3/31/2015     5/23/2015        54   0.0089%     $      23.48
ABERNATHY, TAYLOR L.               9/29/2014     2/11/2015      136    0.0224%     $      51.54
ABHARI, MONA                       2/24/2014     1/11/2016      687    0.1132%     $     240.11
ABRAHAM, MEREDITH F.               2/24/2014     8/17/2014      175    0.0288%     $      64.89
ACCARDI, JASPER J.                 3/30/2015      5/1/2015        33   0.0054%     $      16.29
ACEBO, CONNOR                       3/5/2013     3/11/2013         7   0.0012%     $       7.40
ACEVES, LUIS                       2/11/2013      3/5/2013         9   0.0015%     $       8.08
ACON, LINDSAY F.                   3/24/2014    12/23/2014      275    0.0453%     $      99.11
ADAM, MERCEDES L.                   6/8/2014     2/12/2015      250    0.0412%     $      90.56
ADAMS, AHMAD J.                    4/13/2014      6/1/2014        50   0.0082%     $      22.11
ADAMS, ALBERT E.                    8/4/2014     9/13/2014        41   0.0068%     $      19.03
ADAMS, EMMA K.                      2/2/2015     1/11/2016      344    0.0567%     $     122.73
ADAMS, JAMAL                        1/8/2015     1/18/2015        11   0.0018%     $       8.76
ADAMS, LEROY R.                    5/11/2012     1/11/2016     1051    0.1731%     $     364.69
ADAMS, TABITHA J.                  5/28/2014     7/17/2014        51   0.0084%     $      22.45
ADAMSON, CHASE                     5/18/2012     1/11/2016     1051    0.1731%     $     364.69
ADAMSON, CHRISTOPHER                1/5/2012      8/2/2014      524    0.0863%     $     184.33
ADEDDKUN, ABRAHAM A.             11/27/2013       2/7/2014        73   0.0120%     $      29.98
ADKINS, ALEXANDRA G.               5/13/2013     6/15/2013        34   0.0056%     $      16.64
ADKINSON, FAITH                    6/26/2014      7/8/2014        13   0.0021%     $       9.45
AGUIRRE, RANDY S.                  7/22/2014     10/5/2014        76   0.0125%     $      31.01
AKANDE, HAMMED B.                  3/11/2015    11/19/2015      254    0.0418%     $      91.93
ALATORRE, DIANNE S.                 7/3/2014     9/22/2014        82   0.0135%     $      33.06
alawy, AMETHYST A.                 4/16/2015    12/21/2015      250    0.0412%     $      90.56
ALEN-MCPHERSON, TYLER              7/24/2015     1/11/2016      172    0.0283%     $      63.86
ALEXANDER, KIMBERLY L.              2/7/2013      4/8/2013        43   0.0071%     $      19.72
ALFORD, SYLVIA G.                  1/15/2013     8/23/2013      180    0.0296%     $      66.60
ALINGER, KALIE D.                11/25/2012      3/10/2013        14   0.0023%     $       9.79
Allah, Kareliza K.                 10/9/2015    10/11/2015         3   0.0005%     $       6.03
ALLEN, HALEY S.                  10/15/2014     10/28/2014        14   0.0023%     $       9.79
ALLEN, JESSICA H.                  5/18/2015     7/30/2015        74   0.0122%     $      30.33
ALLEN, JESSICA N.                  6/23/2013     4/28/2015      675    0.1112%     $     236.01
ALLEN, LACEY                        9/3/2013     9/16/2013        14   0.0023%     $       9.79
ALLEN, MELANIE L.                  3/19/2013      7/1/2013      105    0.0173%     $      40.93
ALLENDE, ROXANNE                 10/30/2012      8/27/2013      184    0.0303%     $      67.97
ALLES, JESSICA M.                  8/26/2013     10/7/2013        43   0.0071%     $      19.72
ALLEY, KAYLEIGH                  10/24/2013       2/8/2014      108    0.0178%     $      41.96
ALLISON, KAILEY N.                  2/4/2015     1/11/2016      342    0.0563%     $     122.04
ALMAZAN, MONICA C.                 11/6/2014    12/29/2014        54   0.0089%     $      23.48
ALONSO, SANDY A.                   3/26/2013     6/23/2013        90   0.0148%     $      35.80
ALRAIS, MOHAMED                  11/18/2014     12/15/2014        28   0.0046%     $      14.58
ALSINA GARCIA, ELVIN A.            11/3/2013    11/26/2013        24   0.0040%     $      13.21
ALTAF, SOHEL                       1/21/2012     1/11/2016     1051    0.1731%     $     364.69
ALVARADO, LIZBETH                  1/10/2011     3/24/2014      393    0.0647%     $     139.50
ALVARADO, MARTHA T.                3/25/2013    10/19/2015      939    0.1547%     $     326.36

                                                                     Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 40 of 129 Page ID
                                       #917

ALVARADO, NATHANIEL A.        2/3/2015    1/11/2016    343    0.0565%      $      122.39
ALVAREZ, AMYE L.             10/2/2012    4/17/2013     52    0.0086%      $       22.80
AMBRIZ, ZACHARIAH A.         7/18/2012    2/27/2013      3    0.0005%      $        6.03
AMDITIS, ALEXANDRINA         4/12/2013    6/17/2013     67    0.0110%      $       27.93
AMES, PHILIP R.              2/25/2015     3/6/2015     10    0.0016%      $        8.42
ANDERSON, CARA J.            1/27/2015    1/27/2015      1    0.0002%      $        5.34
ANDERSON, EVAN               6/10/2014   10/15/2014    128    0.0211%      $       48.81
ANDERSON, EVAN T.            11/5/2012    1/11/2016   1051    0.1731%      $      364.69
anderson, jamario M.         10/5/2015    1/11/2016     99    0.0163%      $       38.88
ANDERSON, JESSE L.          11/17/2014    10/7/2015    325    0.0535%      $      116.23
ANDERSON, JOSEPH A.          4/12/2012   10/12/2015    960    0.1581%      $      333.54
ANDERSON, KYLE W.             4/8/2014    6/29/2014     83    0.0137%      $       33.41
ANDERSON, MICHAEL L.          7/8/2013    9/25/2013     80    0.0132%      $       32.38
ANDERSON, SAMANTHA K.        6/30/2014    7/26/2014     27    0.0044%      $       14.24
ANDERSON, SHAD M.            9/27/2012    5/27/2013     92    0.0152%      $       36.49
ANDERSON, SHARIDAN N.         2/8/2015    1/11/2016    338    0.0557%      $      120.67
ANDOE, JONNA                 3/31/2014     7/1/2014     93    0.0153%      $       36.83
ANDRUS, KAYLA M.             8/11/2014    1/11/2016    519    0.0855%      $      182.62
ANISIOBI, STEFAN              4/1/2014    2/24/2015    330    0.0544%      $      117.94
ANTHONY, MEGAN E.           10/18/2012    8/19/2014    541    0.0891%      $      190.15
ANTHONY, SARAH E.            5/18/2015    6/29/2015     43    0.0071%      $       19.72
ANTONIO, AMANDA M.           3/27/2013    1/11/2016   1021    0.1682%      $      354.42
ANZALONE, CHRISTA N.        12/10/2014    1/11/2016    398    0.0656%      $      141.21
APPLEBERRY, KALLI N.         4/30/2014    9/27/2014    151    0.0249%      $       56.68
APPLETON, MEREDITH           5/16/2012    9/30/2013    218    0.0359%      $       79.61
ARCHER, MADISON C.           12/2/2014    5/25/2015    175    0.0288%      $       64.89
ARELLANO, CELSO              12/9/2014    2/10/2015     64    0.0105%      $       26.90
ARGUELLO, KELSI              5/12/2015    1/11/2016    245    0.0404%      $       88.85
ARMSTRONG, ALEC R.            5/4/2015    7/27/2015     85    0.0140%      $       34.09
ARMSTRONG, DYLAN M.          1/15/2014    10/6/2014    265    0.0436%      $       95.69
ARMSTRONG, TIMOTHY C.        6/19/2013    6/19/2013      1    0.0002%      $        5.34
ARMSTRONG, TRASHAI D.         5/8/2013    8/12/2013     97    0.0160%      $       38.20
ARNOLD, ALEXIS L.            5/29/2013    6/29/2015    762    0.1255%      $      265.78
ARNOLD, BROOKE N.            5/29/2013    1/11/2016    958    0.1578%      $      332.86
ARNOLD, COURTNIE M.         11/25/2013    1/11/2016    778    0.1281%      $      271.26
ARNOLD, LOGAN                10/1/2013    11/7/2013     38    0.0063%      $       18.00
ARNOLD, SANDRA K.             4/9/2014    4/24/2014     16    0.0026%      $       10.48
ARNOLD, TAELOR C.            6/24/2013    6/24/2013      1    0.0002%      $        5.34
ARTEAGA, RICARDO             7/22/2014   10/12/2014     83    0.0137%      $       33.41
ARTHUR, MALIK T.              4/7/2014   11/22/2014    230    0.0379%      $       83.71
ARWOOD, KATHRYN L.            6/8/2015    1/11/2016    218    0.0359%      $       79.61
ATCHLEY, CAROLYN R.           2/3/2015    1/11/2016    343    0.0565%      $      122.39
ATKINS, CHERYL               7/23/2015    1/11/2016    173    0.0285%      $       64.21
ATTERBERRY, KATE L.          6/24/2015    6/27/2015      4    0.0007%      $        6.37
AUDETTE, ASHLEY D.           8/20/2014    9/22/2014     34    0.0056%      $       16.64
AUSBERN, JOSEPH D.           4/18/2014     5/9/2015    387    0.0637%      $      137.44
AUSERMANN, CATHERINE L.      8/18/2014    8/26/2014      9    0.0015%      $        8.08

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 41 of 129 Page ID
                                       #918

AUSTIN, KAMBER M.            5/31/2013    7/17/2013     48    0.0079%      $       21.43
AVELAR, MARCO A.             8/20/2013     7/1/2014    316    0.0520%      $      113.15
AYRES, JACKIE G.             3/11/2013    5/23/2013     74    0.0122%      $       30.33
BABB, ANATASIA N.            10/3/2014    4/14/2015    194    0.0320%      $       71.39
BABB, JENNIFER R.             2/3/2015    1/11/2016    343    0.0565%      $      122.39
BABCOCK, MELISSA N.          4/14/2015    7/28/2015    106    0.0175%      $       41.28
BABCOCK, NATHANIEL G.       10/20/2014   11/13/2014     25    0.0041%      $       13.56
BACA-GETTLER, CAMILANN       9/30/2014    3/18/2015    170    0.0280%      $       63.18
BACHRI, SHIRLEY              8/30/2013     9/7/2013      9    0.0015%      $        8.08
BADALAMENTI, JOSHUA A.       8/23/2011     1/5/2015    680    0.1120%      $      237.72
BADALAMENTI, MIRANDA N.      7/13/2015    8/18/2015     37    0.0061%      $       17.66
BADMUS, ELIZABETH D.         6/10/2015    8/10/2015     62    0.0102%      $       26.22
BAEZ, DAVID                   4/1/2014    5/10/2014     40    0.0066%      $       18.69
BAHOR, DANA G.               8/18/2014    1/11/2016    512    0.0843%      $      180.22
BAHR, RYAN T.                 3/1/2015    10/7/2015    221    0.0364%      $       80.63
BAILEY, CASSANDRA J.          4/6/2015    1/11/2016    281    0.0463%      $      101.17
BAILEY, DEVIN P.              9/3/2014     9/4/2015    367    0.0604%      $      130.60
BAILEY, HOPE D.              6/16/2014    1/11/2016    575    0.0947%      $      201.78
BAILEY, JOSHUA S.           10/10/2012    4/19/2013     54    0.0089%      $       23.48
BAILEY, KHARLES             10/28/2013    12/9/2013     43    0.0071%      $       19.72
Baker, Alex                  10/7/2015    1/11/2016     97    0.0160%      $       38.20
BAKER, ASHLEY L.            12/18/2013   12/20/2013      3    0.0005%      $        6.03
BAKER, KELSEY B.             8/12/2014   10/19/2014     69    0.0114%      $       28.61
BAKER, MARION F.             5/10/2005    2/17/2015    723    0.1191%      $      252.43
BAKER, MEGAN D.               1/4/2014     4/8/2014     95    0.0156%      $       37.51
BALDASARRE, RAVEN M.          3/4/2013    4/14/2013     42    0.0069%      $       19.37
BALDINI, VALENTINA L.       12/15/2011     6/8/2013    104    0.0171%      $       40.59
BALDWIN, CHRIS L.            2/19/2013    1/11/2016   1051    0.1731%      $      364.69
BALLARD JR, CHARLES W.        7/8/2015    7/10/2015      3    0.0005%      $        6.03
BALLARD, SARA                5/20/2014    9/22/2014    126    0.0208%      $       48.12
BALLIS, NICOLE R.             2/3/2015    3/28/2015     54    0.0089%      $       23.48
BALQUE, ARIANNA M.            3/4/2014    5/20/2014     78    0.0128%      $       31.69
BANDA, NICOLE A.              7/2/2015    1/11/2016    194    0.0320%      $       71.39
BANGE, LEXIE C.               8/7/2014   12/16/2014    132    0.0217%      $       50.17
BANKS, DORION               11/20/2013    2/21/2014     94    0.0155%      $       37.17
BANKS, LASHAUNTEA            3/31/2014     4/7/2014      8    0.0013%      $        7.74
BANUELOS-RODRIGUEZ,         11/13/2012    4/18/2013
ITHZEL                                                  53    0.0087%      $       23.14
BANZ, KYLE J.                2/24/2015   11/30/2015    280    0.0461%      $      100.83
BARAJAS, JAQUELINE           1/15/2013    1/11/2016   1051    0.1731%      $      364.69
BARBINE, ANDRE               1/13/2014    4/15/2014     93    0.0153%      $       36.83
BARBOUR, TABITHA M.           7/2/2013    7/25/2013     24    0.0040%      $       13.21
BARCZEWSKI, MADISON          8/21/2008    1/11/2016   1051    0.1731%      $      364.69
BARKER, MEAGAN K.             8/6/2015    11/6/2015     93    0.0153%      $       36.83
BARNES, ANDREA M.            8/12/2015    1/11/2016    153    0.0252%      $       57.36
BARNES, NICHOLAS C.          8/28/2015    12/1/2015     96    0.0158%      $       37.85



                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 42 of 129 Page ID
                                       #919

BARNEY-NOLDON, LYNETTE       6/13/2013     7/5/2013
R.                                                      23    0.0038%      $       12.87
BARRETT, DENVER R.           4/25/2013    10/5/2013    164    0.0270%      $       61.13
BARRETT, JOSHUA J.           2/23/2014    2/23/2014      1    0.0002%      $        5.34
BARRETT, MEGAN A.            3/27/2013     2/8/2014    319    0.0525%      $      114.17
BARRIOS, ISELA               2/18/2013    8/17/2014    539    0.0888%      $      189.46
BARRIOS, SANDRA              2/18/2013    9/23/2013    211    0.0348%      $       77.21
BARRIOS, YOJANA              6/21/2014    7/14/2014     24    0.0040%      $       13.21
BARRITA, JOEL               10/23/2014     4/6/2015    166    0.0273%      $       61.81
BARRY, BAILEY R.             4/19/2010    7/15/2013    141    0.0232%      $       53.25
BARRY, RELO M.               3/12/2015    3/12/2015      1    0.0002%      $        5.34
BARTH, RYAN D.                9/2/2014    9/16/2015    380    0.0626%      $      135.05
BARTOW, JEANNETTE J.         6/26/2014   12/26/2015    549    0.0904%      $      192.89
BARVAIS, CONNOR J.            3/5/2013    6/21/2013    109    0.0180%      $       42.30
BASHAM, DANIELLE N.           6/8/2015    8/12/2015     66    0.0109%      $       27.59
BASS, ERIANA L.               4/4/2014    6/15/2014     73    0.0120%      $       29.98
BASSETT, AMBER L.           10/14/2013     6/8/2014    238    0.0392%      $       86.45
BASTIAN, ROBERT W.          11/16/2014     3/9/2015    114    0.0188%      $       44.01
BAUGH, CRYSTAL S.            6/19/2014    7/24/2014     36    0.0059%      $       17.32
BAYLARK, SHENRILL L.         5/21/2015    1/11/2016    236    0.0389%      $       85.77
BAYNES, RHONDA R.             5/5/2015    1/11/2016    252    0.0415%      $       91.24
BAZZELL-STEWART, HALEY G.     4/6/2015    1/11/2016    281    0.0463%      $      101.17
BEALS, JAMIE M.               1/5/2013     6/1/2013     97    0.0160%      $       38.20
BEARD, SHELBY J.             12/5/2014     7/9/2015    217    0.0357%      $       79.26
BEASLEY, BRIA                11/6/2014     2/3/2015     90    0.0148%      $       35.80
BEASLEY, FREDDIE W.          7/27/2015     8/9/2015     14    0.0023%      $        9.79
BEATTY, RONALD                7/3/2013    7/29/2013     27    0.0044%      $       14.24
BEAVER, BRYAN W.             1/21/2013    3/29/2013     33    0.0054%      $       16.29
BECKTOL, KAYLA M.             1/9/2013     3/9/2013     13    0.0021%      $        9.45
BEELER, AMBER M.            12/30/2013   12/30/2013      1    0.0002%      $        5.34
BEEMAN, EMILY N.            11/15/2011    8/26/2013    183    0.0301%      $       67.63
BEEMAN, JACOB               12/27/2011    3/29/2014    398    0.0656%      $      141.21
BEEN, MECHELLE L.            3/24/2014     6/6/2015    440    0.0725%      $      155.58
BELL, LASHAYLA C.             8/8/2011    1/11/2016   1051    0.1731%      $      364.69
BELL, MADISON A.             2/27/2015    1/11/2016    319    0.0525%      $      114.17
BELL, TRACY                 11/20/2014    4/20/2015    152    0.0250%      $       57.02
BELLAFATO, TIFFANY M.       10/12/2011    12/7/2013    286    0.0471%      $      102.88
BELLE, JAMIE                 7/16/2013    11/3/2013    111    0.0183%      $       42.99
BELLER, LORA L.              9/10/2012    3/13/2013     17    0.0028%      $       10.82
BELLO, CATALINA              6/14/2010    7/20/2014    511    0.0842%      $      179.88
BELMONTE, MELANIE S.         2/17/2013   10/21/2013    239    0.0394%      $       86.79
BENAVIDEZ, VLISES            3/18/2014     4/8/2014     22    0.0036%      $       12.53
BENCRISCUTTO, ANNA A.         5/9/2013    6/23/2013     46    0.0076%      $       20.74
BENCRISCUTTO, JENNIPHER      12/3/2012    6/23/2013    119    0.0196%      $       45.73
BENEFIELD, DEANNA N.          3/4/2013     6/9/2014    463    0.0763%      $      163.45
BENITEZ, ROQUE               6/26/2015    1/11/2016    200    0.0329%      $       73.45
BENNETT, WILLIAM M.          8/16/2006    8/10/2014    532    0.0876%      $      187.07

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 43 of 129 Page ID
                                       #920

BENZ, KALAHEO                 8/23/2011    1/11/2016   1051    0.1731% $           364.69
BERNAL RODRIGUEZ, ALEX         5/6/2009    5/17/2014
M.                                                      447    0.0736%      $      157.98
BERNAL, ABIGAIL R.            7/22/2014    1/11/2016    539    0.0888%      $      189.46
BERNAL, SERGIO                2/28/2010    2/10/2014    351    0.0578%      $      125.12
BERNAL, YENI                  6/30/2008    1/11/2016   1051    0.1731%      $      364.69
BERNARD, JOEL                 5/20/2008    6/27/2013    123    0.0203%      $       47.09
BERNARD, LUCAS P.             6/26/2014     1/5/2015    194    0.0320%      $       71.39
BERNHEISEL, SHANNON L.        10/8/2002    1/11/2016   1051    0.1731%      $      364.69
BERRY, MACHAELA I.            2/20/2013     6/3/2013     99    0.0163%      $       38.88
BETTES, MICHELLE             11/14/2013   11/19/2013      6    0.0010%      $        7.05
beyard, kelsie               12/10/2015    1/11/2016     33    0.0054%      $       16.29
BIBB, TIMOTHY A.              5/27/2013    2/10/2014    260    0.0428%      $       93.98
BICKEL, ELIZABETH A.          7/28/1998    6/15/2013    111    0.0183%      $       42.99
BICKHAM, ANDREW T.            8/19/2014    1/11/2016    511    0.0842%      $      179.88
BILBY, JORDAN L.              5/13/2014    6/16/2014     35    0.0058%      $       16.98
BILLEN, BRIAN                 3/29/2012     9/6/2013    194    0.0320%      $       71.39
BILLINGS, RACHELLE L.         1/30/2013    5/24/2013     89    0.0147%      $       35.46
Billings-Lageose, Makenzie    11/1/2015    1/11/2016     72    0.0119%      $       29.64
BINKLEY, ABRAM J.             3/12/2015    5/19/2015     69    0.0114%      $       28.61
BINKLEY, GALEN P.             12/9/2014    8/24/2015    259    0.0427%      $       93.64
BIRD, AMANDA J.               8/16/2011    4/28/2013     63    0.0104%      $       26.56
BISE, LIBERTY T.              4/23/2015   12/16/2015    238    0.0392%      $       86.45
BISHOP, MIRANDA F.            3/26/2015    1/11/2016    292    0.0481%      $      104.93
BLACK, NIKKO K.                3/5/2015    4/14/2015     41    0.0068%      $       19.03
BLACKWELL, RACHEL A.          1/31/2015    2/24/2015     25    0.0041%      $       13.56
BLAIR, LAUREN R.              11/1/2013   11/13/2013     13    0.0021%      $        9.45
BLAIR, MICHAEL J.             5/18/2015    6/12/2015     26    0.0043%      $       13.90
BLAKE, CYNTHIA                3/26/2013    4/17/2013     23    0.0038%      $       12.87
BLANCHARD, JAMIA              4/10/2013    11/8/2013    213    0.0351%      $       77.90
BLAND, DEVONTA D.             6/25/2014    9/17/2014     85    0.0140%      $       34.09
BLAND, SYDNEY G.               6/3/2014    5/18/2015    350    0.0576%      $      124.78
BLANKENSHIP, KRISTAIN         9/14/2015   11/23/2015     71    0.0117%      $       29.30
BLAYLOCK, CHELSEA             7/16/2012     5/7/2013     72    0.0119%      $       29.64
BLAYLOCK, JORDAN L.          10/16/2012    1/11/2016   1051    0.1731%      $      364.69
BLAYLOCK, KAYLEE M.           6/30/2015    8/26/2015     58    0.0096%      $       24.85
BLEY, SAMANTHA A.             7/16/2012     4/9/2013     44    0.0072%      $       20.06
BLODGETT, COURTNEY N.         12/5/2013    12/7/2013      3    0.0005%      $        6.03
BLOOD, JAMES F.               6/18/2013   12/13/2015    909    0.1497%      $      316.09
BLUE, LASHONDA M.             6/22/2013    2/25/2014    249    0.0410%      $       90.22
BLUMHORST, BREANNE K.         3/14/2013    6/18/2013     97    0.0160%      $       38.20
BLYTHE, MITCHELL P.           2/17/2013    3/10/2013     14    0.0023%      $        9.79
BODE, ROY D.                   4/4/2014    4/25/2014     22    0.0036%      $       12.53
BOGGAN, SHAWN M.              12/9/2013    6/26/2014    200    0.0329%      $       73.45
BOHAN, KELLY R.                6/4/2014     8/9/2015    432    0.0712%      $      152.84
BOHANAN, WHITLEY E.           1/12/2015    2/12/2015     32    0.0053%      $       15.95
BOLEY, KAGAN R.               7/24/2013    7/30/2013      7    0.0012%      $        7.40

                                                              Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 44 of 129 Page ID
                                       #921

BOLIN, DILLION H.            7/14/2013    8/28/2013     46    0.0076% $            20.74
BOLIN, HOLLIANN M.            6/5/2013    1/11/2016    951    0.1566% $           330.46
BOLING, ALEX M.               1/5/2014    3/10/2014     65    0.0107% $            27.25
BOLINGER HELZER,              5/7/2014    1/18/2015
AUDRIANNA J.                                           257    0.0423%      $       92.95
BOLK, BRANDON L.             1/10/2015    4/24/2015    105    0.0173%      $       40.93
BOLLAN, CLARISSA M.          7/12/2015    1/11/2016    184    0.0303%      $       67.97
BOLNER, CANDICE L.            6/5/2013    7/14/2013     40    0.0066%      $       18.69
BOMER, ALEXANDRA R.          7/30/2012    5/18/2013     83    0.0137%      $       33.41
BOMMARITO, JESSICA R.        4/27/2011   11/25/2014    639    0.1053%      $      223.69
BOND, ERIN A.               10/29/2013    5/20/2014    204    0.0336%      $       74.82
BONDS, CHANEL N.              3/3/2008    5/17/2014    447    0.0736%      $      157.98
BONDS, LORI M.                2/4/2015    6/15/2015    132    0.0217%      $       50.17
BONO, CAITLIN P.             8/26/2013    8/31/2013      6    0.0010%      $        7.05
BOONE, MAXCINE M.            1/29/2014    7/19/2014    172    0.0283%      $       63.86
BORELLA, KATELYN A.          7/29/2010   11/14/2014    628    0.1034%      $      219.92
BOUGADES, KIMBERLY A.        10/7/2013    6/28/2014    265    0.0436%      $       95.69
BOWLING, JOSHUA M.            3/2/2012   10/25/2015    973    0.1603%      $      337.99
BOYD, KENDRIA L.             3/10/2015    3/31/2015     22    0.0036%      $       12.53
BOYD, LAUREN G.              1/12/2011    1/11/2016   1051    0.1731%      $      364.69
BOYD, LYNDY M.               2/13/2015    1/11/2016    333    0.0548%      $      118.96
BOYER, OLIVIA J.             5/21/2013    3/24/2014    308    0.0507%      $      110.41
BOYER, RONALD L.             2/23/2013    5/12/2013     77    0.0127%      $       31.35
BOYKIN, BRANDON              8/20/2015    1/11/2016    145    0.0239%      $       54.62
BOYLE, JESSY A.               7/5/2012    1/11/2016   1051    0.1731%      $      364.69
BOYLE, KRISTEN                8/4/2014    2/16/2015    197    0.0324%      $       72.42
BOZADA, LAUREN V.             1/9/2013    7/29/2013    155    0.0255%      $       58.05
BOZARTH, GAVIN               9/30/2014   10/21/2014     22    0.0036%      $       12.53
BOZARTH, SKYLAR S.           10/3/2014    4/20/2015    200    0.0329%      $       73.45
BRADFORD, ANTHONY M.         2/13/2013    7/26/2013    152    0.0250%      $       57.02
BRADFORD, AUSTIN M.          1/21/2015    3/23/2015     62    0.0102%      $       26.22
BRADLEY, BRANDON S.           3/4/2013    4/29/2013     57    0.0094%      $       24.51
BRADSHAW, KATELYN M.         6/11/2014    7/30/2014     50    0.0082%      $       22.11
BRADY, CORRI                 11/4/2015    1/11/2016     69    0.0114%      $       28.61
BRAGGS, SHAYKAYLA            4/30/2013    5/15/2013     16    0.0026%      $       10.48
BRAME, DHIANA L.            10/26/2015   10/26/2015      1    0.0002%      $        5.34
BRANDON, LINDSEY D.          10/8/2013    11/4/2013     28    0.0046%      $       14.58
BRANDOS, MYRANDA G.          8/21/2013    8/28/2013      8    0.0013%      $        7.74
BRANHAM, JOE D.               4/2/2013     5/9/2013     38    0.0063%      $       18.00
BRANIECKI, DANIEL            6/27/2012    1/11/2016   1051    0.1731%      $      364.69
Braun, Dario                10/16/2015    1/11/2016     88    0.0145%      $       35.12
BREEZE, EMILY K.              7/2/2013    4/14/2014    287    0.0473%      $      103.22
BRENTS, JULIA M.              4/2/2013    7/14/2014    469    0.0772%      $      165.51
BREWER, ALEXIS D.            6/14/2014    9/16/2014     95    0.0156%      $       37.51
BREWER, TAWNEY D.            4/21/2013    6/11/2013     52    0.0086%      $       22.80
BRIDGES, CATHERINE L.        1/22/2015    4/14/2015     83    0.0137%      $       33.41
BRIM, TAYLOR F.              4/30/2014   10/28/2014    182    0.0300%      $       67.29

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 45 of 129 Page ID
                                       #922

BRINKER, RYAN M.             9/27/2012    1/11/2016   1050    0.1729%      $      364.34
BRINSON, BRANDI L.            4/8/2015    4/10/2015      3    0.0005%      $        6.03
BROCK, JAKE B.                6/9/2015    1/11/2016    217    0.0357%      $       79.26
BROCKSMITH, CHRISTINA N.      8/3/2015   11/28/2015    118    0.0194%      $       45.38
BROHAMMER, NICHOLAS          6/10/2014    7/30/2015    416    0.0685%      $      147.37
BROOKS, CAITLIN             10/30/2012    1/11/2016   1051    0.1731%      $      364.69
BROOKS, CHRISHAUN S.        10/22/2014    1/11/2016    447    0.0736%      $      157.98
BROOKS, COURTNEY M.           5/4/2014    1/11/2016    618    0.1018%      $      216.50
BROOKS, TYRAN J.              5/5/2015     8/9/2015     97    0.0160%      $       38.20
BROOKS, WHITNEY M.           3/13/2015    1/11/2016    305    0.0502%      $      109.38
BROTHERS, TALISHA            7/20/2013    9/15/2013     58    0.0096%      $       24.85
Brown Jr., David D.         12/21/2015    1/11/2016     22    0.0036%      $       12.53
BROWN, ADAM R.               3/10/2015    4/14/2015     36    0.0059%      $       17.32
BROWN, AUBREY N.            11/19/2012    1/13/2015    688    0.1133%      $      240.46
BROWN, CHRISTINA L.         12/11/2012   10/24/2014    607    0.1000%      $      212.74
BROWN, JANA                  2/25/2014    2/27/2014      3    0.0005%      $        6.03
BROWN, JUSTIN M.             12/9/2014    7/26/2015    230    0.0379%      $       83.71
BROWN, KAYLA D.              2/16/2015     3/9/2015     22    0.0036%      $       12.53
BROWN, KRYSTEN L.           12/10/2014   12/22/2014     13    0.0021%      $        9.45
BROWN, LINDSEY E.            11/2/2011    4/27/2013     62    0.0102%      $       26.22
BROWN, LORI B.                1/9/2011     6/9/2013    105    0.0173%      $       40.93
BROWN, MADISON P.           12/10/2012     7/9/2013    135    0.0222%      $       51.20
BROWN, MATTHEW S.            10/9/2015   10/28/2015     20    0.0033%      $       11.84
BROWN, MCKENZIE J.           5/29/2014    8/25/2014     89    0.0147%      $       35.46
BROWN, TYANA S.               4/9/2015    6/20/2015     73    0.0120%      $       29.98
BROWN, TYSHEA                 4/4/2014    1/11/2016    648    0.1067%      $      226.77
BROWNING, LOGAN M.            4/2/2013    5/11/2014    405    0.0667%      $      143.60
BROWNING, SOPHIE M.          5/20/2013    12/7/2013    202    0.0333%      $       74.13
BRUMIT, KAYSI R.            11/25/2013   12/13/2013     19    0.0031%      $       11.50
BRUMLEY, ASHLY R.            8/12/2014    1/11/2016    518    0.0853%      $      182.28
BRUNGARDT, KAYLA R.          8/12/2014    3/29/2015    230    0.0379%      $       83.71
BRUNSON, BRIDGET C.          5/21/2013    7/17/2013     58    0.0096%      $       24.85
BRUTON, SADIE B.             5/28/2013     8/2/2013     67    0.0110%      $       27.93
BRYAN, SHIANNA              12/30/2015    1/11/2016     13    0.0021%      $        9.45
BRYANT, AUSTIN J.             8/6/2015    1/11/2016    159    0.0262%      $       59.41
BRYANT, PAUL E.               3/5/2015    4/27/2015     54    0.0089%      $       23.48
BRYANT, SHAWN T.             2/19/2013    1/11/2016   1051    0.1731%      $      364.69
BRYANT, TABATHA               7/2/2015    1/11/2016    194    0.0320%      $       71.39
BUCHANAN, JENNIFER M.        8/21/2013    8/23/2013      3    0.0005%      $        6.03
BUCHANAN, TAYLOR M.          4/16/2013    4/29/2013     14    0.0023%      $        9.79
BUCHER, DANIEL R.            8/12/2014    2/19/2015    192    0.0316%      $       70.71
BUCK, ASHLEE N.               5/6/2015     6/2/2015     28    0.0046%      $       14.58
Buck, Jacob C.              12/22/2015    1/11/2016     21    0.0035%      $       12.19
BULINSKI, CASEY N.            4/4/2012     6/3/2013     99    0.0163%      $       38.88
BULLARD, ELENA              12/10/2012     5/6/2014    436    0.0718%      $      154.21
BULLARD, MAQUELA N.         11/10/2014     6/1/2015    204    0.0336%      $       74.82
BULLOCK, CAITLIN M.          7/20/2015    10/3/2015     76    0.0125%      $       31.01

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 46 of 129 Page ID
                                       #923

BURCH, ANNA J.               1/23/2013    2/24/2014    365    0.0601%      $      129.91
BURCH, SHEILA E.              5/5/2014    5/15/2014     11    0.0018%      $        8.76
BURGEN, KATHERINE J.         3/10/2015    1/11/2016    308    0.0507%      $      110.41
BURKE, DAVID T.               1/4/2015     4/5/2015     92    0.0152%      $       36.49
BURKE, NIKITA R.             6/27/2013    7/25/2013     29    0.0048%      $       14.92
BURKE, WHITNEY M.            6/24/2013    5/24/2014    335    0.0552%      $      119.65
BURKETT, CRYSTAL E.          12/6/2012     5/7/2013     72    0.0119%      $       29.64
BURKHARDT, KELSEI L.          3/1/2015     5/7/2015     68    0.0112%      $       28.27
BURKITT, SHELBY              3/24/2014     9/2/2014    163    0.0268%      $       60.78
BURMEISTER, ALEXANDER J.      4/8/2015    5/10/2015     33    0.0054%      $       16.29
BURNOM, BRAIR A.             8/19/2014    1/11/2016    511    0.0842%      $      179.88
BURNS, COREY ANN M.           3/6/2013   10/14/2013    223    0.0367%      $       81.32
BURNS, JANA                 11/14/2015   11/16/2015      3    0.0005%      $        6.03
BURRIES, BOBBIE A.            9/4/2013    9/23/2013     20    0.0033%      $       11.84
BURRILL, LAUREN N.          10/21/2013    2/17/2014    120    0.0198%      $       46.07
BURRIS, CHARITY J.            3/6/2013    4/11/2013     37    0.0061%      $       17.66
BURT, COLLIN T.               8/7/2014   12/29/2014    145    0.0239%      $       54.62
BURTON, ANGELA D.            3/19/2013    2/14/2014    333    0.0548%      $      118.96
BURTON, BRITTANY             8/18/2013    3/29/2015    589    0.0970%      $      206.57
BURTON, JULIA M.             9/30/2014   10/30/2014     31    0.0051%      $       15.61
BURTON, KELSEY               4/11/2011     5/3/2013     68    0.0112%      $       28.27
BUSCH, BRIAN J.              12/4/2012    3/20/2014    389    0.0641%      $      138.13
BUSH, JEREMIAH M.             2/3/2015    10/5/2015    245    0.0404%      $       88.85
BUTCHER, DOBIE S.            10/7/2013    7/16/2014    283    0.0466%      $      101.85
BUTLER, BRYAN J.             2/18/2015     9/1/2015    196    0.0323%      $       72.08
BUTLER, DELIANA              9/13/2012    1/11/2016   1051    0.1731%      $      364.69
Butler, Lexi                11/18/2015   12/15/2015     28    0.0046%      $       14.58
BUTTRAM, BRIANA C.            9/2/2014    12/5/2014     95    0.0156%      $       37.51
BUTTS, KYLE E.               5/15/2012    2/28/2013      4    0.0007%      $        6.37
BYALL, JOSIAH J.             5/28/2014   12/20/2014    207    0.0341%      $       75.84
BYARS, CARL D.               7/25/2012    6/24/2014    485    0.0799%      $      170.98
BYERLY, SHELBY R.            10/3/2014    12/1/2014     60    0.0099%      $       25.53
BYRD, CRYSTAL N.             7/23/2013    4/19/2014    271    0.0446%      $       97.75
BYRD, JOSHUA D.              7/31/2014     8/7/2014      8    0.0013%      $        7.74
BYRD, MARNITA L.              3/9/2015    9/11/2015    187    0.0308%      $       69.00
CABRERA, JOSE I.             7/11/2013    7/30/2013     20    0.0033%      $       11.84
CALDERON, ANTHONY             4/1/2013   10/14/2013    197    0.0324%      $       72.42
CALHOUN, JOSHUA               5/2/2012    2/25/2013      1    0.0002%      $        5.34
CALLOWAY, BREON N.          10/24/2013    11/4/2013     12    0.0020%      $        9.11
CALLOWAY, MICAH K.            6/3/2015    7/12/2015     40    0.0066%      $       18.69
CALVIRD, DUSTIN R.           7/18/2013    1/11/2016    908    0.1496%      $      315.75
CAMARILLO, JOSE J.           6/25/2013     7/7/2013     13    0.0021%      $        9.45
CAMP, AARON J.               4/16/2015     6/8/2015     54    0.0089%      $       23.48
CAMPBELL, CASSANDRA M.       3/16/2015     5/4/2015     50    0.0082%      $       22.11
CAMPBELL, DEVIN J.           11/4/2013    12/5/2013     32    0.0053%      $       15.95
CAMPBELL, EARVIN L.           7/3/2014     8/4/2014     33    0.0054%      $       16.29
CAMPBELL, JANELL L.           6/1/2011   10/22/2015    970    0.1598%      $      336.97

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 47 of 129 Page ID
                                       #924

CAMPBELL, JESI L.            3/25/2014    3/23/2015    364    0.0600%      $      129.57
CAMPBELL, TRENTEN J.         7/17/2014    7/23/2014      7    0.0012%      $        7.40
CAMPOS, ELISEO               8/26/2014    1/11/2016    504    0.0830%      $      177.49
CAMPOS, RICKY C.              4/2/2014    9/14/2015    531    0.0875%      $      186.73
CANFIELD, ALISHA             11/9/2013    3/16/2014    128    0.0211%      $       48.81
CANNING, BROOKLYN D.        11/17/2013   11/17/2013      1    0.0002%      $        5.34
CANTRELL, MATTHEW K.         3/25/2013    9/25/2014    550    0.0906%      $      193.23
CAO, VAN                     12/9/2015   12/14/2015      6    0.0010%      $        7.05
CAPPS, KELSY L.              11/5/2015   11/24/2015     20    0.0033%      $       11.84
CARMONA, SANDRA M.           1/26/2015    7/31/2015    187    0.0308%      $       69.00
CARPENTER, KOURTNEY P.       4/21/2013    6/23/2013     64    0.0105%      $       26.90
CARR, PHILLIP D.              1/6/2015    3/23/2015     77    0.0127%      $       31.35
CARRILLO, ELIZABETH C.       7/31/2014    11/4/2014     97    0.0160%      $       38.20
CARRON, KRISTIN T.           2/16/2015    5/28/2015    102    0.0168%      $       39.91
CARSON, KAYLA E.             2/13/2015     3/9/2015     25    0.0041%      $       13.56
CARTER, ASHLEY N.            8/20/2015    1/11/2016    145    0.0239%      $       54.62
CARTER, DEMETRIUS R.          4/4/2014    7/14/2014    102    0.0168%      $       39.91
CARTER, MASHYLA             11/25/2014   12/15/2014     21    0.0035%      $       12.19
CARTER, SHANNON              11/3/2005    1/11/2016   1051    0.1731%      $      364.69
CARTER, TIMOTHY             10/20/2015    1/11/2016     84    0.0138%      $       33.75
CASADY, RYAN S.              2/26/2013    3/11/2013     14    0.0023%      $        9.79
CASINO, BRITTANY T.          6/24/2013    7/21/2013     28    0.0046%      $       14.58
CASSON, KEVIN J.             1/21/2014    11/1/2015    650    0.1071%      $      227.45
CASTELLANO, NICOLE M.        2/20/2013    3/11/2013     15    0.0025%      $       10.13
CASTELLI, MADISON P.          3/9/2013    3/27/2013     19    0.0031%      $       11.50
CASTLEBERRY, ASHLEY D.       5/26/2014     7/1/2014     37    0.0061%      $       17.66
CASTO, ANGELA C.             3/11/2015    8/25/2015    168    0.0277%      $       62.50
CASTRO-POWELL, LA LITA M.     2/5/2013     6/8/2013    104    0.0171%      $       40.59
CATEY, NATHAN D.              6/4/2013   12/31/2013    211    0.0348%      $       77.21
CATHCART, ROBERT M.           8/5/2013    10/7/2013     64    0.0105%      $       26.90
CATHER, AVERY N.             2/12/2013    1/11/2016   1051    0.1731%      $      364.69
CATO, KURTIS W.              3/12/2013    5/20/2013     70    0.0115%      $       28.96
CATRON, OKSANA               4/16/2013    5/21/2013     36    0.0059%      $       17.32
CAUDLE, FLOYD E.              5/8/2013    7/14/2014    433    0.0713%      $      153.19
CAUDLE, TINA                 10/8/2015    1/11/2016     96    0.0158%      $       37.85
CAWTHON, COURTNEY S.         4/30/2012    3/10/2013     14    0.0023%      $        9.79
CAYLAO, RUBEN A.             12/4/2013    3/17/2014    104    0.0171%      $       40.59
CELIS, ELIZABETH             1/19/2015    12/1/2015    317    0.0522%      $      113.49
Chambless, Cameron J.         1/7/2016    1/11/2016      5    0.0008%      $        6.71
CHAPMAN, CRYSTALYN J.        12/3/2012    2/25/2013      1    0.0002%      $        5.34
CHEATHAM, KAREMA L.         12/13/2015   12/15/2015      3    0.0005%      $        6.03
CHEN, KELLY Z.                6/7/2012    4/26/2013     61    0.0100%      $       25.88
Childers, Joshua L.         11/21/2015    1/11/2016     52    0.0086%      $       22.80
CHILDERS, SIERRA M.          3/12/2015    1/11/2016    306    0.0504%      $      109.72
CHIPPIS, TYLER J.            3/23/2015    3/23/2015      1    0.0002%      $        5.34
CHOWNING, SAMIRA A.          7/29/2013    9/23/2013     57    0.0094%      $       24.51
CHRISTENSEN, DESTINY        11/25/2014    2/10/2015     78    0.0128%      $       31.69

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 48 of 129 Page ID
                                       #925

CHRISTENSEN, LIZABETH A.     4/28/2015   12/11/2015    228    0.0376%      $       83.03
CHRONIC, LEE A.             12/21/2013     1/4/2014     15    0.0025%      $       10.13
CHUNGATA, JULIO R.           6/22/2015    8/25/2015     65    0.0107%      $       27.25
CIFUENTES, YARENI            6/13/2014    1/11/2016    578    0.0952%      $      202.81
CISNEROS, SANTANA            3/10/2015    3/10/2015      1    0.0002%      $        5.34
CISNEROS, SANTANA M.         3/10/2015    4/14/2015     36    0.0059%      $       17.32
CLARK, AUSTIN G.             5/29/2014    8/18/2014     82    0.0135%      $       33.06
CLARK, BLAINE K.              9/7/2013     8/5/2015    698    0.1150%      $      243.88
CLARK, BRIAN T.              12/6/2012    5/10/2013     75    0.0124%      $       30.67
CLARK, FOSTER O.             6/10/2013    7/30/2014    416    0.0685%      $      147.37
CLARK, HANNAH                8/24/2011     7/9/2014    500    0.0824%      $      176.12
CLARK, JAIME                 1/28/2014    1/11/2016    714    0.1176%      $      249.35
CLARK, LATOYA                7/26/2011     1/6/2016   1046    0.1723%      $      362.98
CLARK, LEMECIA A.            4/14/2013     5/1/2013     18    0.0030%      $       11.16
Clark, Ma Vanilyn            10/5/2015    1/11/2016     99    0.0163%      $       38.88
CLARK, MERCEDES N.           7/28/2015    9/13/2015     48    0.0079%      $       21.43
CLARK, PEYTON N.            12/30/2013    5/25/2014    147    0.0242%      $       55.31
CLASSEN, MATTHEW E.          4/11/2011    12/7/2013    286    0.0471%      $      102.88
CLAY, TAYLOR A.              7/31/2014    9/22/2014     54    0.0089%      $       23.48
CLAYTON, ASHLEY N.           2/10/2015    1/11/2016    336    0.0553%      $      119.99
CLAYTON, DANIELLE            2/23/2011    10/8/2013    226    0.0372%      $       82.34
CLAYTON, REZAHN D.          12/10/2014    4/14/2015    126    0.0208%      $       48.12
CLEEK, ROBERT K.              6/5/2015    9/14/2015    102    0.0168%      $       39.91
CLEETON, KAELYN             10/21/2015   10/26/2015      6    0.0010%      $        7.05
CLEM, MADISON               11/20/2015    1/11/2016     53    0.0087%      $       23.14
CLICK III, EARL A.           8/26/2013    8/25/2014    365    0.0601%      $      129.91
CLIFTON, ASHLEY              8/31/2012    5/13/2013     78    0.0128%      $       31.69
CLIMER, ERIN M.              10/2/2012    5/18/2013     83    0.0137%      $       33.41
CLOPTON, ALLEN M.            2/22/2014     4/8/2014     46    0.0076%      $       20.74
CLOUD, DEBORAH E.             4/7/2014    4/15/2014      9    0.0015%      $        8.08
COBB, RANDALL G.             2/26/2012    1/11/2016   1051    0.1731%      $      364.69
COBURN, JEFFERY C.          11/20/2012     9/1/2013    189    0.0311%      $       69.68
Coburn, Katie                11/1/2015    1/11/2016     72    0.0119%      $       29.64
COKER, EDWIN J.             11/27/2012    8/20/2013    177    0.0292%      $       65.58
COLE, COLTIN T.              1/19/2015    1/11/2016    358    0.0590%      $      127.52
COLE, DARASIA R.              2/3/2015    5/26/2015    113    0.0186%      $       43.67
COLEMAN, EVAN                7/29/2014     3/7/2015    222    0.0366%      $       80.98
COLEMAN, SEAN A.              1/5/2013    9/13/2013    201    0.0331%      $       73.79
COLLIER, ELYSE B.           11/25/2013    5/17/2014    174    0.0287%      $       64.55
COLLINS, JESSICA H.          2/19/2013    2/25/2013      1    0.0002%      $        5.34
COLLINS, JOSEPH T.           2/17/2015    1/11/2016    329    0.0542%      $      117.59
COLLINS, KARA N.             2/16/2015    1/11/2016    330    0.0544%      $      117.94
COLLINS, KRYSTAN A.          2/16/2015    1/11/2016    330    0.0544%      $      117.94
COLLINS, PAIGE E.             2/3/2015    3/24/2015     50    0.0082%      $       22.11
COLLINS, TASHAYLA L.        11/25/2013     5/5/2014    162    0.0267%      $       60.44
COLSON, DAVID L.             3/23/2015    4/10/2015     19    0.0031%      $       11.50
COLTON, NATALIE             10/28/2012    3/17/2013     21    0.0035%      $       12.19

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 49 of 129 Page ID
                                       #926

COLVIN, CAMILLE A.            4/4/2014    6/29/2014     87    0.0143%      $       34.77
COMBS, CORRINE A.           11/11/2014    1/13/2015     64    0.0105%      $       26.90
Comparato, Dylan             11/1/2015    1/11/2016     72    0.0119%      $       29.64
Comparato, Kyle              11/1/2015    1/11/2016     72    0.0119%      $       29.64
COMSTOCK, BRITTANY           1/19/2014     3/1/2014     42    0.0069%      $       19.37
CONATY, SHANE L.             7/20/2015    1/11/2016    176    0.0290%      $       65.23
CONDREY, SABRINA M.           9/2/2015    10/9/2015     38    0.0063%      $       18.00
CONE, CHRIS M.              10/23/2015    1/11/2016     81    0.0133%      $       32.72
CONLEY, JEREMY S.             4/2/2012    7/25/2014    516    0.0850%      $      181.59
CONN, BRITTANY M.            9/25/2011    1/11/2016   1051    0.1731%      $      364.69
CONN, HEATHER M.              3/3/2012    1/11/2016   1051    0.1731%      $      364.69
CONN, HEAVEN L.              7/27/2015    9/12/2015     48    0.0079%      $       21.43
CONNOLLY, ROSANNA D.         5/22/2015     9/7/2015    109    0.0180%      $       42.30
CONRAN, TAYLOR G.            4/30/2013    5/25/2013     26    0.0043%      $       13.90
CONROY, LAUREN M.            9/10/2015    11/7/2015     59    0.0097%      $       25.19
CONRY, JESSICA M.            11/1/2012    9/21/2015    939    0.1547%      $      326.36
CONTRERAS, ERIKA             9/30/2014    9/14/2015    350    0.0576%      $      124.78
CONWAY JR, SHAUN M.           6/9/2015     8/1/2015     54    0.0089%      $       23.48
CONWAY, MONIK                 3/6/2014    4/17/2014     43    0.0071%      $       19.72
CONWAY, TYLER M.             5/13/2013     3/8/2014    300    0.0494%      $      107.67
COOK, CASSIE R.              6/21/2014     7/5/2014     15    0.0025%      $       10.13
COOK, SARAH N.                3/6/2013     3/6/2013      1    0.0002%      $        5.34
COOKS, MALINDA M.            3/13/2015    4/14/2015     33    0.0054%      $       16.29
COOKS, SHANTEE D.            3/11/2013     4/3/2013     24    0.0040%      $       13.21
COOLEY, TYLER                12/3/2012    9/22/2014    575    0.0947%      $      201.78
COOLING, LINDSEY M.          12/8/2012    4/22/2013     57    0.0094%      $       24.51
COON, PHILLIP Q.              4/3/2015    7/12/2015    101    0.0166%      $       39.57
COOPER, ALEXSIS D.            9/9/2014   10/25/2014     47    0.0077%      $       21.08
COPELAND-LARK,               9/16/2015    1/11/2016
WILHELMENA Q.                                          118    0.0194%      $       45.38
COQUILLETTE, KIRSTEN M.      3/16/2015    4/12/2015     28    0.0046%      $       14.58
CORBITT, LAUREN              3/10/2015    3/10/2015      1    0.0002%      $        5.34
CORBITT, LAUREN A.           3/10/2015    3/10/2015      1    0.0002%      $        5.34
CORDOVA, GERALD E.          10/29/2012     7/1/2014    492    0.0810%      $      173.38
CORLEY, JESSICA D.           3/24/2014   10/27/2014    218    0.0359%      $       79.61
CORLISS, WILLOW D.           9/10/2015    1/11/2016    124    0.0204%      $       47.44
CORNELL, JENNIFER             1/4/1999    1/11/2016   1051    0.1731%      $      364.69
CORNETT, CHRISTINE M.        7/29/2014    1/11/2016    532    0.0876%      $      187.07
CORNMAN, ALEXANDER D.        6/30/2013    7/26/2013     27    0.0044%      $       14.24
CORONADO, MICHAEL S.         2/18/2015     3/4/2015     15    0.0025%      $       10.13
CORONILLA, BRENDA K.         1/20/2013    6/12/2015    838    0.1380%      $      291.79
CORTES, WILLIAMS             5/22/2013    6/10/2013     20    0.0033%      $       11.84
CORY, LAURA                  7/22/2014    6/11/2015    325    0.0535%      $      116.23
COSCIA, ANTHONY J.           3/26/2013    3/26/2013      1    0.0002%      $        5.34
COSPER, JERICK D.            5/31/2013    8/26/2014    453    0.0746%      $      160.03
COSTILLO, JESSICA N.          3/4/2012    5/31/2014    461    0.0759%      $      162.77
COSTNER, KYLE L.             8/25/2015    8/30/2015      6    0.0010%      $        7.05

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 50 of 129 Page ID
                                       #927

COTTER, DARIAN M.            6/20/2013    6/23/2013      4    0.0007%      $        6.37
COUCH JR, BOBBY L.           2/23/2015     4/4/2015     41    0.0068%      $       19.03
COUGHLIN, CARLY A.            8/6/2013    2/10/2014    189    0.0311%      $       69.68
COULTER, KATINA K.          11/17/2013   11/19/2013      3    0.0005%      $        6.03
COURTNEY, ALEXANDRA N.        1/9/2012   10/21/2013    239    0.0394%      $       86.79
COURTNEY, KAYLA J.          11/20/2013     3/9/2014    110    0.0181%      $       42.65
COWGILL, CAMERON C.          6/18/2013   10/16/2013    121    0.0199%      $       46.41
COWGILL, CARA J.             5/15/2012    1/11/2016   1051    0.1731%      $      364.69
COX, ALANDA K.               5/26/2014     6/4/2014     10    0.0016%      $        8.42
COX, ANDRE D.                 5/6/2014    1/11/2016    616    0.1015%      $      215.82
COX, ASHLY M.                2/15/2010    6/17/2013    113    0.0186%      $       43.67
CRAIG, PAUL E.                5/8/2013   10/26/2013    172    0.0283%      $       63.86
CRANE, LACY D.                5/6/2014     1/3/2015    243    0.0400%      $       88.16
CRANOR, MCKENZIE             6/12/2012    1/11/2016   1051    0.1731%      $      364.69
CRAVEN, PATRICK J.           9/10/2015    10/9/2015     30    0.0049%      $       15.27
CRAVEN, TEWSDAE S.           7/15/2014     1/7/2015    177    0.0292%      $       65.58
CRAWFORD, JOSHUAH J.        12/15/2014     1/3/2015     20    0.0033%      $       11.84
CREASON, HAROLD A.          10/30/2014    12/5/2014     37    0.0061%      $       17.66
CREBBS, TYLER P.             2/18/2005    5/17/2014    447    0.0736%      $      157.98
CRETS, ALEXIS                4/16/2013    6/17/2013     63    0.0104%      $       26.56
CRIDER, SEBASTIAN            5/28/2013   10/15/2013    141    0.0232%      $       53.25
CRIGLER, MERVIN L.            5/6/2014    5/19/2014     14    0.0023%      $        9.79
CROCKER, KAITLYN T.          12/3/2014     5/3/2015    152    0.0250%      $       57.02
CROSBY, DEANDRIA A.          4/16/2015     8/3/2015    110    0.0181%      $       42.65
CROW, ASHLEY L.              7/21/2011   11/18/2015    997    0.1642%      $      346.21
CROW, BRENDA K.              4/13/2015    5/12/2015     30    0.0049%      $       15.27
CROWE, DOUGLAS               7/26/2004     4/5/2014    405    0.0667%      $      143.60
CRUBAUGH, MISTY D.          11/13/2013   12/29/2014    412    0.0679%      $      146.00
CRUM, TKEYAH S.              5/16/2013    6/17/2013     33    0.0054%      $       16.29
CRUMEDY, CYRUS               10/2/2013    10/3/2013      2    0.0003%      $        5.68
CRUZ, ALEJANDRA             10/14/2015   11/29/2015     47    0.0077%      $       21.08
CRUZ, DALILA                11/19/2014     5/1/2015    164    0.0270%      $       61.13
CRUZ, ROSA                   7/29/2014    8/22/2014     25    0.0041%      $       13.56
CRUZ-IBARRA, EDUARDO C.      2/19/2014    2/25/2014      7    0.0012%      $        7.40
CRYER, HEAVEN L.              3/3/2014   12/29/2014    302    0.0497%      $      108.35
CUCHY, CHANNA M.             1/12/2015    1/27/2015     16    0.0026%      $       10.48
CULLUM, JEANNA A.            5/21/2014   12/21/2014    215    0.0354%      $       78.58
CUMMINGS, ALEXANDER         10/17/2012    3/31/2013     35    0.0058%      $       16.98
CUMMINGS, CIERA A.            4/2/2015     6/6/2015     66    0.0109%      $       27.59
CUNNINGHAM, RICHARD S.       1/18/2015    1/11/2016    359    0.0591%      $      127.86
CUNNINGHAM, SHANNON C.      12/30/2014    1/11/2016    378    0.0623%      $      134.36
CURAMENG, AMANDA R.          5/28/2013    6/27/2013     31    0.0051%      $       15.61
CURATOLO, ROBERT J.         10/29/2013    1/11/2016    805    0.1326%      $      280.50
CURRY, SARA E.               9/19/2015    1/11/2016    115    0.0189%      $       44.36
CUSTER, RAYMOND S.           3/23/2013    5/22/2013     61    0.0100%      $       25.88
CZIGLER, CAITLIN P.          5/15/2012    1/11/2016   1051    0.1731%      $      364.69
DAILY, CHELSEA                3/6/2013    8/15/2013    163    0.0268%      $       60.78

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 51 of 129 Page ID
                                       #928

DALTON, LISA M.              3/31/2014    4/22/2014    23    0.0038%      $       12.87
DANIEL, BRYAN                3/30/2004   10/26/2014   609    0.1003%      $      213.42
DANIELS, ELIZABETH D.        6/10/2013     9/6/2013    89    0.0147%      $       35.46
DANIELS, ELLEN F.            4/13/2015    4/28/2015    16    0.0026%      $       10.48
DANIELS, JODIE C.           10/10/2014    12/1/2014    53    0.0087%      $       23.14
DANIELS, LUKAS C.            5/25/2015     6/9/2015    16    0.0026%      $       10.48
DANIELS, RYAN W.             9/11/2010    6/16/2014   477    0.0786%      $      168.24
DANKENBRING, TEAGAN R.        4/7/2014    1/11/2016   645    0.1062%      $      225.74
DAQUILA, ANDRE L.            3/26/2015    4/28/2015    34    0.0056%      $       16.64
DARLEY, KATIE R.            11/30/2012    8/10/2015   897    0.1477%      $      311.98
DARLING, DANIELLE M.         6/23/2015    1/11/2016   203    0.0334%      $       74.47
DART, TAYLOR R.              8/15/2013   12/31/2013   139    0.0229%      $       52.57
DAUBERT, DONOVAN             11/1/2013   11/22/2014   387    0.0637%      $      137.44
DAUKEI, BRAD                 9/30/2014   10/21/2014    22    0.0036%      $       12.53
DAVENPORT, NATALIE A.        6/22/2015    1/11/2016   204    0.0336%      $       74.82
Davenport, Sara             10/16/2015    1/11/2016    88    0.0145%      $       35.12
DAVID, SARA R.              11/25/2013    6/16/2014   204    0.0336%      $       74.82
DAVIDSON, ANDRIANNA J.      10/23/2015   10/23/2015     1    0.0002%      $        5.34
DAVIDSON, SUE A.              3/9/2015   12/25/2015   292    0.0481%      $      104.93
DAVIS II, CARL W.            6/19/2013    7/11/2013    23    0.0038%      $       12.87
DAVIS, ARETA A.              6/30/2014    11/9/2014   133    0.0219%      $       50.52
DAVIS, BRANDI N.             6/26/2014     7/1/2014     6    0.0010%      $        7.05
DAVIS, BRANDON              11/25/2014     1/5/2015    42    0.0069%      $       19.37
DAVIS, BRANDY M.             8/22/2013    11/5/2013    76    0.0125%      $       31.01
DAVIS, BRITTANY R.           3/27/2015    5/11/2015    46    0.0076%      $       20.74
DAVIS, BRYAN R.             11/28/2012    11/7/2014   621    0.1023%      $      217.53
DAVIS, CHRISTINE M.          1/19/2014    11/9/2014   295    0.0486%      $      105.96
DAVIS, CLARISSA H.          11/14/2013    1/17/2014    65    0.0107%      $       27.25
DAVIS, INDIA D.              8/13/2014     2/1/2015   173    0.0285%      $       64.21
DAVIS, JASON K.              8/11/2013   10/31/2013    82    0.0135%      $       33.06
DAVIS, JEKEAH M.             1/13/2014    7/12/2014   181    0.0298%      $       66.94
DAVIS, JESSICA L.           10/30/2014    3/17/2015   139    0.0229%      $       52.57
DAVIS, KENNEDY R.            2/12/2015    6/27/2015   136    0.0224%      $       51.54
DAVIS, KRISTINA J.           7/25/2014    6/29/2015   340    0.0560%      $      121.36
DAVIS, MATT                 10/24/2014     2/3/2015   103    0.0170%      $       40.25
DAVIS, RONALD L.             2/27/2013     4/8/2013    41    0.0068%      $       19.03
DAWSON, MADISON B.           1/19/2015     2/2/2015    15    0.0025%      $       10.13
DAWSON, TA'SHANA B.          3/24/2014    5/20/2014    58    0.0096%      $       24.85
DE LEON, MAYCO D.            1/13/2015    4/11/2015    89    0.0147%      $       35.46
DEANE, LAMIA M.              6/24/2013    8/11/2013    49    0.0081%      $       21.77
DEANE, PATRICIA A.           2/13/2008    8/10/2015   897    0.1477%      $      311.98
DEASON, ALEXYS T.            4/15/2015    5/22/2015    38    0.0063%      $       18.00
DEAVER, HUNTER               9/26/2014    9/28/2014     3    0.0005%      $        6.03
DECK BURRIS, KAYLA N.        6/21/2014    8/24/2014    65    0.0107%      $       27.25
DECKARD, HEATHER N.          6/22/2013    1/11/2016   934    0.1538%      $      324.65
DECOCK, KAYLYN M.             9/2/2014    1/11/2016   497    0.0819%      $      175.09
DEINES, CHRISTIAN L.        12/12/2012    3/31/2014   400    0.0659%      $      141.89

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 52 of 129 Page ID
                                       #929

DELMAR, MOHAMMED A.          3/24/2014     3/9/2015   351    0.0578%      $      125.12
DENISON, MORGAINE E.         9/25/2012     3/9/2015   743    0.1224%      $      259.28
DENO, AUSTIN C.              12/9/2014   12/29/2014    21    0.0035%      $       12.19
DESCHER, SAMANTHA R.         11/7/2015   12/20/2015    44    0.0072%      $       20.06
DESHIELDS, KYLIE M.         10/12/2013   10/29/2013    18    0.0030%      $       11.16
DIAMOND, SEAN M.             3/12/2014    8/22/2014   164    0.0270%      $       61.13
DIAZ, ERICA P.                2/3/2015    7/31/2015   179    0.0295%      $       66.26
DICKERSON, ANDREA             8/7/2013    1/14/2014   161    0.0265%      $       60.10
DIEL, BRANDON M.             7/11/2015    7/20/2015    10    0.0016%      $        8.42
DIGGS, BENJAMIN J.           9/30/2014    2/15/2015   139    0.0229%      $       52.57
DILLARD, ERIC A.              4/6/2013     4/8/2013     3    0.0005%      $        6.03
DILLON, HANNAH               3/20/2014     5/9/2014    51    0.0084%      $       22.45
Dinges, Hope                 11/1/2015    1/11/2016    72    0.0119%      $       29.64
DINGLE, KRISTIE M.           5/21/2015    6/16/2015    27    0.0044%      $       14.24
DIRKSEN, CATHERINE A.        8/23/2012    4/28/2015   793    0.1306%      $      276.39
DITTMER, JONATHAN A.         8/26/2013     9/2/2013     8    0.0013%      $        7.74
DIX, DEVAUGHN D.             7/17/2014   11/22/2014   129    0.0212%      $       49.15
DIXON, CHASE A.              7/16/2015    8/22/2015    38    0.0063%      $       18.00
DJEKSHEMBAEVA, AIDAI          6/9/2014    6/29/2014    21    0.0035%      $       12.19
DODDS, BRANDON H.             4/7/2014    5/26/2014    50    0.0082%      $       22.11
DODSON, SAMANTHA K.         11/13/2013   11/26/2013    14    0.0023%      $        9.79
DOERFLER, DUSTAN M.          4/17/2013    4/24/2013     8    0.0013%      $        7.74
DOGGAN, MARKESHA T.          2/16/2015   10/12/2015   239    0.0394%      $       86.79
DOKES, JUSTIN                 7/5/2013    9/17/2013    75    0.0124%      $       30.67
DONALSON, AUJAJUAN J.       10/24/2012    5/27/2013    92    0.0152%      $       36.49
DONNELLY, JACQUELINE L.       2/3/2014    7/22/2014   170    0.0280%      $       63.18
DONNELLY, PATRICK             8/2/2012    10/6/2015   954    0.1571%      $      331.49
DOPUCH, MADISON E.           8/23/2010    2/23/2015   729    0.1201%      $      254.49
DORER, ESSENCE M.            9/15/2015    9/30/2015    16    0.0026%      $       10.48
DORNEY, JEREMIAH A.          6/17/2015   12/13/2015   180    0.0296%      $       66.60
DOUGAN, KENDRA F.           11/26/2013     6/6/2015   558    0.0919%      $      195.97
DOUGHERTY, ALLISON M.         2/3/2015    1/11/2016   343    0.0565%      $      122.39
DOWLING, PATRICK W.          11/5/2014   12/21/2015   412    0.0679%      $      146.00
DOWNEY, AUSTIN J.             2/2/2015    1/11/2016   344    0.0567%      $      122.73
DOWNEY, MEGAN M.             5/21/2013    12/2/2013   196    0.0323%      $       72.08
DOWNING, GLADYS N.           2/18/2015    1/11/2016   328    0.0540%      $      117.25
DOWNING, KYLE W.              4/3/2015    5/26/2015    54    0.0089%      $       23.48
DRAHOS, JACOB E.             10/2/2014    12/1/2014    61    0.0100%      $       25.88
DRAKE, ANDREW R.              8/1/2011     9/8/2014   561    0.0924%      $      196.99
DRAKE, JOHN P.                6/1/2015    1/11/2016   225    0.0371%      $       82.00
DRAPER, SHANIECE              5/5/2014    8/31/2014   119    0.0196%      $       45.73
DRESSEL, CHRISTINE E.        12/8/2014   12/16/2014     9    0.0015%      $        8.08
DRY, ASHLEY M.               5/18/2015    7/27/2015    71    0.0117%      $       29.30
DRYDEN, HANNAH L.            12/9/2013    3/10/2014    92    0.0152%      $       36.49
D'SOUSA, WILLIAM E.          7/18/2013    7/18/2013     1    0.0002%      $        5.34
DUBOIS, ZACHARY             11/29/2014    1/26/2015    59    0.0097%      $       25.19
DUE, NATHANIEL J.            7/15/2015    7/27/2015    13    0.0021%      $        9.45

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 53 of 129 Page ID
                                       #930

DUFOE, KELSEY C.            11/20/2012   10/14/2013    232    0.0382%      $       84.40
DUGAN, CHRIS                 3/25/2014     5/5/2014     42    0.0069%      $       19.37
DUGGER, BRITTANY N.          8/21/2013    8/22/2013      2    0.0003%      $        5.68
DUMOULIN, MICHELE E.          2/3/2015    8/30/2015    209    0.0344%      $       76.53
DUNBAR, ASHLEY D.            7/29/2013     8/7/2013     10    0.0016%      $        8.42
DUNCAN, KACEY S.             2/24/2015    4/18/2015     54    0.0089%      $       23.48
DUNCAN, ROBERT C.            1/20/2014    3/10/2014     50    0.0082%      $       22.11
DUNCAN, SHANNON L.           3/12/2013   12/21/2015   1015    0.1672%      $      352.37
DUNHAM, TIMATHEY C.          4/16/2013     7/4/2013     80    0.0132%      $       32.38
DUNN, JESSIE L.              5/14/2013     8/8/2013     87    0.0143%      $       34.77
DUNN, MARISSA N.             5/26/2013   12/28/2014    582    0.0959%      $      204.18
DUNPHY, DANIELLE K.          2/11/2014    4/28/2015    442    0.0728%      $      156.27
DUONG, NANCY C.             10/23/2013   12/16/2013     55    0.0091%      $       23.82
DURDLE, ERIKA L.             4/25/2013   11/22/2014    577    0.0950%      $      202.47
DURHAM, JESSICA N.            1/7/2013     5/6/2013     71    0.0117%      $       29.30
DYER, APRIL M.               2/13/2014    4/21/2014     68    0.0112%      $       28.27
DYER, SARAH M.               8/13/2013    9/14/2013     33    0.0054%      $       16.29
DYSON, MINDY L.             12/15/2013    2/27/2014     75    0.0124%      $       30.67
EARLES, LINZY L.             3/24/2014    3/28/2014      5    0.0008%      $        6.71
EARLY, NICOLE                 7/3/2013    7/16/2013     14    0.0023%      $        9.79
EASTER, CHRISTOPER A.       10/25/2014    3/23/2015    150    0.0247%      $       56.33
ECCARDT, JOSEPH A.          11/18/2013    3/10/2014    113    0.0186%      $       43.67
ECHOLS, KAYLA E.              7/3/2014    12/8/2014    159    0.0262%      $       59.41
ECKELS, AMY R.               4/13/2012   11/22/2013    271    0.0446%      $       97.75
ECKERT, ANDREW S.            6/23/2015    7/13/2015     21    0.0035%      $       12.19
ECKERT, JACLYN M.            1/21/2014    8/11/2014    203    0.0334%      $       74.47
EDDINS, LILA A.              8/15/2014    10/6/2014     53    0.0087%      $       23.14
EDDY, MIRANDA L.             8/27/2013    9/13/2014    383    0.0631%      $      136.08
EDMONDSON,                    6/4/2014    7/27/2015
DONMONIQUE E.                                         419     0.0690%      $      148.40
EDWARDS, KALAH A.             4/2/2015    5/22/2015    51     0.0084%      $       22.45
EDWARDS, MEGAN D.            5/24/2014    5/26/2014     3     0.0005%      $        6.03
EDWARDS, RACHEL A.           1/29/2015    6/23/2015   146     0.0240%      $       54.97
EDWARDS, TASIA S.            5/18/2015    6/19/2015    33     0.0054%      $       16.29
EFFAT, ORIN                  3/13/2014    6/14/2014    94     0.0155%      $       37.17
EIDSON, MICHEAL T.           6/30/2015     7/1/2015     2     0.0003%      $        5.68
EIDSON, PATTI A.              8/1/2011    8/29/2014   551     0.0908%      $      193.57
EILER, ASHLEY                 5/5/2009    3/28/2013    32     0.0053%      $       15.95
EILER, BRANDEY N.             4/1/2014    9/24/2014   177     0.0292%      $       65.58
EILERT, EMILY R.             6/17/2015    8/10/2015    55     0.0091%      $       23.82
EILERT, GRACE K.              4/7/2015    8/10/2015   126     0.0208%      $       48.12
EISELE, RACHEL L.            4/16/2013    6/10/2013    56     0.0092%      $       24.17
ELDER, BRIANA                3/16/2015    8/12/2015   150     0.0247%      $       56.33
ELDER, TY D.                 2/22/2015     3/6/2015    13     0.0021%      $        9.45
ELKINS, JAYME A.             6/22/2015    1/11/2016   204     0.0336%      $       74.82
ELLER, MADISON A.             1/3/2013    3/24/2013    28     0.0046%      $       14.58
ELLINGTON, JOHN              1/15/2014     6/3/2014   140     0.0231%      $       52.91

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 54 of 129 Page ID
                                       #931

ELLIOTT, AUSTIN G.           4/18/2014    7/31/2014    105    0.0173%      $       40.93
ELLIOTT, CAITLIN R.          12/9/2013     1/8/2015    396    0.0652%      $      140.52
ELLIOTT, DEBORAH J.          9/27/2012    1/11/2016   1051    0.1731%      $      364.69
ELLIOTT, TARA L.              3/6/2013    4/11/2013     37    0.0061%      $       17.66
ELLIS, CONTESSA              4/10/2013    4/17/2013      8    0.0013%      $        7.74
ELLIS, TEVIN M.              5/25/2015    6/29/2015     36    0.0059%      $       17.32
ELLSWORTH, ILLISE             9/2/2013     7/8/2014    310    0.0511%      $      111.09
EMERT, ALISHA A.             9/18/2012    6/17/2015    843    0.1389%      $      293.50
EMERT, ASHLEY B.             5/14/2008    4/22/2013     57    0.0094%      $       24.51
EMILIEN, RANDY M.            11/1/2013   12/27/2013     57    0.0094%      $       24.51
ENGEL, JACOB                 3/24/2014     6/3/2014     72    0.0119%      $       29.64
ENGEL, RACHEL M.             4/21/2014     8/4/2015    471    0.0776%      $      166.19
ENGLISH, RANIQUA L.          5/29/2013   10/27/2014    517    0.0852%      $      181.93
ENGSTROM, JOSHUA             7/22/2014   10/21/2014     92    0.0152%      $       36.49
ERICKSTEN, MARYSA A.         9/17/2014    9/30/2014     14    0.0023%      $        9.79
ERVIN, DEARRIA B.            2/11/2014    6/15/2015    490    0.0807%      $      172.69
ESCALONA, KAREN              6/25/2013    8/12/2013     49    0.0081%      $       21.77
ESCOBAR, ELVIS A.            3/21/2015    3/31/2015     11    0.0018%      $        8.76
ESPARZA, JOSE A.            12/24/2013    5/20/2014    148    0.0244%      $       55.65
ESPINOSA, CHASE K.            6/3/2013    8/29/2013     88    0.0145%      $       35.12
ETZKORN, MICHAEL T.          1/31/2015     5/4/2015     94    0.0155%      $       37.17
EVANS, JEREMY L.             3/20/2012    6/30/2015    856    0.1410%      $      297.95
EVANS, KAREENA M.            5/27/2015    6/14/2015     19    0.0031%      $       11.50
EVERETT, AUSTIN              6/15/2015    9/14/2015     92    0.0152%      $       36.49
EVERETT, ROBYN M.            1/29/2014   11/17/2014    293    0.0483%      $      105.27
EVERS, ELIZABETH L.           9/3/2007    1/11/2016   1051    0.1731%      $      364.69
EWING, WILLIAM                6/4/2013    6/24/2013     21    0.0035%      $       12.19
EXUM, KYRA S.                3/11/2015    7/10/2015    122    0.0201%      $       46.75
EYSTER, MISTY D.             5/31/2013    6/10/2013     11    0.0018%      $        8.76
FAJARDO, CELINA L.           7/27/2015    9/14/2015     50    0.0082%      $       22.11
FAJARDO, CHEALSIE L.         6/22/2015    1/11/2016    204    0.0336%      $       74.82
FALKLER, KAYLI               1/17/2012    1/11/2016   1051    0.1731%      $      364.69
FARHOUD, SEHAM K.            3/14/2013    8/25/2014    530    0.0873%      $      186.38
FARLEY, BRANDY               1/21/2013    2/27/2013      3    0.0005%      $        6.03
FARR, KAYLA L.               3/19/2015    4/25/2015     38    0.0063%      $       18.00
FARRA, LINDSEY L.            3/23/2015     8/7/2015    138    0.0227%      $       52.23
FARRELL, RANDY J.            4/13/2015    7/12/2015     91    0.0150%      $       36.14
FASANO, STEPHANIE L.         2/25/2015     3/3/2015      7    0.0012%      $        7.40
FAST, SUMMER J.              6/23/2015    1/11/2016    203    0.0334%      $       74.47
FEATHERSTON, ALIX E.         1/20/2014   10/23/2014    277    0.0456%      $       99.80
FEELER, CANDACE L.           3/26/2015    1/11/2016    292    0.0481%      $      104.93
FENDLER, RACHEL E.            9/3/2013     2/2/2015    518    0.0853%      $      182.28
FERGUSON, JACOB W.          10/28/2010    4/22/2013     57    0.0094%      $       24.51
FERGUSON, ROBERT            11/12/2010    1/11/2016   1051    0.1731%      $      364.69
FERKEL, JUSTIN K.            1/30/2013    1/11/2016   1051    0.1731%      $      364.69
FERNANDEZ LOPEZ,             4/20/2015    1/11/2016
EZEQUIEL                                               267    0.0440% $            96.38

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 55 of 129 Page ID
                                       #932

FERNANDEZ, JUDITH            4/20/2015    5/12/2015     23    0.0038% $            12.87
FERNANDEZ, KARINA            1/28/2015     3/9/2015     41    0.0068% $            19.03
FERNANDEZ, MARTHA V.         6/12/2013     8/5/2013     55    0.0091% $            23.82
FERNANDEZ, STEPHANIE M.      8/14/2013   12/30/2013
(JEFFERS)                                              139    0.0229%      $       52.57
FERNANDEZ, TANIA             6/15/2013     8/2/2013     49    0.0081%      $       21.77
FERRILL, KALVIN J.            2/3/2015    8/24/2015    203    0.0334%      $       74.47
FERRIS, BRYAN                 8/7/2014    11/3/2014     89    0.0147%      $       35.46
FETHERLING, MICHAEL A.      10/13/2013   10/30/2015    748    0.1232%      $      260.99
FEYE, SAMUEL C.              7/30/2015    1/11/2016    166    0.0273%      $       61.81
FIELDS, ANTHONY L.           4/25/2012     2/2/2014    343    0.0565%      $      122.39
Fields, Gabrielle            10/7/2015     1/6/2016     92    0.0152%      $       36.49
FIELDS, JUSTIN E.            7/29/2015   11/16/2015    111    0.0183%      $       42.99
FIELDS, SHANNON               3/5/2013    5/20/2013     77    0.0127%      $       31.35
FIELDS, WILLIE              10/14/2015   11/23/2015     41    0.0068%      $       19.03
FIGG, BRIAN                  7/24/2014    11/1/2015    466    0.0768%      $      164.48
FIGUEROA, SERGIO              9/8/2014    1/11/2016    491    0.0809%      $      173.04
FINDER, JESSICA N.           9/23/2013    9/26/2013      4    0.0007%      $        6.37
FINDLEY, JESSICA N.           4/3/2013    5/22/2013     50    0.0082%      $       22.11
FINK, REANNA R.              2/13/2013    5/28/2013     93    0.0153%      $       36.83
FINLEY, ASHLEY E.            4/13/2013    7/21/2013    100    0.0165%      $       39.22
FINLEY, VICTORIA A.          8/12/2013    8/18/2014    372    0.0613%      $      132.31
FISCHER, PETER W.            2/10/2015    3/17/2015     36    0.0059%      $       17.32
FISHER, ALLEGRA N.           5/29/2013     8/5/2014    434    0.0715%      $      153.53
FISHER, GINA M.              6/22/2015    8/28/2015     68    0.0112%      $       28.27
FISHER, KRYSTAL L.           4/21/2014    6/26/2014     67    0.0110%      $       27.93
FISTER, CAROLINE J.         11/14/2011    6/29/2014    490    0.0807%      $      172.69
FITE, CAMRYN                 3/22/2012     3/4/2013      8    0.0013%      $        7.74
FLAMUTH, LAURA K.            3/27/2013    6/27/2013     93    0.0153%      $       36.83
FLATT, MICHEL B.             1/23/2012    6/21/2014    482    0.0794%      $      169.96
FLETCHER, ANTOINETTE M.       8/6/2013    1/28/2014    176    0.0290%      $       65.23
FLETCHER, DAVID S.           3/27/2015    4/28/2015     33    0.0054%      $       16.29
FLETCHER, ETHAN             11/21/2014    12/9/2014     19    0.0031%      $       11.50
FLETCHER, SARAH              1/30/2012    1/11/2016   1051    0.1731%      $      364.69
FLOOD, HEATHER N.             1/4/2015     7/4/2015    182    0.0300%      $       67.29
FLORES, GERARDO              6/10/2013   10/15/2013    128    0.0211%      $       48.81
FLORES, JESUS M.             10/8/2013   11/25/2013     49    0.0081%      $       21.77
FLORES, MAYRA L.              4/8/2014    5/20/2014     43    0.0071%      $       19.72
FLORES, VICTORIA G.         11/20/2012     6/2/2014    463    0.0763%      $      163.45
FLOWERS, JOSEPH              11/7/2015    1/11/2016     66    0.0109%      $       27.59
FLOYD, CAROL L.              5/15/2015    7/27/2015     74    0.0122%      $       30.33
FLOYD, JOHN E.                4/1/2015    5/29/2015     59    0.0097%      $       25.19
FLOYD, WILL                   5/3/2012    1/11/2016   1051    0.1731%      $      364.69
FOLEY, HAYDEN H.              7/6/2013    9/15/2013     72    0.0119%      $       29.64
FONSECA, TINA               11/19/2012     5/5/2014    435    0.0716%      $      153.87
FORBES, JAMES               11/12/2014     3/9/2015    118    0.0194%      $       45.38
FORBUSH, MEGAN L.             9/5/2013     3/6/2014    183    0.0301%      $       67.63

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 56 of 129 Page ID
                                       #933

FORD, CHASE C.               7/13/2012   11/15/2015    994    0.1637%      $      345.18
FORD, EVA M.                  3/6/2013    4/24/2013     50    0.0082%      $       22.11
FORD, HALEY D.               3/11/2015    4/20/2015     41    0.0068%      $       19.03
FORD, JACOB R.               8/11/2014    1/11/2016    519    0.0855%      $      182.62
FORD, JAMES R.                4/2/2014    5/19/2014     48    0.0079%      $       21.43
FORT, CHELSEA M.              2/3/2015    2/26/2015     24    0.0040%      $       13.21
FORTNER, CASSANDRA           8/12/2013   10/25/2013     75    0.0124%      $       30.67
FOWLER, BRANDON L.           4/28/2013     5/3/2013      6    0.0010%      $        7.05
FOWLER, BRITTANY R.          3/11/2013     8/1/2014    509    0.0838%      $      179.20
FOWLER, DANIELLE M.          1/12/2015    2/14/2015     34    0.0056%      $       16.64
FOX, ANNA S.                 10/8/2014    1/11/2016    461    0.0759%      $      162.77
FOX, JESSICA D.               4/2/2013    4/22/2013     21    0.0035%      $       12.19
FOX, KELLY A.                12/9/2013   12/12/2013      4    0.0007%      $        6.37
FRANK, BETHANY C.            4/25/2011   10/27/2015    975    0.1606%      $      338.68
FRANKE, CIARA R.             6/20/2013   12/27/2013    191    0.0315%      $       70.37
FRANKLIN, AMANDA S.          5/15/2015   12/13/2015    213    0.0351%      $       77.90
FRANKLIN, CANDIS P.          1/27/2014    6/21/2014    146    0.0240%      $       54.97
FRANKLIN, ROGER E.           11/4/2013    11/8/2013      5    0.0008%      $        6.71
FRASER, ALEXANDREA V.         8/9/2006    1/11/2016   1051    0.1731%      $      364.69
FRAZIER, ALISHA M.           11/5/2012   11/27/2013    276    0.0455%      $       99.46
FRAZIER, DUNCAN C.           8/20/2015    8/24/2015      5    0.0008%      $        6.71
FRAZIER, RACHELLE A.         6/13/2012     4/6/2013     41    0.0068%      $       19.03
FRAZIER, REBECCA L.          5/15/2013     6/3/2013     20    0.0033%      $       11.84
FREDENBURG, KELLY L.         2/18/2015    1/11/2016    328    0.0540%      $      117.25
FREEMAN, MEKEYSHIA R.         3/9/2015    1/11/2016    309    0.0509%      $      110.75
FREEMAN, WILLIAM H.          1/27/2014     3/4/2014     37    0.0061%      $       17.66
FRENCH, EDDIE                8/14/2013    8/27/2013     14    0.0023%      $        9.79
FRESHOUR, ALEXANDRA N.        5/9/2013    6/17/2013     40    0.0066%      $       18.69
FRIEDHOFF, AMBER C.          6/26/2007    9/14/2015    932    0.1535%      $      323.96
FRIEND, JONATHAN             3/16/2015    3/16/2015      1    0.0002%      $        5.34
FRIEND, JONATHAN R.          3/12/2015    3/12/2015      1    0.0002%      $        5.34
FRIERSON, BRITTANY K.         8/4/2014   12/22/2014    141    0.0232%      $       53.25
FRISO, JEFFREY T.            2/17/2015    2/25/2015      9    0.0015%      $        8.08
FRYBARGER, ASHLEY             3/2/2015    1/11/2016    316    0.0520%      $      113.15
FRYE, TAYE L.                2/11/2014    2/28/2014     18    0.0030%      $       11.16
FUENTES, ROSA M.             4/29/2004    1/11/2016   1051    0.1731%      $      364.69
FUGATE, MELISSA M.           9/17/2013    5/15/2014    241    0.0397%      $       87.48
FUHRMANN, JESSE M.           3/26/2012    1/11/2016   1051    0.1731%      $      364.69
FULLER, ASHLEIGH M.          8/26/2013    4/25/2014    243    0.0400%      $       88.16
Fuller, Israell C.           10/9/2015    1/11/2016     95    0.0156%      $       37.51
FULLER, NICHOLAS J.           6/5/2013    9/22/2013    110    0.0181%      $       42.65
FULLER, TIM                  3/24/2015    6/29/2015     98    0.0161%      $       38.54
FULTON, ALEXANDRYA P.         6/4/2015    8/31/2015     89    0.0147%      $       35.46
FUNK, PATRICIA               11/5/2014    1/11/2016    433    0.0713%      $      153.19
FUNK, TARA                  10/16/2014     3/9/2015    145    0.0239%      $       54.62
FURMAN, ADAM                 7/14/2013    9/28/2013     77    0.0127%      $       31.35
FURTCH, IMANI D.             3/31/2013     8/3/2013    126    0.0208%      $       48.12

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 57 of 129 Page ID
                                       #934

FYFE, KRISTIN A.            11/26/2011    1/11/2016   1051    0.1731%      $      364.69
GAINES, DOMINIQUE D.          4/3/2015    5/13/2015     41    0.0068%      $       19.03
GALLAGHER, ANDREW T.         7/26/2013     6/1/2015    676    0.1113%      $      236.35
Gallion, Danielle           11/19/2015    12/5/2015     17    0.0028%      $       10.82
GAMA, MONICA                  8/7/2014    4/20/2015    257    0.0423%      $       92.95
GARCIA JR, HECTOR M.          5/6/2015   11/23/2015    202    0.0333%      $       74.13
GARCIA, CHARLYE             11/19/2013    9/30/2014    316    0.0520%      $      113.15
GARCIA, CODY L.              3/14/2010     1/1/2014    311    0.0512%      $      111.43
GARCIA, ERICK                11/9/2014   11/29/2014     21    0.0035%      $       12.19
GARCIA, ERICK X.             4/27/2015    9/21/2015    148    0.0244%      $       55.65
GARCIA, JAYNA A.             5/14/2015    5/14/2015      1    0.0002%      $        5.34
GARCIA, JUAN C.              3/18/2014    1/11/2016    665    0.1095%      $      232.58
GARCIA, JULIAN               6/18/2014    9/22/2014     97    0.0160%      $       38.20
GARCIA, KENNETH B.           7/29/2013    1/11/2016    897    0.1477%      $      311.98
GARCIA, LLUVIA                2/7/2014     5/3/2014     86    0.0142%      $       34.43
GARCIA, MAHAYLA N.           7/28/2015    9/12/2015     47    0.0077%      $       21.08
GARCIA, RIGOBERTO           11/20/2014    1/26/2015     68    0.0112%      $       28.27
GARCIA, SAMUEL N.             4/7/2014    8/15/2014    131    0.0216%      $       49.83
GARDINER, JASON R.           6/30/2015    7/26/2015     27    0.0044%      $       14.24
GARDNER, DANIELLE R.          4/4/2014   12/23/2014    264    0.0435%      $       95.35
GARLAND, KYLA                 7/8/2012   10/26/2013    244    0.0402%      $       88.50
GARNER, DOMINIC C.           4/24/2015    4/25/2015      2    0.0003%      $        5.68
GARRETT, CASSANDRA M.        2/24/2014   12/20/2014    300    0.0494%      $      107.67
GARRISON, CHRISTIAN           6/5/2012   12/19/2014    663    0.1092%      $      231.90
GASTON, BRANDY R.           11/18/2013   12/30/2014    408    0.0672%      $      144.63
GATHERCOLE, KRISTA S.         1/7/2015     3/9/2015     62    0.0102%      $       26.22
GAVINA, RYAN N.               1/7/2014     1/6/2016    730    0.1202%      $      254.83
GAYLORD, MADISON             8/16/2015   10/12/2015     58    0.0096%      $       24.85
GAZAWAY, CHRISTOPHER A.       5/6/2013     6/8/2013     34    0.0056%      $       16.64
GEE, MARLON                  9/11/2014    2/20/2015    163    0.0268%      $       60.78
GEHA, REAGAN E.              3/24/2013    1/20/2014    303    0.0499%      $      108.70
GENTRY, DAULTON              5/18/2015    7/31/2015     75    0.0124%      $       30.67
GENTRY, TAYLOR R.            3/17/2012    6/30/2014    491    0.0809%      $      173.04
GENTRY, THOMAS W.             9/6/2012    7/11/2014    502    0.0827%      $      176.80
GERLING, SAVANNAH R.         2/18/2014    5/30/2014    102    0.0168%      $       39.91
GESKE, KALEY M.              1/23/2013    3/22/2014    391    0.0644%      $      138.81
GIBBS, LAUREN N.             2/13/2013     5/5/2013     70    0.0115%      $       28.96
GIBBS, RAMONTE K.             9/2/2013   12/20/2013    110    0.0181%      $       42.65
GIBSON, KYLER R.             8/26/2013   10/11/2013     47    0.0077%      $       21.08
GIDEON, TIFFANY             11/20/2015     1/7/2016     49    0.0081%      $       21.77
GIESE, KIMBERLY H.           4/16/2013    6/17/2013     63    0.0104%      $       26.56
GILBERT, DEVONNE              6/6/2012    4/21/2014    421    0.0693%      $      149.08
GILLESPIE, DONTAE            11/7/2013   12/31/2013     55    0.0091%      $       23.82
GILLESPIE, JARROD A.         3/26/2015     5/7/2015     43    0.0071%      $       19.72
GILLIG, NANCY M.             1/23/2012    1/11/2016   1051    0.1731%      $      364.69
GILLUM, SHELBY L.            7/23/2012     6/1/2015    827    0.1362%      $      288.03
GILMORE, DAVID S.            6/11/2014    2/21/2015    256    0.0422%      $       92.61

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 58 of 129 Page ID
                                       #935

GILMORE, TYLER R.             1/9/2014    2/22/2014     45    0.0074%      $       20.40
gines, bigdai                10/9/2015   10/20/2015     12    0.0020%      $        9.11
GIUSTI, NICOLAS E.           1/14/2014    1/27/2015    379    0.0624%      $      134.71
GIZELBACH, BRITTANY F.        9/1/2015   11/12/2015     73    0.0120%      $       29.98
GLASS, JORDAN M.             6/16/2015    7/15/2015     30    0.0049%      $       15.27
GLASTETTER, MARIA L.          1/4/2016    1/11/2016      8    0.0013%      $        7.74
GLEDHILL, JEROD W.           6/22/2015    1/11/2016    204    0.0336%      $       74.82
GLYNN, PATRICK M.            5/19/2015    1/11/2016    238    0.0392%      $       86.45
GOERGEN, MARK J.             1/30/2014    6/30/2014    152    0.0250%      $       57.02
GOICOCHEA, JAIME A.          4/16/2015    9/21/2015    159    0.0262%      $       59.41
GOIST, LEAH                   7/2/2015    1/11/2016    194    0.0320%      $       71.39
GOLBERG, PAULA               1/16/2015    9/14/2015    242    0.0399%      $       87.82
GOLLUBSKE, ERIN N.            9/3/2014     7/9/2015    310    0.0511%      $      111.09
GOMEZ, PEDRO                 12/6/2012    5/26/2013     91    0.0150%      $       36.14
GONZALEZ, MARISOL            5/21/2015    6/29/2015     40    0.0066%      $       18.69
GONZALEZ, REMEDIOS           6/17/2014    6/28/2014     12    0.0020%      $        9.11
GOOCH, JORDAN T.             3/30/2012     1/4/2014    314    0.0517%      $      112.46
GOOCH, RACHEL E.             8/22/2013   11/23/2013     94    0.0155%      $       37.17
GOODE, SAMUEL                5/14/2014    7/16/2014     64    0.0105%      $       26.90
GOODMAN, AMY K.               1/9/2015     3/9/2015     60    0.0099%      $       25.53
GOODMAN, DEVON A.           10/11/2012    1/11/2016   1051    0.1731%      $      364.69
GOODSON, JODY M.             1/28/2015    3/10/2015     42    0.0069%      $       19.37
GORD, CHELSEA R.             6/29/2015    8/10/2015     43    0.0071%      $       19.72
GORDILLO, JESSICA R.         4/28/2015    5/12/2015     15    0.0025%      $       10.13
GORDON, EVESTER C.            4/4/2014     4/8/2014      5    0.0008%      $        6.71
GORNIAK, KELLY M.             6/9/2015    9/21/2015    105    0.0173%      $       40.93
GOSSETT, IAN M.             10/21/2013    11/1/2013     12    0.0020%      $        9.11
GOUGH, MADISON K.            12/3/2010    4/18/2014    418    0.0688%      $      148.05
GOURD, HAYLEA M.             3/14/2013     4/8/2014    391    0.0644%      $      138.81
GOVORO, CHELSEA N.           9/28/2012     3/5/2015    739    0.1217%      $      257.91
GOVRO, KYLE M.               7/29/2014    5/14/2015    290    0.0478%      $      104.25
GRABOW, BLAIR A.              5/2/2012    1/11/2016   1051    0.1731%      $      364.69
GRACE, HANNAH J.             8/26/2014    9/10/2014     16    0.0026%      $       10.48
GRAGG, TAYLOR B.              7/3/2013     7/5/2013      3    0.0005%      $        6.03
GRAHAM, LEILANI M.            2/8/2015    6/18/2015    131    0.0216%      $       49.83
GRAMM, ZIGGY M.              6/18/2015     8/3/2015     47    0.0077%      $       21.08
GRAVES, FHYLISHA S.          8/19/2014   10/24/2014     67    0.0110%      $       27.93
GRAY, DAVID J.                1/4/2014    2/16/2014     44    0.0072%      $       20.06
GRAY, PATRICIA L.             4/2/2013    4/13/2013     12    0.0020%      $        9.11
GRAYSON, DORCHELL L.         5/27/2014    6/30/2014     35    0.0058%      $       16.98
GREEN, AMANDA D.             1/10/2012    7/29/2013    155    0.0255%      $       58.05
GREEN, BRITTANY L.           11/8/2014   11/17/2014     10    0.0016%      $        8.42
GREEN, KELSIE M.              4/1/2014    1/11/2016    651    0.1072%      $      227.79
GREENHOWARD JR, MARK          7/3/2013   10/21/2013    111    0.0183%      $       42.99
GREENWOOD, AARON J.          4/22/2014    5/18/2014     27    0.0044%      $       14.24
GREENWOOD, RYAN A.          10/23/2014    2/24/2015    125    0.0206%      $       47.78
GREENWOOD, SARAH K.           9/2/2010    8/16/2014    538    0.0886%      $      189.12

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 59 of 129 Page ID
                                       #936

GREESON, KACEY               4/28/2015    5/12/2015     15    0.0025%      $       10.13
GREGORY, JOAN                7/23/2015    1/11/2016    173    0.0285%      $       64.21
GRIFFARD, BENJAMIN J.         8/7/2014    9/19/2014     44    0.0072%      $       20.06
GRIFFIN, ASHLEY D.            4/4/2014     5/2/2014     29    0.0048%      $       14.92
GRIFFIN, KRISTINE R.         7/17/2014    7/26/2014     10    0.0016%      $        8.42
GRIFFIN, MORGAN R.           9/21/2014    1/20/2015    122    0.0201%      $       46.75
GRIFFIN, SHANIQUA R.         3/16/2015    4/16/2015     32    0.0053%      $       15.95
GRIFFIS, TASHA M.            8/10/2015    8/18/2015      9    0.0015%      $        8.08
GRIFFITH, LANEY A.            2/6/2015    2/20/2015     15    0.0025%      $       10.13
GRIMES, ISAIAH K.           12/29/2013    6/29/2015    548    0.0903%      $      192.54
GRIMES, JESSICA              8/26/2013    4/14/2014    232    0.0382%      $       84.40
GRONE, CHRIS M.              9/12/2015    10/3/2015     22    0.0036%      $       12.53
GROSSMAN, ETHAN               9/9/2014    8/23/2015    349    0.0575%      $      124.44
GROSZE, LINDSEY T.           4/28/2013    6/27/2013     61    0.0100%      $       25.88
GROTHE, CHELSAE              7/31/2012     3/4/2013      8    0.0013%      $        7.74
GROVE, ANDREA N.             9/22/2014    9/22/2014      1    0.0002%      $        5.34
GROVES, ANTWONE D.           3/25/2014    7/25/2014    123    0.0203%      $       47.09
GROZDANIC, SAFETA            3/26/2013    7/28/2013    125    0.0206%      $       47.78
GUBERMAN, LISA N.             4/4/2012    1/11/2016   1051    0.1731%      $      364.69
GUNDERSON, JESSICA R.       11/13/2014    12/5/2014     23    0.0038%      $       12.87
GUSOV, RACHEL J.             8/18/2014    8/31/2014     14    0.0023%      $        9.79
GUSTAFSON, JAIME L.          1/12/2015    1/11/2016    365    0.0601%      $      129.91
GUTIERREZ, JULIO              3/6/2006    1/11/2016   1051    0.1731%      $      364.69
GUY, ELIZABETH I.            5/28/2014   11/24/2015    546    0.0899%      $      191.86
GUZMAN, DANIEL               11/5/2014    1/11/2016    433    0.0713%      $      153.19
GUZMAN, JESSICA R.          10/28/2013   12/31/2013     65    0.0107%      $       27.25
HABECK, BRITTANY             5/21/2012     8/5/2013    162    0.0267%      $       60.44
HACKWORTH, BRYCE E.           9/3/2014    10/6/2014     34    0.0056%      $       16.64
HAFLEY, AMANDA R.             4/1/2014    1/11/2016    651    0.1072%      $      227.79
HAGAR, KELSEY D.             8/31/2013    9/24/2013     25    0.0041%      $       13.56
HAGEDORN, NICOLE E.         10/20/2001    7/29/2013    155    0.0255%      $       58.05
HAGELSTEIN, DAVID F.         9/16/2015    1/11/2016    118    0.0194%      $       45.38
HAGEMANN, BRITTANY           5/25/2011     7/2/2013    128    0.0211%      $       48.81
HAGEN, MICHAEL L.            9/28/2015   10/29/2015     32    0.0053%      $       15.95
HALE, ANDI                  11/11/2014   12/30/2014     50    0.0082%      $       22.11
HALEY, GARRETT W.             3/9/2013     4/1/2013     24    0.0040%      $       13.21
HALL JR, KEITH A.            4/22/2014     6/6/2015    411    0.0677%      $      145.66
HALL, CHRISTIAN              5/15/2013   10/16/2013    155    0.0255%      $       58.05
HALL, CHRISTOPHER G.         5/27/2014    11/7/2014    165    0.0272%      $       61.47
HALL, GREGORY               10/17/2013   10/22/2013      6    0.0010%      $        7.05
HALL, GREGORY L.              5/2/2015   12/28/2015    241    0.0397%      $       87.48
HALL, JAMES M.               5/31/2013    6/28/2013     29    0.0048%      $       14.92
HALL, JOHN N.                 9/7/2013     6/1/2015    633    0.1043%      $      221.63
HALL, KATY L.                4/20/2010     3/3/2013      7    0.0012%      $        7.40
HALL, KATY L.                 8/4/2014   12/15/2014    134    0.0221%      $       50.86
HALL, KELCIE E.              7/13/2015     9/6/2015     56    0.0092%      $       24.17
HALL, RYAN                   7/14/2013     5/3/2014    294    0.0484%      $      105.62

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 60 of 129 Page ID
                                       #937

HALLAN, DOMINIQUE I.         6/30/2014    6/30/2014      1    0.0002%      $        5.34
HALLEY, BREANNA R.           4/16/2015    5/24/2015     39    0.0064%      $       18.35
HAMILTON, JEFFREY L.         1/13/2014    2/23/2014     42    0.0069%      $       19.37
HAMILTON, MARANATHA J.       9/17/2014    1/20/2015    126    0.0208%      $       48.12
HAMMACK, MADELEINE M.        1/30/2013   11/17/2014    631    0.1039%      $      220.95
HANDLEY Jr., ERIC C.          6/5/2014    8/25/2014     82    0.0135%      $       33.06
HANNA, LINDA                  6/3/2014   10/27/2014    147    0.0242%      $       55.31
HANSEN, CHRISTOPHER           6/6/2011   11/29/2013    278    0.0458%      $      100.14
HANSEN, JALEN                9/18/2015   11/26/2015     70    0.0115%      $       28.96
HANSON, ALEXANDRIA E.         6/6/2013    8/30/2015    816    0.1344%      $      284.26
HARDAWAY, DEMONTE R.          1/6/2015    1/18/2015     13    0.0021%      $        9.45
HARDEMAN, TANERA C.         12/22/2014    1/26/2015     36    0.0059%      $       17.32
HARDING, AUSTIN J.           3/19/2012    8/18/2013    175    0.0288%      $       64.89
HARDY, KAYLA                 7/16/2014     8/3/2014     19    0.0031%      $       11.50
HARGRAVES, MARILYN M.         7/6/2015     7/7/2015      2    0.0003%      $        5.68
HARGUS, STEFFANNE            8/23/2015    1/11/2016    142    0.0234%      $       53.60
HARIE, LAUREN E.             5/25/2015    5/28/2015      4    0.0007%      $        6.37
HARMON, NICOLE                4/8/2014    5/20/2015    408    0.0672%      $      144.63
HARMS, JORDAN C.             4/16/2013    11/2/2015    931    0.1533%      $      323.62
HARPER, KEITH M.              4/9/2015    5/23/2015     45    0.0074%      $       20.40
HARPER, KRYSTAL D.            3/9/2013    3/24/2013     16    0.0026%      $       10.48
HARPOLE, MALLORY            10/21/2015   12/28/2015     69    0.0114%      $       28.61
HARRINGTON, ALEXIS R.        6/16/2015    1/11/2016    210    0.0346%      $       76.87
HARRINGTON, HANNAH          11/17/2014   11/30/2014     14    0.0023%      $        9.79
HARRIS, ALFONZO M.           3/24/2015    1/11/2016    294    0.0484%      $      105.62
HARRIS, COURTNEY L.         11/13/2012    4/13/2013     48    0.0079%      $       21.43
HARRIS, DALTON J.             2/5/2015    3/18/2015     42    0.0069%      $       19.37
HARRIS, DENA M.              9/17/2013    9/24/2013      8    0.0013%      $        7.74
HARRIS, DIAMOND M.           7/31/2014    4/14/2015    258    0.0425%      $       93.30
HARRIS, FRANK                4/27/2014    1/11/2016    625    0.1029%      $      218.90
HARRIS, JAMES B.             12/4/2013   12/31/2013     28    0.0046%      $       14.58
HARRIS, KIMBERLY C.          6/12/2013    4/27/2015    685    0.1128%      $      239.43
HARRIS, LINDSEY M.            2/4/2015    3/25/2015     50    0.0082%      $       22.11
HARRIS, MAKAELA R.            3/5/2015    4/14/2015     41    0.0068%      $       19.03
HARRIS, TEYONA              10/20/2015   11/26/2015     38    0.0063%      $       18.00
HARRIS, THOMAS G.            11/9/2013    11/9/2013      1    0.0002%      $        5.34
HARRIS, WHITNEY             11/27/2006     4/6/2013     41    0.0068%      $       19.03
HARRISON, DEMARIO           10/16/2015    1/11/2016     88    0.0145%      $       35.12
HARRISON, RANDY L.           1/22/2014    2/21/2014     31    0.0051%      $       15.61
HARRISON, SHAWNA R.          10/2/2014    10/2/2014      1    0.0002%      $        5.34
HARRY, JOSHUA                7/16/2013    6/30/2014    350    0.0576%      $      124.78
HART, CARRI L.               5/16/2013   10/16/2013    154    0.0254%      $       57.70
HART, EMILY L.                6/4/2013    9/27/2013    116    0.0191%      $       44.70
HART, ERIN E.                 6/6/2013    9/27/2013    114    0.0188%      $       44.01
HART, TONIA                  3/22/2013     7/3/2013    104    0.0171%      $       40.59
HART, VICTORIA               6/12/2012    1/11/2016   1051    0.1731%      $      364.69
HART, WILLIAM-JAMES S.       7/24/2013    11/5/2013    105    0.0173%      $       40.93

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 61 of 129 Page ID
                                       #938

HARTIGAN, ANDREW             1/10/2007    4/12/2013     47    0.0077%      $       21.08
HARTWELL, CASIE              10/9/2014     1/5/2015     89    0.0147%      $       35.46
HARTWELL, DANIEL P.          4/27/2014     9/8/2014    135    0.0222%      $       51.20
HARTWICK, YALE M.             6/1/2015    8/15/2015     76    0.0125%      $       31.01
HARZMAN, MATTHEW            12/19/2007     8/5/2013    162    0.0267%      $       60.44
HASENJAEGER, SHEILA M.        9/1/2011    4/17/2015    782    0.1288%      $      272.63
HASKIN, DEMETRIOUS            8/7/2015    1/11/2016    158    0.0260%      $       59.07
Haskins, Matthew            10/30/2015    1/11/2016     74    0.0122%      $       30.33
HASSARD, JAMES D.            3/31/2014     8/8/2014    131    0.0216%      $       49.83
HASSOUN, VICKIE              1/21/1984    1/11/2016   1051    0.1731%      $      364.69
HASTY, ASHLEY E.             3/22/2013    5/27/2013     67    0.0110%      $       27.93
HATCHER, NICOLE M.           1/15/2014    1/11/2016    727    0.1197%      $      253.80
HAU, JESSE R.                1/19/2014    5/19/2014    121    0.0199%      $       46.41
HAUGT, CORBIN A.              3/9/2014    5/25/2014     78    0.0128%      $       31.69
Hauserman, Andrew J.        10/21/2015    1/11/2016     83    0.0137%      $       33.41
HAVENS, JANEESA              6/16/2015    6/16/2015      1    0.0002%      $        5.34
HAWATMEN, KAMEL             11/19/2015   12/25/2015     37    0.0061%      $       17.66
HAYCRAFT III, BILLIE         12/7/2014     2/3/2015     59    0.0097%      $       25.19
HAYDEN, CARLOS D.             3/6/2012    7/15/2013    141    0.0232%      $       53.25
HAYES, JOSEPH W.             4/29/2013    11/6/2013    192    0.0316%      $       70.71
HAYES, KIMBERLEY K.          8/28/2011     6/2/2014    463    0.0763%      $      163.45
HAYES, LESLIE A.             6/10/2015    8/11/2015     63    0.0104%      $       26.56
HAYES, MATTHEW E.             8/1/2014     8/3/2014      3    0.0005%      $        6.03
HAYES, VALERIE M.            8/27/2012     8/3/2013    160    0.0264%      $       59.76
HAYWORTH, CODY R.             9/3/2015    10/6/2015     34    0.0056%      $       16.64
HEADD, KIERRA C.             5/29/2015     6/8/2015     11    0.0018%      $        8.76
HEBDEN, KENNETH S.           1/30/2015     3/3/2015     33    0.0054%      $       16.29
HEBERT, PAUL D.              7/29/2015    9/10/2015     44    0.0072%      $       20.06
HECKE, DAVID M.              1/28/2008    1/11/2016   1051    0.1731%      $      364.69
HEDRICK, MADISON             6/23/2014    7/14/2014     22    0.0036%      $       12.53
HEFFLEY, HANAH L.           10/13/2013   12/20/2013     69    0.0114%      $       28.61
HEIMBURG, IAN J.             3/25/2014     5/5/2014     42    0.0069%      $       19.37
HEINRICH, RONALD L.          3/10/2015    8/26/2015    170    0.0280%      $       63.18
HEISE, CHRISTINA E.          8/13/2014    8/13/2014      1    0.0002%      $        5.34
HEJLIK, ERIC G.               9/1/2015    1/11/2016    133    0.0219%      $       50.52
HELFRICH, BRETT L.            2/3/2015    4/18/2015     75    0.0124%      $       30.67
HELTON, COURTNEY M.          3/31/2014    8/14/2014    137    0.0226%      $       51.89
HENARD, SKYLIN J.           11/10/2014    1/14/2015     66    0.0109%      $       27.59
HENDERSHOT, KAYLA M.          4/3/2015     4/3/2015      1    0.0002%      $        5.34
HENDERSON, DESTINEY C.       3/25/2015    11/8/2015    229    0.0377%      $       83.37
HENDRICKS, NIGEL P.           6/4/2015   12/28/2015    208    0.0343%      $       76.18
HENGEN, SHANNON N.           9/20/2011     6/5/2014    466    0.0768%      $      164.48
HENNING, JOSHUA R.            1/4/2011    11/4/2013    253    0.0417%      $       91.58
HENSLEY, ADRIAN              5/19/2015    1/11/2016    238    0.0392%      $       86.45
HENSON, MAGAN L.             3/13/2015    5/10/2015     59    0.0097%      $       25.19
HENSON, STEPHANIE K.          9/3/2013    2/10/2015    526    0.0866%      $      185.01
HERBOLSHEIMER, CHANCEY       11/7/2013     2/1/2014     87    0.0143%      $       34.77

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 62 of 129 Page ID
                                       #939

HERD, JONATHAN D.            2/12/2014     3/9/2015    391    0.0644%      $      138.81
HERNANDEZ III, ERNESTO        9/6/2013    3/10/2014    186    0.0306%      $       68.66
HERNANDEZ, ALEX S.           7/24/2013    6/24/2014    336    0.0553%      $      119.99
HERNANDEZ, ANDREA E.         1/20/2013     4/5/2013     40    0.0066%      $       18.69
HERNANDEZ, ARRIELLE C.       8/25/2014   12/15/2014    113    0.0186%      $       43.67
HERNANDEZ, DARRICK            8/1/2013    9/24/2013     55    0.0091%      $       23.82
HERNANDEZ, ISAIAS           11/25/2015   12/28/2015     34    0.0056%      $       16.64
HERNANDEZ, OFELIA            12/9/2010    1/11/2016   1051    0.1731%      $      364.69
HERNANDEZ, ORLANDO          12/20/2005    6/24/2014    485    0.0799%      $      170.98
HERNANDEZ, SARA M.           9/23/2012    4/10/2013     45    0.0074%      $       20.40
HERNANDEZ, VICTOR M.          7/2/2015     9/8/2015     69    0.0114%      $       28.61
HERRERA, JESSICA M.          5/24/2015    1/11/2016    233    0.0384%      $       84.74
HERRERA, LASHAUNA A.         8/28/2013     2/7/2014    164    0.0270%      $       61.13
HERRES, PETER B.             2/17/2013    6/18/2013    114    0.0188%      $       44.01
HERRON, CHRISTOPHER J.      11/28/2014    1/11/2016    410    0.0675%      $      145.32
HERRON, DANIELLE N.          7/16/2013    1/11/2016    910    0.1499%      $      316.43
HERRON, KASHONDA L.         11/11/2014    1/11/2016    427    0.0703%      $      151.13
HERTWIG, REBECCA J.           1/5/2003    7/26/2014    517    0.0852%      $      181.93
HESKER, ALYSSA C.             2/3/2015    1/11/2016    343    0.0565%      $      122.39
HESS, CONNOR A.             12/23/2013     1/6/2014     15    0.0025%      $       10.13
Hess, Daniel L.             12/30/2015    1/11/2016     13    0.0021%      $        9.45
HEWITT, TRAVIS R.            7/23/2015     9/1/2015     41    0.0068%      $       19.03
HIBBITT, MANDELYN R.          1/4/2014    2/14/2014     42    0.0069%      $       19.37
HIBBLER, ORLANDRIA Q.       11/13/2012     2/1/2014    342    0.0563%      $      122.04
Hickman, Kelsey              10/8/2015    1/11/2016     96    0.0158%      $       37.85
HICKS, MAAGEN J.             5/18/2015    1/11/2016    239    0.0394%      $       86.79
HICKS, TAMERA J.              2/4/2015   10/26/2015    265    0.0436%      $       95.69
HIEBERT, JACQUELINE A.       3/12/2015     5/1/2015     51    0.0084%      $       22.45
HIGBEE, SIERRA M.            2/10/2014     4/7/2014     57    0.0094%      $       24.51
HIGDON, CRYSTAL               8/2/2012    4/27/2014    427    0.0703%      $      151.13
HIGGINBOTHAM, MICHELLE        6/5/2013    2/19/2014
L.                                                    260     0.0428%      $       93.98
HIGGINS II, DENNIS          11/14/2015    1/11/2016    59     0.0097%      $       25.19
HIGGINS, ZACHARY R.          3/27/2014    6/26/2014    92     0.0152%      $       36.49
HIGLEY, ELIZA K.            12/11/2014    2/12/2015    64     0.0105%      $       26.90
HILDABRAND, JOSHUA D.        9/19/2013    9/11/2015   723     0.1191%      $      252.43
HILL, AMANDA R.              1/15/2014    3/23/2015   433     0.0713%      $      153.19
HILL, ANDREW R.               3/8/2015    6/12/2015    97     0.0160%      $       38.20
HILL, JESSICA E.              5/6/2013    6/20/2013    46     0.0076%      $       20.74
HILL, JORDAN                 10/9/2014     3/4/2015   147     0.0242%      $       55.31
HILL, SHANETTA C.            1/19/2015    1/11/2016   358     0.0590%      $      127.52
HILSABECK, ABIGAIL           8/29/2014    12/1/2014    95     0.0156%      $       37.51
HINES, CATHERINE E.          2/17/2013     3/9/2013    13     0.0021%      $        9.45
HINES, YELENA K.             7/15/2014    1/11/2016   546     0.0899%      $      191.86
HINTON, CHELSEA              8/16/2015   10/12/2015    58     0.0096%      $       24.85
HINTON, PATRICK X.           5/22/2013     8/4/2013    75     0.0124%      $       30.67
HINTZ, LORNE V.              8/25/2014    11/4/2014    72     0.0119%      $       29.64

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 63 of 129 Page ID
                                       #940

HIPP, ADAM J.                3/11/2013    3/24/2015    744    0.1225%      $      259.62
HLEDIK, SAVANNAH M.          4/13/2013    5/12/2013     30    0.0049%      $       15.27
HOF, FREDERICK W.            8/26/2013    6/30/2014    309    0.0509%      $      110.75
HOFFMAN, BROOKLYN A.          3/4/2014    3/24/2014     21    0.0035%      $       12.19
HOFFMANN, ANDREW J.          4/24/2014    1/11/2016    628    0.1034%      $      219.92
HOGAN, VICKI M.              7/10/2014    9/30/2014     83    0.0137%      $       33.41
HOGLANDER, KYLE W.           1/31/2013   12/20/2013    299    0.0492%      $      107.33
HOKE, CODY T.                4/24/2015     7/9/2015     77    0.0127%      $       31.35
HOLCOMB, SHAWNA F.           9/12/2013     8/7/2014    330    0.0544%      $      117.94
HOLDEN, MARLA D.             5/29/2015    8/21/2015     85    0.0140%      $       34.09
HOLGUIN, RAFAEL J.            3/8/2008    8/16/2013    173    0.0285%      $       64.21
HOLLAWAY, ELLIOTT J.        10/13/2014     2/2/2015    113    0.0186%      $       43.67
HOLLINGSWORTH, ROBERT         9/5/2013    1/11/2016
C.                                                     859    0.1415%      $      298.98
HOLLIS, KAYLEE J.            8/12/2013     8/9/2014    363    0.0598%      $      129.23
HOLLOWAY, JEDIDIAH D.        2/25/2015    6/12/2015    108    0.0178%      $       41.96
HOLLOWAY, ROBERTO A.          3/6/2013    8/22/2014    535    0.0881%      $      188.09
HOLMAN, BRE'AUANA D.         8/22/2013   12/16/2013    117    0.0193%      $       45.04
HOLMES, JUSTIN M.            6/25/2013     8/4/2013     41    0.0068%      $       19.03
HOLMES-PRUITT, AMBER         4/30/2013    5/13/2014    379    0.0624%      $      134.71
HOOD, ROBERT S.              5/20/2012    1/11/2016   1051    0.1731%      $      364.69
HOPE, JESSE A.               8/26/2015    1/11/2016    139    0.0229%      $       52.57
HOPKINS, PAIGE C.             2/3/2015    3/23/2015     49    0.0081%      $       21.77
HOPKINS, RICHARD D.           5/8/2014    7/28/2014     82    0.0135%      $       33.06
HORTON, AQUAN D.             11/7/2012    5/18/2013     83    0.0137%      $       33.41
HOULTON, DONOVAN B.          8/12/2015    1/11/2016    153    0.0252%      $       57.36
HOWARD, BRENNAN R.           6/19/2014    9/22/2014     96    0.0158%      $       37.85
HOWARD, KAITLYNN N.          12/3/2012     9/9/2013    197    0.0324%      $       72.42
HOWARD, KANEISHIA M.         11/4/2013   11/26/2013     23    0.0038%      $       12.87
HOWE, SARAH N.                7/9/2012    1/11/2016   1051    0.1731%      $      364.69
Howell, David J.            12/30/2015    1/11/2016     13    0.0021%      $        9.45
HOWELL, HANNAH B.             8/4/2014   11/30/2014    119    0.0196%      $       45.73
HOWELL, STEPHEN W.           7/24/2012     7/4/2013    130    0.0214%      $       49.49
HOWELL, THERESE E.           9/10/2015    11/2/2015     54    0.0089%      $       23.48
HRBACEK, KATIE N.            2/25/2015    12/4/2015    283    0.0466%      $      101.85
HUBBARD, MARC A.             2/25/2011    5/21/2013     86    0.0142%      $       34.43
HUDSON, ALLIE N.              1/5/2015     1/5/2015      1    0.0002%      $        5.34
HUDSON, DEVIN J.             6/11/2013    3/16/2015    644    0.1061%      $      225.40
HUDSON, JUSTIN D.            7/21/2011   12/26/2013    305    0.0502%      $      109.38
HUDSON, SHAUNICE L.           5/6/2013     3/3/2014    302    0.0497%      $      108.35
HUEGEL, ANTHONY J.            3/2/2013   12/30/2014    669    0.1102%      $      233.95
HUELSMANN, BRENDEN D.        7/12/2015    1/11/2016    184    0.0303%      $       67.97
HUFF, CRISTA J.              1/17/2012    3/26/2013     30    0.0049%      $       15.27
HUFF, LAURA N.                3/9/2013    4/27/2013     50    0.0082%      $       22.11
HUFFMAN, BRADLEY M.          2/11/2014    1/11/2016    700    0.1153%      $      244.56
HUFFMAN, KELSI               6/15/2012    3/24/2014    393    0.0647%      $      139.50
HUGHES, ALICIA M.            1/11/2011    6/27/2014    488    0.0804%      $      172.01

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 64 of 129 Page ID
                                       #941

HUMBERT, PAIGE A.             5/6/2015    1/11/2016    251    0.0413%      $       90.90
HUMBLE, CASEY               10/30/2012     3/4/2013      8    0.0013%      $        7.74
HUMPHREY, MELISSA            4/25/2000    8/19/2013    176    0.0290%      $       65.23
HUNEYCUTT, STACEY            8/26/2014    11/3/2014     70    0.0115%      $       28.96
HUNKINS, KEVIN               8/17/2014     2/2/2015    170    0.0280%      $       63.18
HUNOLT, RICHARD             11/12/2015     1/2/2016     52    0.0086%      $       22.80
HUNT, GAGE M.                6/30/2015    1/11/2016    196    0.0323%      $       72.08
HURST, DANIEL                4/10/2011    12/1/2013    280    0.0461%      $      100.83
HUTCHCRAFT, CLAUDIA P.      11/25/2002    1/11/2016   1051    0.1731%      $      364.69
HUTSON, JAMES R.              8/2/2011    5/17/2014    447    0.0736%      $      157.98
HUTTEN, RACHEL               8/16/2012    2/12/2015    718    0.1183%      $      250.72
HUYNH, JIMMY                 7/28/2014    1/11/2016    533    0.0878%      $      187.41
HYDE, SAM                   10/15/2015    1/11/2016     89    0.0147%      $       35.46
HYER, CAMRON N.               2/5/2013    2/25/2013      1    0.0002%      $        5.34
IBARRA, PERLA K.            12/23/2013    8/21/2014    242    0.0399%      $       87.82
IDOLL, GINA M.                6/4/2015     8/9/2015     67    0.0110%      $       27.93
IGRAM, LENA                  1/22/2014    2/24/2014     34    0.0056%      $       16.64
IKUESANU, GODWIN             4/28/2014    5/12/2014     15    0.0025%      $       10.13
IKUESANU, GODWIN             4/28/2014    5/13/2014     16    0.0026%      $       10.48
INGERAM, NATASHA            10/12/2013    6/30/2014    262    0.0432%      $       94.66
INGHAM, ALEXANDER S.          1/6/2015    3/24/2015     78    0.0128%      $       31.69
INGRAM, LINDSAY              9/30/2013    7/27/2014    301    0.0496%      $      108.01
IRVIN, SAHARA J.             8/14/2013    8/17/2013      4    0.0007%      $        6.37
IRWIN, CHRISTIN              3/16/2015    3/16/2015      1    0.0002%      $        5.34
IRWIN, CHRISTIN E.           3/12/2015    3/31/2015     20    0.0033%      $       11.84
IRWIN, TRACIE M.             8/15/2014    1/11/2016    515    0.0848%      $      181.25
IVY, SARAH E.                5/21/2012     7/2/2013    128    0.0211%      $       48.81
JACKSON Jr., MARCUS          1/27/2015    1/27/2015      1    0.0002%      $        5.34
JACKSON, ADRIAN             11/20/2015    1/11/2016     53    0.0087%      $       23.14
JACKSON, ANDREW J.            8/1/2013     6/3/2014    307    0.0506%      $      110.07
JACKSON, ANTONIO L.         12/20/2014    1/20/2015     32    0.0053%      $       15.95
JACKSON, ARTHUR B.           3/25/2015    4/21/2015     28    0.0046%      $       14.58
JACKSON, ASHLEY               3/5/2014    5/19/2014     76    0.0125%      $       31.01
JACKSON, BRADLEY              8/8/2011    1/11/2016   1051    0.1731%      $      364.69
JACKSON, BRENT C.            5/20/2014    4/20/2015    336    0.0553%      $      119.99
JACKSON, CHRISTOPHER L.      1/25/2012    1/11/2016   1051    0.1731%      $      364.69
JACKSON, INDIA M.             3/5/2015   10/19/2015    229    0.0377%      $       83.37
JACKSON, KAYLA C.             1/6/2015     2/3/2015     29    0.0048%      $       14.92
JACKSON, KEITH C.            1/29/2014    3/11/2014     42    0.0069%      $       19.37
JACKSON, KELLY I.            1/10/2014    2/25/2014     47    0.0077%      $       21.08
JACKSON, KENNETH D.           6/5/2013    6/14/2013     10    0.0016%      $        8.42
JACKSON, KIMBERLY C.         6/23/2013     7/4/2013     12    0.0020%      $        9.11
jackson, Latressa M.        11/21/2015    1/11/2016     52    0.0086%      $       22.80
JACKSON, MIKELIA R.           6/1/2015    6/19/2015     19    0.0031%      $       11.50
JACKSON, ROMEO               10/7/2015    1/11/2016     97    0.0160%      $       38.20
JACKSON, RONALD T.            6/9/2015    6/15/2015      7    0.0012%      $        7.40
JACKSON, SANESSA M.          6/28/2013    7/25/2013     28    0.0046%      $       14.58

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 65 of 129 Page ID
                                       #942

JACKSON, TYLER K.             2/3/2015    1/11/2016    343    0.0565%      $      122.39
JACOBS, JASON R.             9/16/2013    5/23/2014    250    0.0412%      $       90.56
JAMERSON, ANTHONY M.          3/7/2014    3/19/2014     13    0.0021%      $        9.45
JAMES, KORTNEY N.            9/16/2015    1/11/2016    118    0.0194%      $       45.38
JASPER, DEARRIUS            11/22/2014    1/11/2016    416    0.0685%      $      147.37
JAYCOX, ADAM T.              6/21/2011   11/17/2014    631    0.1039%      $      220.95
JENKINS, BRANDY N.           11/7/2012   10/27/2013    245    0.0404%      $       88.85
JENKINS, JONATHAN M.         4/28/2014    9/26/2014    152    0.0250%      $       57.02
JENKINS, KRISLYN D.          3/27/2015    4/28/2015     33    0.0054%      $       16.29
JENKINS, KRISTINA            7/11/2012    1/11/2016   1051    0.1731%      $      364.69
JENNINGS, SKYLER N.          7/24/2014    7/22/2015    364    0.0600%      $      129.57
JENSEN, JOSLYN C.            7/23/2012    4/14/2015    779    0.1283%      $      271.60
JESSEPE, RICA K.             6/18/2013    7/30/2013     43    0.0071%      $       19.72
JETER, CKEYAIRRA N.          8/20/2015    1/11/2016    145    0.0239%      $       54.62
JEWETT, DAVID K.             9/30/2014   11/11/2014     43    0.0071%      $       19.72
JIMENEZ, CAROLYNN N.         4/21/2015    4/29/2015      9    0.0015%      $        8.08
JIMENEZ, MAYRA               6/29/2015    6/29/2015      1    0.0002%      $        5.34
JIMOH, RILWAN                 1/3/2012     6/3/2014    464    0.0764%      $      163.80
JOHNSON, AMBER S.            8/20/2015    1/11/2016    145    0.0239%      $       54.62
JOHNSON, ANTONESHA B.        3/26/2015    5/22/2015     58    0.0096%      $       24.85
JOHNSON, AUTUMN R.           8/26/2013    9/14/2015    750    0.1235%      $      261.67
JOHNSON, AYZIA S.             6/4/2013     5/5/2014    336    0.0553%      $      119.99
JOHNSON, BRENNA              8/27/2013    8/24/2014    363    0.0598%      $      129.23
JOHNSON, CHEYENNE M.         6/26/2014     8/4/2015    405    0.0667%      $      143.60
JOHNSON, DANIELLE T.         7/23/2013     9/2/2014    407    0.0670%      $      144.29
JOHNSON, ELENA M.           10/22/2014    1/11/2016    447    0.0736%      $      157.98
JOHNSON, JACOB               12/3/2015    1/11/2016     40    0.0066%      $       18.69
JOHNSON, JAMICA L.           7/12/2013    8/14/2013     34    0.0056%      $       16.64
JOHNSON, JENNIFER S.         7/10/2015    8/19/2015     41    0.0068%      $       19.03
JOHNSON, JESSICA K.           7/7/2014   12/26/2015    538    0.0886%      $      189.12
JOHNSON, KATRINA             3/11/2013     6/4/2013     86    0.0142%      $       34.43
JOHNSON, KINDRA L.           9/14/2012    2/15/2014    356    0.0586%      $      126.83
JOHNSON, MARCUS              8/17/2014     9/7/2015    387    0.0637%      $      137.44
JOHNSON, MARIT S.            3/19/2007     8/8/2014    530    0.0873%      $      186.38
JOHNSON, MIA                  7/7/2014    11/3/2014    120    0.0198%      $       46.07
JOHNSON, NEKELA D.           3/10/2015     5/5/2015     57    0.0094%      $       24.51
JOHNSON, PASSION M.          1/27/2014    2/13/2014     18    0.0030%      $       11.16
JOHNSON, RACHEAL E.         12/11/2012    4/26/2013     61    0.0100%      $       25.88
JOHNSON, SCOTT              10/16/2012   11/24/2015   1003    0.1652%      $      348.26
JOHNSON, SHELKAYLA          10/19/2013     1/2/2015    441    0.0726%      $      155.92
JOHNSON, SHELVONNA L.        3/29/2012    4/22/2013     57    0.0094%      $       24.51
JOHNSON, STEVIE               2/3/2015    1/11/2016    343    0.0565%      $      122.39
JOHNSON, TAWNY               6/16/2014     7/1/2014     16    0.0026%      $       10.48
JOHNSON, TIARA               9/30/2013    11/8/2013     40    0.0066%      $       18.69
JOHNSON, TYREE               3/10/2015    6/29/2015    112    0.0184%      $       43.33
JOHNSON, TYREE J.            3/10/2015    6/29/2015    112    0.0184%      $       43.33
JOHNSTON, BRADLEY M.         3/25/2013    12/7/2013    258    0.0425%      $       93.30

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 66 of 129 Page ID
                                       #943

JOLLIFF, BAILEY D.           8/20/2014   12/16/2014    119    0.0196%      $       45.73
JOLLIFF, LARETT              12/5/2002    1/11/2016   1051    0.1731%      $      364.69
JONES, AARON A.              8/12/2015    9/18/2015     38    0.0063%      $       18.00
JONES, ANDREW J.             3/13/2014    9/29/2014    201    0.0331%      $       73.79
JONES, CAITLIN M.            4/11/2012     4/7/2014    407    0.0670%      $      144.29
JONES, CHRIS                 11/6/2014    12/1/2014     26    0.0043%      $       13.90
JONES, DAE'BREONNA C.        9/20/2015   12/28/2015    100    0.0165%      $       39.22
JONES, DEANDRE L.            3/27/2015    9/12/2015    170    0.0280%      $       63.18
JONES, DEVONTE M.            7/27/2015    8/23/2015     28    0.0046%      $       14.58
JONES, HEATHER A.            6/16/2015    8/14/2015     60    0.0099%      $       25.53
JONES, JACQUELYN T.          2/15/2015    4/14/2015     59    0.0097%      $       25.19
JONES, JAKOB                12/21/2013     2/8/2014     50    0.0082%      $       22.11
Jones, Joseph A.            11/21/2015    1/11/2016     52    0.0086%      $       22.80
JONES, JOSEPH A.            10/16/2014    7/11/2015    269    0.0443%      $       97.06
JONES, KANDIS                5/12/2012    6/15/2013    111    0.0183%      $       42.99
Jones, Kenneth               12/1/2015    1/11/2016     42    0.0069%      $       19.37
JONES, KRISTOFER              3/2/2015    3/11/2015     10    0.0016%      $        8.42
JONES, LYDIA M.              1/15/2013   10/21/2013    239    0.0394%      $       86.79
JONES, NICOLE                7/23/2015    1/11/2016    173    0.0285%      $       64.21
JONES, RODNEY B.             7/29/2013   11/23/2013    118    0.0194%      $       45.38
JONES, RYAN P.                1/5/2012    4/29/2013     64    0.0105%      $       26.90
JONES, SARA L.              10/29/2014     5/3/2015    187    0.0308%      $       69.00
JONES, SHALYMAR P.           8/20/2013   10/28/2013     70    0.0115%      $       28.96
JONES, STEPHANIE A.          1/14/2014     5/8/2015    480    0.0791%      $      169.27
JONES, TERRANCE              6/12/2014    12/9/2014    181    0.0298%      $       66.94
Jones, Tracy E.             12/24/2015    1/11/2016     19    0.0031%      $       11.50
JONES, VALERIE R.            6/25/2014    6/30/2014      6    0.0010%      $        7.05
JORDAN, CAITLYN A.           7/10/2013    7/29/2013     20    0.0033%      $       11.84
JORDAN, DE'NECO (POLK)       1/13/2015    4/28/2015    106    0.0175%      $       41.28
JORDAN, MARYJEAN B.          12/8/2014    9/11/2015    278    0.0458%      $      100.14
JORDAN, NATALIE               1/7/2016    1/11/2016      5    0.0008%      $        6.71
JORDAN, TANYA L.             5/10/2011    1/20/2015    695    0.1145%      $      242.85
JORGENSON, ANDREA M.          2/3/2015    1/11/2016    343    0.0565%      $      122.39
JOSEPH, DANIELLE              9/9/2014    11/3/2014     56    0.0092%      $       24.17
JUDD, ZACHERY E.             2/17/2015    2/25/2015      9    0.0015%      $        8.08
JUNIOR, BRITTANIE M.         7/18/2012   12/23/2014    667    0.1099%      $      233.27
KADEN, KELSEY A.             6/22/2015    1/11/2016    204    0.0336%      $       74.82
KADLEC, TRISTAN Z.            4/5/2013    10/3/2015    912    0.1502%      $      317.12
KAGGWA, DAN A.               9/22/2014   10/19/2014     28    0.0046%      $       14.58
Kain, Austin                 10/9/2015    1/11/2016     95    0.0156%      $       37.51
KAISER, LESLIE R.             9/7/2015    11/8/2015     63    0.0104%      $       26.56
KALIMULLINA, DIANA           3/31/2014     4/3/2014      4    0.0007%      $        6.37
KANDLBINDER, WHITNEY B.      2/17/2015     3/7/2015     19    0.0031%      $       11.50
KANE, BAILEY                11/11/2014    12/9/2014     29    0.0048%      $       14.92
KANE, ERIK J.                 3/8/2013    3/14/2014    372    0.0613%      $      132.31
KAPITZKY, TY P.               7/8/2013    10/7/2013     92    0.0152%      $       36.49
KARABEGOVIC, AMIRA           3/13/2013     4/6/2015    755    0.1244%      $      263.39

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 67 of 129 Page ID
                                       #944

KARBS, LAURA J.              6/16/2014     7/6/2014    21    0.0035%      $       12.19
KARG, CHELSEA N.              4/2/2013     4/2/2013     1    0.0002%      $        5.34
KARSTENSEN, ASHLEY N.        3/10/2015    1/11/2016   308    0.0507%      $      110.41
KARSTENSEN, JONATHAN W.     11/24/2015    1/11/2016    49    0.0081%      $       21.77
KARSTETER, EMILY R.          1/28/2015     3/9/2015    41    0.0068%      $       19.03
KASTL, ELIZABETH M.          1/30/2013     4/7/2014   407    0.0670%      $      144.29
KATZ, BRANDON                5/15/2012     3/1/2013     5    0.0008%      $        6.71
KAUP, MEAGAN N.              12/9/2014    3/18/2015   100    0.0165%      $       39.22
KAVENEY, DANIEL P.           1/30/2014    5/16/2014   107    0.0176%      $       41.62
KEARNS, SCOTT A.             3/15/2010     8/1/2014   523    0.0861%      $      183.99
KECK, CLAYTON J.              6/9/2013     7/1/2013    23    0.0038%      $       12.87
KEDL, LAURA A.                6/7/2006    10/6/2015   954    0.1571%      $      331.49
KEELER, FONDI G.             3/22/2015    3/28/2015     7    0.0012%      $        7.40
KEENER, EMILY                7/14/2014    10/1/2014    80    0.0132%      $       32.38
KEENER, TAYLOR               10/1/2013    12/3/2013    64    0.0105%      $       26.90
KEITH, JONATHAN E.            6/6/2013    7/12/2013    37    0.0061%      $       17.66
Keithly, Brittany             1/7/2016    1/11/2016     5    0.0008%      $        6.71
KELAM, NATHAN S.             3/20/2015    3/28/2015     9    0.0015%      $        8.08
KELCH, MAYA N.                5/6/2014     4/6/2015   336    0.0553%      $      119.99
KELLER, HEATHER I.           4/23/2015    4/23/2015     1    0.0002%      $        5.34
KELLER, NICHOLAS              8/3/2013    7/30/2014   362    0.0596%      $      128.89
KELLERMAN, SAMANTHA Q.       7/29/2014     3/9/2015   224    0.0369%      $       81.66
KELLEY, ELIZABETH A.         12/8/2012    7/14/2013   140    0.0231%      $       52.91
KELLY, KRYSTAL E.            6/12/2014     7/5/2014    24    0.0040%      $       13.21
KELSEY, SHAWN L.             3/18/2014    3/23/2014     6    0.0010%      $        7.05
KEMPER, DANIELLE H.          8/20/2015   10/11/2015    53    0.0087%      $       23.14
KENNEDY, KATELYN M.          1/15/2014    2/18/2014    35    0.0058%      $       16.98
KENNEDY, SEAN P.              7/9/2014   11/17/2014   132    0.0217%      $       50.17
KENNELL Jr., DONALD C.      11/28/2014    2/13/2015    78    0.0128%      $       31.69
KENSKI, ELIZABETH M.        10/31/2002    5/18/2013    83    0.0137%      $       33.41
KERBY, EVAN                  9/12/2012     3/9/2013    13    0.0021%      $        9.45
KERN, VICTORIA R.             3/4/2014    6/30/2014   119    0.0196%      $       45.73
KERNS, NICOLE S.             2/27/2014    7/28/2014   152    0.0250%      $       57.02
KIEFNER, ABIGAL             10/23/2012    7/29/2013   155    0.0255%      $       58.05
KILBURN, KYNDALE N.          3/21/2013    8/16/2013   149    0.0245%      $       55.99
KILIAN, ERIN E.               4/4/2013     8/2/2013   121    0.0199%      $       46.41
KILLAM, JON P.                1/2/2016    1/11/2016    10    0.0016%      $        8.42
KILLINGER, JOSHUA            9/24/2012    9/14/2013   202    0.0333%      $       74.13
KILLINGER, KARA L.           1/14/2014    3/27/2014    73    0.0120%      $       29.98
KILLINGSWORTH, KAITLYN D.    5/21/2015    8/16/2015    88    0.0145%      $       35.12
KIMBLE, KYLIE A.             8/13/2015    1/11/2016   152    0.0250%      $       57.02
KIMBRELL, KERI L.           11/20/2015    1/11/2016    53    0.0087%      $       23.14
KING, EMILY N.              11/15/2012    5/12/2013    77    0.0127%      $       31.35
KING, JERICHO L.             11/7/2013    3/15/2015   494    0.0814%      $      174.06
KING, STACIE D.              7/29/2011    8/18/2015   905    0.1491%      $      314.72
KING, TROY D.                8/21/2013    1/11/2016   874    0.1440%      $      304.11
KINSEY, NOAH W.              3/20/2014    6/30/2014   103    0.0170%      $       40.25

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 68 of 129 Page ID
                                       #945

KINTZ, JAMES S.              6/10/2009    1/11/2016   1051    0.1731%      $      364.69
KIRK, CHANTEL E.             8/31/2015    10/9/2015     40    0.0066%      $       18.69
KIRK, JESSYKA A.             6/11/2015    1/11/2016    215    0.0354%      $       78.58
Kirk, Michele C.             9/27/2015   11/23/2015     58    0.0096%      $       24.85
KIRK, STEPHEN                 6/6/2014    7/14/2014     39    0.0064%      $       18.35
KIRKWOOD, HAROLD A.          2/11/2014    2/28/2014     18    0.0030%      $       11.16
KIRTLEY, BLAKE S.             6/3/2015     7/4/2015     32    0.0053%      $       15.95
KISLY, CHRISTIAN S.           1/3/2013     9/3/2013    191    0.0315%      $       70.37
KITTLE, APRIL M.              7/3/2013    6/10/2014    343    0.0565%      $      122.39
KLAR, LANA D.                7/18/2013    1/11/2016    908    0.1496%      $      315.75
KLEIN, CATRINIA L.           2/12/2015    1/11/2016    334    0.0550%      $      119.31
KLEIN, KARL J.                1/6/2015    4/26/2015    111    0.0183%      $       42.99
KLINCIK, DENISE               8/7/2013     1/6/2016    883    0.1454%      $      307.19
KNIERIM, COURTNEY M.         4/11/2011    7/23/2014    514    0.0847%      $      180.91
KNIERIM, STEPHANIE A.        12/1/2011    7/19/2014    510    0.0840%      $      179.54
KNIGHT, BOBBIE J.             6/2/2014     6/6/2014      5    0.0008%      $        6.71
KNIGHT, LEXI                 6/21/2011   10/29/2013    247    0.0407%      $       89.53
KNIGHT, MCKENZIE              8/6/2015    1/11/2016    159    0.0262%      $       59.41
KNIGHT, SHELBY L.             2/3/2015     3/8/2015     34    0.0056%      $       16.64
KOBLER, CARLIE               6/17/2015    1/11/2016    209    0.0344%      $       76.53
KOERNER, DALE A.             4/24/2015    1/11/2016    263    0.0433%      $       95.01
KONERSMAN, BRITTANY A.       3/26/2013    1/11/2016   1022    0.1683%      $      354.76
KONZ, MARGARET A.            5/24/2012    10/4/2013    222    0.0366%      $       80.98
KORB, TREVOR J.              1/14/2014    1/27/2014     14    0.0023%      $        9.79
KORNEGAY, ASHLEY D.         11/13/2014    2/10/2015     90    0.0148%      $       35.80
KORNEGAY, JOSHUA A.         11/13/2014    12/5/2014     23    0.0038%      $       12.87
KOROBEY, KYLE G.              2/1/2012     4/6/2014    406    0.0669%      $      143.95
KOTTMANN, BROOKE A.          1/10/2015   12/12/2015    337    0.0555%      $      120.33
KOWALSKI, ALLYSON B.         1/15/2014    3/24/2014     69    0.0114%      $       28.61
KOZAR, ASHLEY                3/21/2005    5/17/2014    447    0.0736%      $      157.98
KOZEMCZAK, JOSEPH            11/5/2014   11/14/2014     10    0.0016%      $        8.42
KOZENY, SIDNEY D.            7/28/2015    8/24/2015     28    0.0046%      $       14.58
KRAFT, KAYLA M.              6/12/2013    9/18/2013     99    0.0163%      $       38.88
KRAMER, DAKOTA J.            7/21/2015    1/11/2016    175    0.0288%      $       64.89
KRAUSE, BAILEY N.            6/15/2015     8/2/2015     49    0.0081%      $       21.77
KREGER, CHRISTOPHER W.       8/10/2015    8/23/2015     14    0.0023%      $        9.79
KREMER, DONALD R.             5/2/2015    6/15/2015     45    0.0074%      $       20.40
KRISMANICH, MARY             3/22/2013    5/19/2013     59    0.0097%      $       25.19
KRUCHTEN, JILLIAN M.          5/8/2013     7/1/2013     55    0.0091%      $       23.82
KRUGER, MECHIEL A.           7/15/2014   12/16/2014    155    0.0255%      $       58.05
KRUMM, LAUREN A.             7/14/2010   12/17/2015   1026    0.1690%      $      356.13
KUBALA, JENNIFER             12/7/2014    1/11/2016    401    0.0660%      $      142.24
KUEHNE, ELIZABETH A.         3/11/2015    1/11/2016    307    0.0506%      $      110.07
KUHL, JASON M.               5/27/2013    1/11/2016    960    0.1581%      $      333.54
KUMAR, KUMUD                 12/4/2013    2/15/2014     74    0.0122%      $       30.33
KURECK, KELSEY              12/18/2014     8/6/2015    232    0.0382%      $       84.40
KUREK, KELSEY                7/19/2011    8/18/2014    540    0.0889%      $      189.81

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 69 of 129 Page ID
                                       #946

KURTOS, EVA M.               3/11/2013     5/5/2013     56    0.0092%      $       24.17
KUSKE, CAMERON C.           11/11/2014     1/5/2015     56    0.0092%      $       24.17
LA POINTE, MICHELLE M.        3/6/2013    1/11/2016   1042    0.1716%      $      361.61
LAFOY, JASON A.              5/16/2013    12/8/2015    937    0.1543%      $      325.67
LAGRAND, SARAH J.             3/5/2012    5/21/2013     86    0.0142%      $       34.43
LAGRONE III, CHARLES          7/7/2015   11/16/2015    133    0.0219%      $       50.52
LAKE, WHITLEY                 7/6/2009    5/30/2013     95    0.0156%      $       37.51
LAKIN, ANDREA D.             10/3/2014    3/10/2015    159    0.0262%      $       59.41
LALSANDHU, MANMOHAN B.       1/16/2014    1/24/2014
                                                         9    0.0015%      $        8.08
LAMB, AARON                  10/4/2015    11/2/2015     30    0.0049%      $       15.27
LAMB, ALISON L.               8/6/2013     9/7/2014    398    0.0656%      $      141.21
LAMB, ALYSSA M.               2/7/2013     1/4/2014    314    0.0517%      $      112.46
LAMB, JACKSON T.             12/3/2013    3/24/2014    112    0.0184%      $       43.33
LAMBERT, ANDREW J.           1/30/2013     3/5/2013      9    0.0015%      $        8.08
LAMBERT, BRENDAN J.           3/5/2015     3/8/2015      4    0.0007%      $        6.37
LAMEY, DOMINIQUE             10/9/2014   11/25/2014     48    0.0079%      $       21.43
LAMPLEY Jr., FRANKIE O.      4/10/2014    5/19/2014     40    0.0066%      $       18.69
LANCE, THOMAS J.             8/22/2013   11/17/2013     88    0.0145%      $       35.12
LANCIAULT, KAITLYNN           3/1/2012     4/7/2013     42    0.0069%      $       19.37
LAND, JASON E.               9/30/2011    1/11/2016   1051    0.1731%      $      364.69
LANDIS, JESSICA H.          12/15/2014    4/21/2015    128    0.0211%      $       48.81
LANDRY, JESSICA A.            5/6/2014    8/26/2014    113    0.0186%      $       43.67
LANDWEHR, DANA M.            5/27/2015    1/11/2016    230    0.0379%      $       83.71
LANGENEGGER, JESSICA L.      3/31/2013     7/7/2013     99    0.0163%      $       38.88
LANGENSTEIN, CHRISTOPHER     2/12/2015    3/16/2015
J.                                                      33    0.0054%      $       16.29
LANGSTON, ASHLEY C.           4/2/2013    4/15/2013     14    0.0023%      $        9.79
LANMAN, LINDSEY K.           8/17/2010    12/6/2013    285    0.0469%      $      102.54
LANSAW, PAIGE P.             8/14/2013    12/3/2013    112    0.0184%      $       43.33
LARKIN, JARETT A.            7/31/2014   10/24/2014     86    0.0142%      $       34.43
LARKIN, MICHAEL E.           8/20/2013    9/14/2015    756    0.1245%      $      263.73
LARSEN, KATE M.              11/7/2011    2/25/2015    731    0.1204%      $      255.17
LaRue, David                10/14/2015    1/11/2016     90    0.0148%      $       35.80
LARUE, TROY M.               2/21/2015    4/26/2015     65    0.0107%      $       27.25
LATHION, JOHN H.             3/10/2012    3/31/2013     35    0.0058%      $       16.98
LATTRACE, MARGARET M.        6/17/2013    8/22/2013     67    0.0110%      $       27.93
LAURENTI, MONTANA M.         6/22/2015    7/14/2015     23    0.0038%      $       12.87
LAWLER, SHANE                6/26/2014     8/3/2014     39    0.0064%      $       18.35
LAWRENCE, KISHELLE S.        4/27/2015    8/10/2015    106    0.0175%      $       41.28
LAWRENCE, MICHAELA K.        4/29/2015     6/6/2015     39    0.0064%      $       18.35
LAWSON, DAVID K.             4/13/2015    7/21/2015    100    0.0165%      $       39.22
LAYER, CHRISTOPHER J.        4/24/2012    7/29/2013    155    0.0255%      $       58.05
LAYMAN, JESSICA M.            4/3/2014     5/5/2014     33    0.0054%      $       16.29
LEACH, CHRISTOPHER M.        4/22/2010    7/14/2014    505    0.0832%      $      177.83
LEAKE, HEATHER J.            7/13/2011   12/31/2013    310    0.0511%      $      111.09
LEBLANG, TRACY A.            6/30/2015    1/11/2016    196    0.0323%      $       72.08

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 70 of 129 Page ID
                                       #947

leblang, wendy              12/20/2015    1/11/2016     23    0.0038%      $       12.87
LEBOW, KELSEA B.             6/24/2014    7/11/2014     18    0.0030%      $       11.16
LEE, MICHAEL                 10/2/2013   10/22/2013     21    0.0035%      $       12.19
LEIDNER, JEFFREY L.          1/28/2015    2/28/2015     32    0.0053%      $       15.95
LEIVA, CARLOS M.             6/28/2013   11/13/2013    139    0.0229%      $       52.57
LEMASTER, DAYMON            12/13/2012     6/4/2013    100    0.0165%      $       39.22
LENARD, TYOJUANA N.           7/3/2014    7/19/2014     17    0.0028%      $       10.82
LENZ, KARA E.                5/31/2015    7/27/2015     58    0.0096%      $       24.85
LEONARD, BRODY W.            1/22/2013    3/16/2013     20    0.0033%      $       11.84
LEONARD, VERONICA J.        10/28/2013    12/1/2013     35    0.0058%      $       16.98
LESINSKI, CHRISTOPHER J.     9/12/2014    1/11/2016    487    0.0802%      $      171.67
LESINSKI, NICHOLAS           6/21/1998    1/11/2016   1051    0.1731%      $      364.69
LESINSKI, ST NICK             7/9/2014    7/22/2014     14    0.0023%      $        9.79
LEUTHEN, CHRISSY              8/8/2011    1/11/2016   1051    0.1731%      $      364.69
LEWELLEN, RICHARD S.         7/24/2013   11/20/2013    120    0.0198%      $       46.07
LEWIS JR, ROBERT E.         10/20/2013   10/24/2013      5    0.0008%      $        6.71
LEWIS, ANDREA D.              1/3/2013    7/29/2013    155    0.0255%      $       58.05
LEWIS, ANTHONY                7/3/2014     9/9/2014     69    0.0114%      $       28.61
LEWIS, CHRISTIAN R.           8/2/2014     1/5/2015    157    0.0259%      $       58.73
LEWIS, COURTNEY D.            2/3/2015     3/9/2015     35    0.0058%      $       16.98
LEWIS, KATIE E.             11/29/2012    5/30/2013     95    0.0156%      $       37.51
LEWIS, KYLE                  8/28/2008     6/1/2014    462    0.0761%      $      163.11
LEWIS, LAFAYETTE            10/20/2015    11/2/2015     14    0.0023%      $        9.79
LEWIS, LINDSEY B.             4/9/2015    4/21/2015     13    0.0021%      $        9.45
LEWIS, NATALIE H.            8/28/2013     2/7/2014    164    0.0270%      $       61.13
LEWIS, SHARNITA              1/28/2013    2/27/2013      3    0.0005%      $        6.03
LICHTI, JOSHUA A.           10/21/2014    1/27/2015     99    0.0163%      $       38.88
LILYA, ANJEL A.              11/3/2013    1/13/2014     72    0.0119%      $       29.64
LINDEMAN, ROSS L.             7/8/2015    1/11/2016    188    0.0310%      $       69.34
LINDSAY, HEATHER A.          4/28/2015    1/11/2016    259    0.0427%      $       93.64
LINDSAY, MORGAN             10/18/2015   10/19/2015      2    0.0003%      $        5.68
LINDSEY, JACOB N.            6/29/2015    7/12/2015     14    0.0023%      $        9.79
LINGARD IV, RICHMOND         7/24/2012    9/27/2013    215    0.0354%      $       78.58
LINN, ERICA J.               6/24/2013    2/16/2015    603    0.0993%      $      211.37
LINO, JAZMIN M.              3/24/2013    10/8/2013    199    0.0328%      $       73.10
LITTLE, AMELIA A.             7/1/2015   10/12/2015    104    0.0171%      $       40.59
Little, Kacee                10/7/2015   12/30/2015     85    0.0140%      $       34.09
LITTLEJOHN, TONI E.           8/6/2013     6/6/2014    305    0.0502%      $      109.38
LIU, AMY                     4/29/2015     6/2/2015     35    0.0058%      $       16.98
LIVINGSTONE, JAMES          12/11/2015    1/11/2016     32    0.0053%      $       15.95
LOCKE, MICHELLE A.           6/20/2014    7/14/2014     25    0.0041%      $       13.56
LOCKWOOD, AMBER M.           8/31/2013    8/31/2013      1    0.0002%      $        5.34
LODES, HOLLY                  9/7/2013    1/13/2014    129    0.0212%      $       49.15
LOEZA, ANTHONY M.            10/1/2013   11/12/2013     43    0.0071%      $       19.72
Loftin, Renee A.            12/21/2015    1/11/2016     22    0.0036%      $       12.53
LOGAN, CHELSEY N.            7/15/2014     6/9/2015    330    0.0544%      $      117.94
LOGAN, NAKIA                 7/29/2015    11/7/2015    102    0.0168%      $       39.91

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 71 of 129 Page ID
                                       #948

LOGAN, TRISTAN              11/20/2014    2/10/2015     83    0.0137%      $       33.41
LOHSTROH, KURT                7/9/2014    7/28/2014     20    0.0033%      $       11.84
LOMAX, MACK                 11/20/2013    1/31/2014     73    0.0120%      $       29.98
LONG, KELSEA J.               2/2/2015   10/20/2015    261    0.0430%      $       94.32
LONG, NAUTICA M.             7/22/2014    7/29/2014      8    0.0013%      $        7.74
LONG, TIA                     9/4/2011    1/11/2016   1051    0.1731%      $      364.69
LOOTEN, MICHELLE             4/17/2007    4/10/2013     45    0.0074%      $       20.40
LOPEZ JR, JOSE                4/6/2015    6/11/2015     67    0.0110%      $       27.93
LOPEZ, ALISHA D.             6/14/2014    1/11/2016    577    0.0950%      $      202.47
LOPEZ, GUADALUPE             9/16/2015   12/21/2015     97    0.0160%      $       38.20
LOPEZ, KEIRY                  2/5/2014    5/20/2014    105    0.0173%      $       40.93
LORENZ, NICOLE M.             9/2/2014    1/27/2015    148    0.0244%      $       55.65
Lorimier, Lexy               10/5/2015    1/11/2016     99    0.0163%      $       38.88
LOSARIO, KEILANI R.          1/12/2015    3/18/2015     66    0.0109%      $       27.59
LOUCKS, SARA R.               8/1/2013     8/3/2013      3    0.0005%      $        6.03
LOUTON, KEENAN S.            9/18/2013     2/9/2014    145    0.0239%      $       54.62
LOVE, SARAH                   9/1/2015    1/11/2016    133    0.0219%      $       50.52
LOVEDAY, LORI D.              5/7/2013    7/23/2014
(GRUENBERG)                                            443    0.0730%      $      156.61
LOWER, CIERRA               11/24/2015   12/28/2015     35    0.0058%      $       16.98
LOYD, KEEGAN B.              8/14/2013    5/31/2014    291    0.0479%      $      104.59
LUBBEN, GINA M.               4/7/2014   12/29/2014    267    0.0440%      $       96.38
LUBBERS, BRADY               10/1/2013   10/31/2013     31    0.0051%      $       15.61
LUCAS, AUSTIN J.             6/24/2013     7/2/2013      9    0.0015%      $        8.08
LUCAS, BROOKE A.             1/28/2015     3/9/2015     41    0.0068%      $       19.03
LUDWIG, RACHEL N.            5/18/2015     6/9/2015     23    0.0038%      $       12.87
LUNA, LIZETH                  5/2/2015    1/11/2016    255    0.0420%      $       92.27
LUSHENKO, CRYSTAL            7/16/2013    9/25/2013     72    0.0119%      $       29.64
LUTTRELL, LEVI G.            3/26/2013    4/22/2013     28    0.0046%      $       14.58
LYBARGER, MARSHALL          12/31/2014    4/20/2015    111    0.0183%      $       42.99
LYMAN, AIDRYANN N.           9/16/2015    1/11/2016    118    0.0194%      $       45.38
LYNCH, MICHAEL D.            11/8/2014   12/29/2014     52    0.0086%      $       22.80
LYON, JULIE S.               7/14/2015    1/11/2016    182    0.0300%      $       67.29
LYYTINEN, JOHN               8/24/2012     6/3/2013     99    0.0163%      $       38.88
MACIAS TORRES, LUIS E.       7/20/2015    1/11/2016    176    0.0290%      $       65.23
MACK, DASHUN N.              8/12/2014    9/14/2014     34    0.0056%      $       16.64
MACKINNON, TYLER J.         10/14/2013    2/15/2014    125    0.0206%      $       47.78
MAES, JERAD                 11/12/2014    12/1/2014     20    0.0033%      $       11.84
MAGILL, KARA N.              4/17/2013     5/1/2013     15    0.0025%      $       10.13
MAHLUM, EMILEE N.           11/19/2012    1/11/2016   1051    0.1731%      $      364.69
Mahmood, Omar                11/4/2015   11/20/2015     17    0.0028%      $       10.82
MAHON, CRYSTAL               12/8/2015    1/11/2016     35    0.0058%      $       16.98
MAHONEY, LORI L.              3/6/2013    3/14/2013      9    0.0015%      $        8.08
MAIER, ALISON C.             2/29/2012   11/13/2015    992    0.1634%      $      344.49
MAIN, JAREK W.               7/20/2015   10/19/2015     92    0.0152%      $       36.49
MAINZER, BRENNA L.           5/13/2014    1/11/2016    609    0.1003%      $      213.42
MALCOM, KAYLA R.             2/20/2013    5/20/2013     85    0.0140%      $       34.09

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 72 of 129 Page ID
                                       #949

MALLOY, SHAUNA N.           11/10/2014    1/11/2016    428    0.0705%      $      151.48
MALSTROM, TIMOTHY R.         7/31/2014   11/29/2015    487    0.0802%      $      171.67
MANSFIELD, MORGAN R.          5/6/2014     9/2/2014    120    0.0198%      $       46.07
MANUEL, ALLAN               10/23/2013     3/5/2014    134    0.0221%      $       50.86
MANUEL, SYLVESTER G.         3/13/2015    4/24/2015     43    0.0071%      $       19.72
MANUS, KEVIN R.              1/12/2015     4/6/2015     85    0.0140%      $       34.09
MARCO, FRANK G.             10/24/2013   10/29/2013      6    0.0010%      $        7.05
MARKO, HOLLY M.              9/20/2013    5/15/2014    238    0.0392%      $       86.45
MARLER, MATTHEW C.            8/7/2014    1/12/2015    159    0.0262%      $       59.41
MARLOW, KRISTEN              4/18/2012    1/11/2016   1051    0.1731%      $      364.69
MARQUEZ, SANTOS               7/7/2015    7/18/2015     12    0.0020%      $        9.11
MARRS, TAYLOR                 8/1/2013    11/5/2013     97    0.0160%      $       38.20
MARSHALL, BRANDON W.          2/2/2015     5/2/2015     90    0.0148%      $       35.80
MARSHALL, ERICA S.           1/30/2013   10/24/2014    607    0.1000%      $      212.74
MARSHALL, NIKOLAOS P.        9/20/2015    1/11/2016    114    0.0188%      $       44.01
MARSO, JESSICA E.            2/12/2014    1/11/2016    699    0.1151%      $      244.22
MARTIN, ADDISON C.           4/19/2015    5/29/2015     41    0.0068%      $       19.03
Martin, Andrea               11/7/2015     1/4/2016     59    0.0097%      $       25.19
MARTIN, BRANDI J.             2/6/2013    8/25/2014    547    0.0901%      $      192.20
MARTIN, KARI                 11/2/2010     4/8/2013     43    0.0071%      $       19.72
MARTIN, KATHARINE E.         5/16/2011    2/25/2014    366    0.0603%      $      130.26
MARTIN, KEIONTA              3/26/2014    5/16/2014     52    0.0086%      $       22.80
MARTIN, LAURIE               2/18/2014     8/5/2014    169    0.0278%      $       62.84
MARTINES, ANGELICA           8/27/2007    5/19/2014    449    0.0740%      $      158.66
MARTINEZ, ADAM L.             2/3/2015     3/9/2015     35    0.0058%      $       16.98
Martinez, Amanda              1/7/2016    1/11/2016      5    0.0008%      $        6.71
MARTINEZ, ANGELICA A.        8/15/2013   12/31/2013    139    0.0229%      $       52.57
MARTINEZ, ANTONIO D.         6/17/2013    3/28/2015    650    0.1071%      $      227.45
MARTINEZ, CARLOS R.          8/10/2013    1/11/2016    885    0.1458%      $      307.88
MARTINEZ, JOSE               3/12/2013    5/13/2013     63    0.0104%      $       26.56
MARTINEZ, MICHAEL A.         6/18/2013     8/2/2013     46    0.0076%      $       20.74
MARTINEZ-GARFIAS,            6/22/2015    1/11/2016
RODOLFO                                                204    0.0336% $            74.82
MARTIRE, KAYLA (DO NOT       12/3/2013    2/10/2015
USE) M.                                               435     0.0716%      $      153.87
MARTIRE, KAYLA M.             4/1/2014    1/11/2016   651     0.1072%      $      227.79
MARULL, LOUIS A.             3/21/2013     9/7/2013   171     0.0282%      $       63.52
MARVIN, CHAD B.               9/9/2013    9/10/2013     2     0.0003%      $        5.68
MARX, SAVANNAH C.             3/3/2014    7/14/2014   134     0.0221%      $       50.86
MASARIEGOS, REGINA           11/6/2014   12/16/2014    41     0.0068%      $       19.03
MASON, REBEKKA L.           11/14/2012    8/11/2013   168     0.0277%      $       62.50
MASSEY, JAYLA S.             9/17/2015    1/11/2016   117     0.0193%      $       45.04
MASSIE, EBONY M.             7/10/2015    8/10/2015    32     0.0053%      $       15.95
MASTERSON, PAIGE H.          2/27/2014    2/27/2014     1     0.0002%      $        5.34
MASTROIANNI, ALYSSA L.       8/28/2015   12/28/2015   123     0.0203%      $       47.09
MATHENY, TAIJA M.             8/5/2014    8/12/2014     8     0.0013%      $        7.74
MATSON, JASON                 1/4/2015    1/11/2016   373     0.0614%      $      132.65

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 73 of 129 Page ID
                                       #950

MATTHEWS, DYLAN W.            3/7/2014    6/30/2014    116    0.0191%      $       44.70
MATUKE, CHARLES              3/11/2013    4/30/2013     51    0.0084%      $       22.45
MAULORICO, JASON            11/14/2011    5/23/2013     88    0.0145%      $       35.12
MAUPIN, DEVIN W.             1/13/2015    3/20/2015     67    0.0110%      $       27.93
MAYBERRY, JESSICA D.         9/26/2012     6/3/2013     99    0.0163%      $       38.88
MAYER, MARIE                 9/30/2014   11/14/2014     46    0.0076%      $       20.74
MAYER, SKYLAR D.            10/14/2013    11/3/2013     21    0.0035%      $       12.19
MAYFIELD, SANTANGLA D.       8/12/2015     1/1/2016    143    0.0236%      $       53.94
MAYHALL, ALEXANDRA I.        3/27/2013    5/22/2013     57    0.0094%      $       24.51
MAYS, MADISON N.             3/24/2014    6/13/2014     82    0.0135%      $       33.06
MAZARIEGOS, EVLIN             6/7/2014    11/8/2014    155    0.0255%      $       58.05
MC CORMICK, TALITHA C.        4/2/2015     6/6/2015     66    0.0109%      $       27.59
MC GILL, LATOYA M.           3/19/2015    4/16/2015     29    0.0048%      $       14.92
MC KENZIE, ADRIANA L.        2/25/2015     8/6/2015    163    0.0268%      $       60.78
MCBRIDE, AUTUMN L.           1/22/2015     3/9/2015     47    0.0077%      $       21.08
MCBRIDE, BLAKE               12/2/2014    12/5/2014      4    0.0007%      $        6.37
MCBRIDE, STEVE M.           10/29/2013    1/11/2016    805    0.1326%      $      280.50
MCCAFFREY, HAILEY E.         3/31/2015    8/16/2015    139    0.0229%      $       52.57
MCCAIN, KRISTIN P.           1/12/2015    4/21/2015    100    0.0165%      $       39.22
MCCAIN, MICHELLE N.           7/6/2011    3/31/2015    765    0.1260%      $      266.81
MCCANN, CURTRELL D.           4/4/2014     6/3/2014     61    0.0100%      $       25.88
MCCANN, MADELINE M.           2/4/2015    3/23/2015     48    0.0079%      $       21.43
MCCARL, JUSTIN C.            1/12/2012    5/30/2013     95    0.0156%      $       37.51
MCCARTER, EMILY R.           7/31/2014    1/11/2016    530    0.0873%      $      186.38
MCCARTHY, ROXANNE            12/1/2009    1/11/2016   1051    0.1731%      $      364.69
MCCARTY, NICHOLE D.           8/7/2014    8/13/2014      7    0.0012%      $        7.40
MCCAULEY, HAILEY G.           2/4/2015     3/9/2015     34    0.0056%      $       16.64
MCCAW, KAITLYN               3/15/2014    8/20/2014    159    0.0262%      $       59.41
MCCAW, KAITLYN R.            4/26/2012    6/17/2014    478    0.0787%      $      168.59
McClain, Curt C.            10/28/2015    11/7/2015     11    0.0018%      $        8.76
MCCLURE, KEVIN G.            4/10/2013     2/8/2014    305    0.0502%      $      109.38
MCCONNELL, SEAH A.           7/15/2015   12/24/2015    163    0.0268%      $       60.78
MCCOO, JAMES A.              7/10/2013    8/19/2015    771    0.1270%      $      268.86
MCCORD, MELISSA              3/13/2014    5/20/2014     69    0.0114%      $       28.61
MCCOY, AMY R.                 5/7/2015    7/18/2015     73    0.0120%      $       29.98
MCCOY, BARBARA J.            3/12/2013    5/14/2013     64    0.0105%      $       26.90
MCCRAY, MELANIE N.           3/25/2014    6/29/2014     97    0.0160%      $       38.20
MCCULLEN, SARAH A.            8/1/2014    2/21/2015    205    0.0338%      $       75.16
MCCULLOUGH, ALYSSA J.        8/18/2014    9/15/2014     29    0.0048%      $       14.92
MCCUNE, JEAN-LUC A.           6/3/2013    6/29/2013     27    0.0044%      $       14.24
MCCURRY, BRENDAN             7/30/2014     7/6/2015    342    0.0563%      $      122.04
MCDAID, ANTHONY R.            1/6/2014    1/16/2014     11    0.0018%      $        8.76
MCDANIEL, JOSH T.           10/25/2012    6/20/2015    846    0.1393%      $      294.53
MCDANIEL, RONALD             8/12/2014    1/11/2016    518    0.0853%      $      182.28
MCDANIEL, STERL D.           4/11/2012    1/16/2015    691    0.1138%      $      241.48
MCDONALD, TAITUM A.          2/20/2013    3/10/2013     14    0.0023%      $        9.79
MCFADDEN, KATHERINE A.        9/6/2013    1/11/2016    858    0.1413%      $      298.64

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 74 of 129 Page ID
                                       #951

MCFARLAN, KYLE E.             5/8/2013     8/8/2013     93    0.0153%      $       36.83
MCFARLAND, LATOYA S.         3/12/2014     6/1/2014     82    0.0135%      $       33.06
MCFERREN, AARON A.           5/30/2012   11/16/2013    265    0.0436%      $       95.69
MCGEE, JESSE J.              5/16/2013    5/25/2013     10    0.0016%      $        8.42
MCGILLYCUDDY, SHANNON        8/17/2009    1/11/2016   1051    0.1731%      $      364.69
MCGLOTHIN, DIANNA N.         4/15/2014    12/3/2015    598    0.0985%      $      209.66
MCGRATH, KELLY              11/18/2014   12/22/2014     35    0.0058%      $       16.98
MCGUIRE, CHRISTOPHER A.      8/19/2009    1/13/2014    323    0.0532%      $      115.54
MCGUIRE, ZACCHUEUS H.       10/29/2014    3/21/2015    144    0.0237%      $       54.28
MCKAMIE, CURT W.             3/27/2013    3/27/2013      1    0.0002%      $        5.34
MCKEE, BRIANA S.              6/4/2015    1/11/2016    222    0.0366%      $       80.98
MCKEITHAN, KATTIE             2/5/2014    12/5/2014    304    0.0501%      $      109.04
MCKELLIPS, SAMMI D.          1/19/2015    6/29/2015    162    0.0267%      $       60.44
MCKIM, JESSICA L.            6/30/2013    7/13/2013     14    0.0023%      $        9.79
MCKINNON, JASMINE V.         2/25/2015    9/29/2015    217    0.0357%      $       79.26
MCLAUGHLIN, RAYMOND B.       4/18/2012    3/23/2015    757    0.1247%      $      264.07
MCLENDON, MEAGHAN B.          3/6/2013    1/11/2016   1042    0.1716%      $      361.61
MCMAHON, MEGAN L.            10/1/2013    1/11/2016    833    0.1372%      $      290.08
MCMILLAN, LISA A.             9/2/2014    9/23/2014     22    0.0036%      $       12.53
MCMINN, HAYLEY R.             6/2/2014     1/1/2015    214    0.0352%      $       78.24
MCMURRY, ELEEYA A.            7/4/2012     4/1/2013     36    0.0059%      $       17.32
MCMURTRE, NATALIE N.         4/30/2013     5/3/2013      4    0.0007%      $        6.37
MCNEAL, RAY A.               1/14/2015    1/11/2016    363    0.0598%      $      129.23
MCNEIL, MIKYLA S.             2/3/2015    1/11/2016    343    0.0565%      $      122.39
MCNULTY, MARION S.           9/21/2013    5/22/2014    244    0.0402%      $       88.50
MEADOWS, TYNISE M.           5/18/2015    8/11/2015     86    0.0142%      $       34.43
MEDLER, HOLLY B.              2/4/2015     6/6/2015    123    0.0203%      $       47.09
MEDLIN, CRYSTAL             10/15/2014    11/2/2014     19    0.0031%      $       11.50
MEEKS, TORI M.               6/19/2013    7/26/2013     38    0.0063%      $       18.00
MEHMETAJ, ERINT              3/16/2013    8/17/2013    155    0.0255%      $       58.05
MEIGS, JAKE                  8/12/2014    8/24/2014     13    0.0021%      $        9.45
MEISTER, NICHOLAS A.         4/22/2015   11/29/2015    222    0.0366%      $       80.98
MEJIA, ANTONIA              10/27/1997   11/25/2013    274    0.0451%      $       98.77
MEJIA, JESSICA               2/29/2012     6/7/2013    103    0.0170%      $       40.25
MELCHERT, TALIA P.           6/16/2015    8/10/2015     56    0.0092%      $       24.17
MELTON, LUCAS A.             9/16/2015   11/20/2015     66    0.0109%      $       27.59
MELTON, SHARON L.            1/31/2015    2/24/2015     25    0.0041%      $       13.56
MELTON, TRACI D.              9/1/2015    10/9/2015     39    0.0064%      $       18.35
MEMBRENO, JAVIER P.           6/2/2014    12/5/2014    187    0.0308%      $       69.00
MENDOZA, KAREN               1/12/2012    6/30/2015    856    0.1410%      $      297.95
MENZEL, MARISSA A.           5/15/2013    5/19/2013      5    0.0008%      $        6.71
MERCER, JACOB I.             4/25/2013    3/18/2015    693    0.1141%      $      242.17
MERRIFIELD, MARCUS L.         2/3/2015    1/11/2016    343    0.0565%      $      122.39
MERRIT, CARMAN               4/24/2012    5/24/2013     89    0.0147%      $       35.46
MERRITT, CORY                12/8/2014     2/5/2015     60    0.0099%      $       25.53
MERRITT, EMMA K.             7/10/2012    3/27/2013     31    0.0051%      $       15.61
MESICEK, EMILY T.             4/8/2015    6/29/2015     83    0.0137%      $       33.41

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 75 of 129 Page ID
                                       #952

MEYER, ASHLEY C.             5/14/2015    1/11/2016   243    0.0400%      $       88.16
MICKLE, CHALEIGH R.           8/4/2014   12/22/2014   141    0.0232%      $       53.25
MILES, LAUREN A.              4/7/2014     4/9/2014     3    0.0005%      $        6.03
MILEY, JACQUITA O.          10/21/2014     2/9/2015   112    0.0184%      $       43.33
MILFORD, GRANT L.            3/17/2015    4/14/2015    29    0.0048%      $       14.92
MILLARR, MERCADES I.         8/31/2015    1/11/2016   134    0.0221%      $       50.86
MILLER, COLE E.              5/12/2014    9/27/2014   139    0.0229%      $       52.57
MILLER, ERICA L.              9/9/2014   11/30/2014    83    0.0137%      $       33.41
MILLER, JASMINE K.            2/3/2015    1/11/2016   343    0.0565%      $      122.39
MILLER, JESSICA               6/5/2012     6/6/2014   467    0.0769%      $      164.82
MILLER, LEE                 10/30/2013    1/11/2016   804    0.1324%      $      280.15
MILLER, LISA K.              8/11/2014    8/14/2014     4    0.0007%      $        6.37
MILLER, MATTHEW              4/15/2008     3/9/2014   378    0.0623%      $      134.36
MILLER, RENADA R.            1/14/2015    2/23/2015    41    0.0068%      $       19.03
MILLINER, KEATON D.           6/3/2014    7/19/2014    47    0.0077%      $       21.08
MILLS, STACY L.              8/14/2012    10/3/2013   221    0.0364%      $       80.63
MILLSTONE, ALISHA L.          3/9/2012    8/22/2013   179    0.0295%      $       66.26
MILO, CATRINA                1/25/2010     3/3/2015   737    0.1214%      $      257.23
MILOS, COLLIN T.             7/28/2015    1/11/2016   168    0.0277%      $       62.50
MILO-TADLO, TALYA            5/19/2013     8/1/2013    75    0.0124%      $       30.67
MIMS, JASMINE R.              3/3/2014     6/5/2014    95    0.0156%      $       37.51
MINOR, LOGAN R.              8/26/2014    1/11/2015   139    0.0229%      $       52.57
MIRELES, JOSE A.              1/2/2013    11/1/2013   250    0.0412%      $       90.56
MIRIANI, DAVID              11/28/2012     7/3/2015   859    0.1415%      $      298.98
MITCHELL, DUSTIN C.          1/28/2015    2/22/2015    26    0.0043%      $       13.90
MITCHELL, FREDERICK R.      12/14/2014    1/20/2015    38    0.0063%      $       18.00
MITCHELL, KAYLA D.           3/10/2014    7/10/2014   123    0.0203%      $       47.09
MITCHELLE, ALLEDRA N.        1/23/2015     3/8/2015    45    0.0074%      $       20.40
MITTAG, MONICA B.            4/28/2013    9/10/2013   136    0.0224%      $       51.54
MIZE, JACQUELINE L.         10/24/2013   11/10/2013    18    0.0030%      $       11.16
MOBLEY, PHILLIP J.           7/29/2013    8/23/2013    26    0.0043%      $       13.90
MOCK, MARIAH                12/10/2012    1/31/2014   341    0.0562%      $      121.70
MODESTO, JIAN K.              2/4/2015    3/10/2015    35    0.0058%      $       16.98
MOE, ERICK                   11/5/2014    7/27/2015   265    0.0436%      $       95.69
MOFFIS, TAYLOR                1/4/2016    1/11/2016     8    0.0013%      $        7.74
MOFFITT, KASEY R.            6/15/2015    1/11/2016   211    0.0348%      $       77.21
MOHAMED, HANEEN               6/8/2015    1/11/2016   218    0.0359%      $       79.61
MOHR, JOSHUA P.               9/2/2010    1/31/2014   341    0.0562%      $      121.70
MONDEN, CAITLIN S.           6/23/2015    1/11/2016   203    0.0334%      $       74.47
MONGER, MONIQUE             11/20/2014    12/5/2014    16    0.0026%      $       10.48
MONTGOMERY, MORGAN A.        2/23/2015     3/9/2015    15    0.0025%      $       10.13
MONTGOMERY, ZACHARY P.       7/11/2012    2/28/2013     4    0.0007%      $        6.37
MOON, AMANDA                 12/5/2014   12/16/2014    12    0.0020%      $        9.11
MOORE SR., ANDRE M.          7/10/2015   12/28/2015   172    0.0283%      $       63.86
MOORE, AMANDA                5/29/2013     8/9/2013    73    0.0120%      $       29.98
MOORE, BRENDON J.             5/7/2014    7/14/2014    69    0.0114%      $       28.61
MOORE, DANA L.               6/13/2013    1/11/2016   943    0.1553%      $      327.73

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 76 of 129 Page ID
                                       #953

MOORE, DANIELLE D.            8/6/2013   11/12/2013     99    0.0163%      $       38.88
MOORE, DARRION J.            8/29/2013   11/18/2013     82    0.0135%      $       33.06
MOORE, LEXIE                 1/28/2013    10/1/2013    219    0.0361%      $       79.95
MOORE, LYKOTA M.              4/7/2015    4/18/2015     12    0.0020%      $        9.11
MOORE, MEAGHAN               5/21/2012     6/5/2014    466    0.0768%      $      164.48
MOORE, NICHAELA L.            4/1/2014    5/17/2014     47    0.0077%      $       21.08
MOORE, STEPHEN T.            6/10/2013    6/21/2013     12    0.0020%      $        9.11
MOORE, THERESA               7/13/2011    1/11/2016   1051    0.1731%      $      364.69
MOOREHEAD, BRITTNEY           3/6/2010    4/23/2013     58    0.0096%      $       24.85
MORALES JIMENEZ, JUAN D.     7/18/2013    4/21/2015    643    0.1059%      $      225.06
MORALES, MARTHA P.            1/4/2015    1/11/2016    373    0.0614%      $      132.65
MORAN, ABBY W.               9/20/2015    1/11/2016    114    0.0188%      $       44.01
MORGAN, JENNIFER A.         11/21/2014    1/20/2015     61    0.0100%      $       25.88
MORGAN, JOHN W.              5/17/2013    6/17/2013     32    0.0053%      $       15.95
MORGAN, STEFANIE S.          11/6/2014    2/24/2015    111    0.0183%      $       42.99
MORLAN, TIERNEY M.            8/3/2015    1/11/2016    162    0.0267%      $       60.44
MORON-RAMIREZ, BRYAN J.      3/18/2014    1/11/2016    665    0.1095%      $      232.58
MORRILL, ROBERT M.          10/10/2014   11/29/2014     51    0.0084%      $       22.45
MORRIS, DANAE M.              5/2/2014    6/24/2014     54    0.0089%      $       23.48
MORRIS, TAMMY D.             8/31/2015    10/5/2015     36    0.0059%      $       17.32
MORRIS, TERENCE M.            7/6/2015    9/14/2015     71    0.0117%      $       29.30
MORRISON, JESSICA            2/17/2011    8/12/2013    169    0.0278%      $       62.84
MORRISON, SAMANTHA J.        6/13/2012    4/21/2013     56    0.0092%      $       24.17
MORROW, HONEYCOMB             1/6/2015     2/3/2015     29    0.0048%      $       14.92
MORROW, NAKENYA C.          10/24/2013    6/30/2014    250    0.0412%      $       90.56
MORROW, NATASHA N.           7/11/2013     8/6/2013     27    0.0044%      $       14.24
MORROW, SHALAWNTE D.         7/19/2013     6/1/2014    318    0.0524%      $      113.83
MORTIMER, LISA                6/6/2011    8/29/2013    186    0.0306%      $       68.66
MOSELY, KIARA C.              3/2/2015     3/5/2015      4    0.0007%      $        6.37
MOSLEY, MARIA V.             4/13/2014     6/6/2014     55    0.0091%      $       23.82
MOUTREY, KAYLA              11/12/2015    1/11/2016     61    0.0100%      $       25.88
MOWERS, DIANNE L.            11/6/2014    4/20/2015    166    0.0273%      $       61.81
MOY, CASSIE M.                2/5/2014    2/25/2014     21    0.0035%      $       12.19
MOYET, PATRIA                6/26/2014    7/28/2014     33    0.0054%      $       16.29
MUELLER, EMELIA             12/24/2013    1/12/2014     20    0.0033%      $       11.84
MUELLER, EMELIA R.           8/27/2013    1/12/2014    139    0.0229%      $       52.57
MUJAIMIN, BASIR N.           11/4/2013   11/12/2014    374    0.0616%      $      132.99
MULLEN, KAY L.              11/12/2013   12/13/2013     32    0.0053%      $       15.95
MULLER, TAYLOR H.            7/31/2014   10/30/2014     92    0.0152%      $       36.49
MULLIGAN, ELIZABETH C.       4/14/2014    1/11/2016    638    0.1051%      $      223.34
MUNOZ, KAITLYN N.            7/31/2013   11/25/2013    118    0.0194%      $       45.38
MURDOCK, DARRYLL W.          5/25/2015    7/27/2015     64    0.0105%      $       26.90
MURGEL, KATHERINE            3/22/1999     6/8/2013    104    0.0171%      $       40.59
MURILLO, KEVIN                9/2/2014    4/26/2015    237    0.0390%      $       86.11
MURPHY, ALEXANDER            10/4/2015    1/11/2016    100    0.0165%      $       39.22
Murphy, Brittany            11/12/2015    1/11/2016     61    0.0100%      $       25.88
MURPHY, CHRISTINA N.          7/3/2013    7/13/2013     11    0.0018%      $        8.76

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 77 of 129 Page ID
                                       #954

MURRAY, JESSICA S.            5/4/2011    6/16/2014    477    0.0786%      $      168.24
MURREL, MICHAEL              2/17/2014    1/11/2016    694    0.1143%      $      242.51
MURREL, MICHAEL L.           8/11/2015    9/11/2015     32    0.0053%      $       15.95
MUSGRAVE, CASEY N.            4/4/2008   12/29/2014    673    0.1109%      $      235.32
MYERS, ELIZABETH K.          6/10/2015     8/3/2015     55    0.0091%      $       23.82
MYERS, HALEY D.               7/8/2013     8/6/2013     30    0.0049%      $       15.27
MYERS, JASON T.              8/11/2014    9/22/2014     43    0.0071%      $       19.72
MYERS, KACIE C.               1/5/2016    1/11/2016      7    0.0012%      $        7.40
MYERS, MALCOLM L.            7/29/2014    6/29/2015    336    0.0553%      $      119.99
MYLES, MARQUES D.           10/24/2012    6/17/2013    113    0.0186%      $       43.67
NAGY, WILLIAM Z.             2/10/2014     3/9/2014     28    0.0046%      $       14.58
NAHN, RYAN T.                 4/4/2014    7/18/2014    106    0.0175%      $       41.28
NAILL, LAURA L.              2/24/2014    5/25/2015    456    0.0751%      $      161.06
NAPIER, PATRICK J.          12/18/2012    8/12/2013    169    0.0278%      $       62.84
NAVARRO, LETICIA S.           2/5/2014    2/23/2015    384    0.0632%      $      136.42
NEAL, ANDIE E.              11/19/2014     6/8/2015    202    0.0333%      $       74.13
NEAL, ANGEL K.               10/1/2013    10/1/2013      1    0.0002%      $        5.34
NEAL, NIGEL B.                2/9/2015     3/9/2015     29    0.0048%      $       14.92
NEEVES, IMOGEN              11/15/2012    4/17/2013     52    0.0086%      $       22.80
NELMS, HANNAH R.             11/1/2012     6/9/2015    835    0.1375%      $      290.76
NELSON BENTON, BRITTANIE      3/6/2013     4/8/2014
L.                                                     399    0.0657%      $      141.55
NELSON, DEMARKO H.          10/30/2013    2/14/2014    108    0.0178%      $       41.96
NELSON, JACOB J.             3/24/2014    4/11/2014     19    0.0031%      $       11.50
NELSON, KRIS                  9/9/2014    9/14/2014      6    0.0010%      $        7.05
NELSON, MORGAN R.            8/15/2013     3/1/2014    199    0.0328%      $       73.10
NELSON, TAQUAISHA L.         1/22/2015     2/2/2015     12    0.0020%      $        9.11
NELSON, ZAICORI K.           6/26/2015    1/11/2016    200    0.0329%      $       73.45
NESTOR, DEAN                 2/25/2014     4/5/2015    405    0.0667%      $      143.60
NEUMEYER II, ROBERT C.      12/15/2014     2/2/2015     50    0.0082%      $       22.11
NEVINS, TATUM L.            11/24/2015    1/11/2016     49    0.0081%      $       21.77
NEWBERRY, NICHOLAS P.       10/22/2014     6/9/2015    231    0.0380%      $       84.06
NEWBURN, KENDRAYAH          12/21/2012    2/25/2013      1    0.0002%      $        5.34
NEWGENT, MALLORI L.           1/6/2015     1/6/2015      1    0.0002%      $        5.34
NEWSOM, JAIME K.              8/9/2015    1/11/2016    156    0.0257%      $       58.39
NGO, RACHEL C.              10/18/2013   11/12/2013     26    0.0043%      $       13.90
NGUYEN, TAM N.                5/5/2015    5/26/2015     22    0.0036%      $       12.53
NGUYEN, VU H.                8/14/2013    3/10/2015    574    0.0945%      $      201.44
NICHOLS, JESSICA J.          3/26/2013    4/18/2013     24    0.0040%      $       13.21
NICHOLS, KAYLA N.            3/14/2013     4/8/2013     26    0.0043%      $       13.90
NICHOLSON, MORGAN B.         5/23/2014    5/25/2014      3    0.0005%      $        6.03
NICOLAS, GUADALUPE M.         2/3/2015    6/13/2015    131    0.0216%      $       49.83
NIEDBALSKI, JESSICA L.       3/13/2013     8/4/2014    510    0.0840%      $      179.54
NIELSEN, KELLY              12/12/2000    1/11/2016   1051    0.1731%      $      364.69
NIELSEN, WOLF N.             3/15/2014    1/11/2016    668    0.1100%      $      233.61
NIEMEIER, KAREN              6/12/2001    1/11/2016   1051    0.1731%      $      364.69
NIEVES, JUAN                 2/20/2015    1/11/2016    326    0.0537%      $      116.57

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 78 of 129 Page ID
                                       #955

NIXON, KALEB S.               4/6/2015    1/11/2016    281    0.0463%      $      101.17
NIXON, STEPHANIE A.          1/27/2015     2/1/2015      6    0.0010%      $        7.05
NOBBE, LAUREN C.             1/30/2013     5/6/2013     71    0.0117%      $       29.30
NOBLES, GEORGE D.            4/21/2014    7/22/2014     93    0.0153%      $       36.83
NOLASCO, CHRISTOPHER         1/27/2014   11/30/2014    308    0.0507%      $      110.41
NOLTING, RACHAEL M.           8/1/2013    2/25/2014    209    0.0344%      $       76.53
NORMAN, KATELYN J.           6/28/2013     5/9/2014    316    0.0520%      $      113.15
NORMAN, TYLAR                9/30/2013    10/9/2013     10    0.0016%      $        8.42
NORRIS, DONTRELL             11/5/2014   11/18/2014     14    0.0023%      $        9.79
NORRIS, SANGAI A.             3/5/2013     5/6/2013     63    0.0104%      $       26.56
NORRIS, TAQUALUN            10/30/2014   11/18/2014     20    0.0033%      $       11.84
NORTHCUTT, JOSHUA D.         2/11/2014    2/14/2014      4    0.0007%      $        6.37
NUNNELLY, JOHN R.           12/27/2010    2/16/2014    357    0.0588%      $      127.18
NUTE, REGGIE T.              8/24/2011    8/29/2013    186    0.0306%      $       68.66
OAKES, JACOB R.               6/2/2012    4/30/2015    795    0.1309%      $      277.07
OATES-MATTHEWS, BRIONA       5/24/2013    5/30/2014
M.                                                     372    0.0613%      $      132.31
OBANION, DANIELLE N.         2/19/2013    1/26/2014    336    0.0553%      $      119.99
OBERMAN, ERIN A.             2/26/2013    8/17/2013    173    0.0285%      $       64.21
OBRIEN, JAMES R.            11/19/2012    3/18/2013     22    0.0036%      $       12.53
OBRIEN, KIERSTEN N.          3/25/2013    1/11/2016   1023    0.1685%      $      355.10
OBRIEN, KYLIE D.              4/8/2015     9/4/2015    150    0.0247%      $       56.33
O'BRIEN, NOELLE N.           6/23/2013     7/5/2013     13    0.0021%      $        9.45
OCHOA, ENRIQUE               7/18/2014    7/28/2014     11    0.0018%      $        8.76
OCHOA, SARAH E.              3/11/2013    8/17/2013    160    0.0264%      $       59.76
O'CONNOR, HANNAH R.          8/14/2013     9/9/2013     27    0.0044%      $       14.24
ODONOHUE, ERIKA L.           7/22/2014     1/6/2016    534    0.0880%      $      187.75
OLDEN, JESSICA O.            8/14/2013    8/16/2013      3    0.0005%      $        6.03
OLDHAM, DEJWAN M.           10/10/2014    11/2/2014     24    0.0040%      $       13.21
OLIGSCHLAEGER, GARRETT P.    8/21/2013    5/19/2014    272    0.0448%      $       98.09
OLNEY, KIERAN A.             12/6/2013   12/14/2013      9    0.0015%      $        8.08
OLTMAN, PAIGE E.              9/5/2013    7/28/2014    327    0.0539%      $      116.91
ONEAL, JEFFERY A.             7/6/2015    8/11/2015     37    0.0061%      $       17.66
o'neal, trenton              10/7/2015    1/11/2016     97    0.0160%      $       38.20
ONEY, ELIZABETH A.           3/10/2014    7/29/2014    142    0.0234%      $       53.60
ONTIVEROS, SHELBY P.         4/16/2013    4/16/2013      1    0.0002%      $        5.34
ORLOFF, JEFF                 2/25/2009     1/6/2016   1046    0.1723%      $      362.98
ORNELAS, STEVEN M.           8/13/2014    8/18/2014      6    0.0010%      $        7.05
OROURKE, HEATHER M.           7/9/2014    8/30/2014     53    0.0087%      $       23.14
ORR, BRITTANY               11/24/2014    5/21/2015    179    0.0295%      $       66.26
ORR, MADISON M.              8/21/2012    1/11/2016   1051    0.1731%      $      364.69
ORR, MASON C.                6/17/2015    1/11/2016    209    0.0344%      $       76.53
OSBORNE, JARED L.           10/31/2012     3/1/2013      5    0.0008%      $        6.71
OSGOOD, TIMOTHY A.            6/4/2013     6/5/2013      2    0.0003%      $        5.68
OTERO, ALEX                  3/15/2014    6/14/2014     92    0.0152%      $       36.49
OTERO, ALEXANDRIA R.         1/28/2014    6/14/2014    138    0.0227%      $       52.23
OTEY, CAROLYN A.             3/13/2015    1/11/2016    305    0.0502%      $      109.38

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 79 of 129 Page ID
                                       #956

OVANDO, RAUL                 2/16/2015     4/6/2015     50    0.0082%      $       22.11
OVERTON, CHRIS M.            6/22/2010    7/15/2013    141    0.0232%      $       53.25
OVIMETTE, DAVANTE M.         8/11/2014     5/8/2015    271    0.0446%      $       97.75
OWENS, CANDICE M.            6/12/2013     1/1/2014    204    0.0336%      $       74.82
OWENS, GENELL                4/14/2015    1/11/2016    273    0.0450%      $       98.43
OWENS, GORDON O.              7/2/2013    1/11/2016    924    0.1522%      $      321.22
OWENS, JAMES                 7/12/2015    1/11/2016    184    0.0303%      $       67.97
OWENS, TRA'SHAD D.          12/11/2014    1/27/2015     48    0.0079%      $       21.43
OYEBADEJO, XAVIER M.         4/18/2015    1/11/2016    269    0.0443%      $       97.06
PACK, APRIL L.               6/24/2013     3/7/2014    257    0.0423%      $       92.95
PADILLA, JORGE               12/9/2013    5/17/2014    160    0.0264%      $       59.76
PAGE, ASHLEY                  6/4/2008    5/30/2013     95    0.0156%      $       37.51
PAGE, RYAN C.               10/11/2012    1/11/2016   1051    0.1731%      $      364.69
PAIGE, DAMON L.              8/13/2014    3/19/2015    219    0.0361%      $       79.95
PAJAZETOVIC, KADIKA          2/26/2012    5/28/2015    823    0.1356%      $      286.66
PALECEK, NICOLE C.           9/19/2009   11/24/2014    638    0.1051%      $      223.34
PALMER, ASHLEY S.            4/20/2015    5/26/2015     37    0.0061%      $       17.66
PALUCH, JESSICA A.           5/22/2014    7/14/2014     54    0.0089%      $       23.48
PANELLI, HEATHER N.         12/15/2014    1/11/2016    393    0.0647%      $      139.50
PAPPADOPOULOS, ARIEL K.      7/12/2013     1/1/2014    174    0.0287%      $       64.55
PARKER, CHRIS                10/8/2011    5/26/2013     91    0.0150%      $       36.14
PARKER, DOUGLAS R.           11/1/2014    1/20/2015     81    0.0133%      $       32.72
PARKER, MARCO                9/30/2014    3/24/2015    176    0.0290%      $       65.23
PARKER, MORRIS D.            8/21/2012   10/21/2013    239    0.0394%      $       86.79
PARKER, RACHEL               7/19/2011    1/11/2016   1051    0.1731%      $      364.69
PARKER, STACY R.             2/11/2014     5/1/2014     80    0.0132%      $       32.38
PARKER, SYDNEY A.             2/4/2015     3/9/2015     34    0.0056%      $       16.64
PARKS, CHARNAY               10/7/2013    10/7/2013      1    0.0002%      $        5.34
PARKS, WILLIE I.             3/26/2015    5/25/2015     61    0.0100%      $       25.88
PARKS, ZACHARY D.            5/14/2014    6/24/2014     42    0.0069%      $       19.37
Parra, Brett                10/14/2015    1/11/2016     90    0.0148%      $       35.80
PARRES, JAMIE L.             7/10/2015    9/15/2015     68    0.0112%      $       28.27
PARSLEY, CORY L.              8/6/2013    8/24/2013     19    0.0031%      $       11.50
PASCHAL, MIQUEL              4/28/2015    1/11/2016    259    0.0427%      $       93.64
Paschang, Cassandra         11/18/2015   11/19/2015      2    0.0003%      $        5.68
PATILLO, LAURA L.            4/17/2013    5/28/2013     42    0.0069%      $       19.37
PATTERSON, ANN M.            9/20/2013    9/28/2013      9    0.0015%      $        8.08
PATTERSON, KANDANCE H.        7/6/2015    8/22/2015     48    0.0079%      $       21.43
PATTMAN, DONTEL L.           10/8/2014   11/17/2014     41    0.0068%      $       19.03
PATTON, IAN V.               3/10/2015    1/11/2016    308    0.0507%      $      110.41
PATTON, KELSEY D.            1/15/2013   10/25/2013    243    0.0400%      $       88.16
PATTON, MASON R.             2/18/2015    5/11/2015     83    0.0137%      $       33.41
PAULUS, KENNEDY J.            6/4/2013    3/10/2014    280    0.0461%      $      100.83
PAVLIGE, ASHLEY N.           7/15/2014   12/22/2014    161    0.0265%      $       60.10
PAXTON, CHRISTINA M.         4/13/2014    9/25/2014    166    0.0273%      $       61.81
PAXTON, JESSICA R.            4/4/2014    8/10/2015    494    0.0814%      $      174.06
PAYNE, STARA L.              3/24/2014    4/22/2014     30    0.0049%      $       15.27

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 80 of 129 Page ID
                                       #957

PAYTON, ANTONIO L.           3/11/2015    1/11/2016    307    0.0506%      $      110.07
PEABODY, DARYN T.            5/21/2013    7/28/2013     69    0.0114%      $       28.61
PEARL, LAMESHA              11/25/2014   12/15/2014     21    0.0035%      $       12.19
PEARSON, AMBER M.            6/22/2015    7/26/2015     35    0.0058%      $       16.98
Pearson, Richard            11/10/2015   11/20/2015     11    0.0018%      $        8.76
PECAUT, LISA M.              4/17/2009   12/30/2013    309    0.0509%      $      110.75
PEDROTTY, JASON C.            9/2/2013    4/10/2015    586    0.0965%      $      205.55
PEDROTTY, JOSEPH T.           7/9/2014    8/14/2014     37    0.0061%      $       17.66
PEELER, KELSEY E.            3/27/2015   10/26/2015    214    0.0352%      $       78.24
PEGG, ABIGAIL R.              9/2/2014    4/18/2015    229    0.0377%      $       83.37
PEMBERTON, LYNN M.           10/1/2007    5/16/2013     81    0.0133%      $       32.72
PENA, ERIC W.                 3/6/2013    12/4/2015   1004    0.1654%      $      348.60
PENA, JEREMY I.              6/30/2013     8/1/2013     33    0.0054%      $       16.29
PENCE, CARMEN M.              3/6/2008    1/11/2016   1051    0.1731%      $      364.69
PENNIGTON, KYMYA             1/29/2014    12/8/2014    314    0.0517%      $      112.46
PENNINGTON, JENNIFER          7/3/2014    9/30/2014     90    0.0148%      $       35.80
PENNINGTON, KYLIE M.         2/12/2015    1/11/2016    334    0.0550%      $      119.31
PEREZ, EDUARDO                6/3/2006    1/11/2016   1051    0.1731%      $      364.69
PEREZ, ERIC                  11/7/2013   12/30/2013     54    0.0089%      $       23.48
PEREZ, GABRIELA               2/3/2015    3/23/2015     49    0.0081%      $       21.77
PEREZ, IRENE                  2/3/2015    3/23/2015     49    0.0081%      $       21.77
PEREZ-PALACIOS, REGINA        6/3/2013    6/10/2013      8    0.0013%      $        7.74
PERKINS, CAMERON             5/28/2010    5/12/2015    807    0.1329%      $      281.18
PERKINS, CAMERON S.          2/10/2015    5/12/2015     92    0.0152%      $       36.49
PERKINS, JASON                1/4/2014    1/17/2014     14    0.0023%      $        9.79
PERRIGUE, CAMERON            5/14/2014    5/31/2014     18    0.0030%      $       11.16
PERRY, ALEXIS A.              6/7/2014    9/16/2014    102    0.0168%      $       39.91
PERRY, RACHEL N.             6/23/2013    6/27/2013      5    0.0008%      $        6.71
PETERS, KAILEE               2/16/2015     8/9/2015    175    0.0288%      $       64.89
PETERS, LEAH C.              4/16/2014    4/21/2014      6    0.0010%      $        7.05
PETERSEN, MEREDITH A.        6/30/2014    5/18/2015    323    0.0532%      $      115.54
PETERSON, BROOKE A.          8/19/2014    12/5/2014    109    0.0180%      $       42.30
PETERSON, HEIDI              10/7/2015    1/11/2016     97    0.0160%      $       38.20
PETERSON, JENNIFER           11/1/2015   11/23/2015     23    0.0038%      $       12.87
PETTERSEN, HANNAH R.         10/7/2013   10/24/2014    383    0.0631%      $      136.08
PETZOLDT, ZACHARY W.         7/16/2015    7/31/2015     16    0.0026%      $       10.48
PHARISS, SEAN L.             8/15/2014   10/20/2015    432    0.0712%      $      152.84
PHELPS, TIFFANY N.           4/28/2013     9/9/2013    135    0.0222%      $       51.20
PHILLIPS, BRENT             12/10/2014   12/15/2014      6    0.0010%      $        7.05
PHILLIPS, JOSIE L.            3/5/2012     1/1/2014    311    0.0512%      $      111.43
PHILLIPS, ROBERT H.          3/27/2015    4/21/2015     26    0.0043%      $       13.90
PHILLIPS, SARAH               4/5/2010    8/24/2015    911    0.1501%      $      316.77
PHILLIPS, TIMOTHY J.         5/20/2014    7/28/2014     70    0.0115%      $       28.96
PICCOLO, LILLYANNA P.         6/9/2014    8/11/2014     64    0.0105%      $       26.90
PICKENS, ANTIONE             8/21/2008   11/30/2015   1009    0.1662%      $      350.31
PICKENS, BRANDON M.          5/27/2015    1/11/2016    230    0.0379%      $       83.71
PICKER, ZOE M.               8/19/2014    1/26/2015    161    0.0265%      $       60.10

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 81 of 129 Page ID
                                       #958

PIEPER, ASHLEY C.            1/14/2014     4/7/2014     84    0.0138%      $       33.75
PIERCE, ASHLEY N.           11/27/2012     5/7/2013     72    0.0119%      $       29.64
PIERCE, CARLEIGH D.          5/21/2015   11/23/2015    187    0.0308%      $       69.00
PIERCE, MATTHEW N.           6/18/2006    1/11/2016   1051    0.1731%      $      364.69
PIERCE, STEVEN                7/5/2014    7/14/2014     10    0.0016%      $        8.42
PIERCE, TAYLOR M.            8/22/2013    12/8/2013    109    0.0180%      $       42.30
PIERCE, TYLER K.             1/27/2015    2/24/2015     29    0.0048%      $       14.92
PIERCEALL, REANNA            6/23/2014    7/12/2014     20    0.0033%      $       11.84
PIERSON, MELLISSA G.          1/5/2013     9/1/2013    189    0.0311%      $       69.68
Pinkston, Heather            11/4/2015    12/6/2015     33    0.0054%      $       16.29
PINNEY, MEGAN               11/13/2012    3/18/2013     22    0.0036%      $       12.53
PISTORIUS, RAVEN J.           1/6/2013    3/16/2013     20    0.0033%      $       11.84
PITMAN, TYLOR J.             9/12/2015     1/2/2016    113    0.0186%      $       43.67
PITTMAN, MARGARET R.         9/17/2015    9/20/2015      4    0.0007%      $        6.37
PLATKE, RACHEL R.             5/5/2015    1/11/2016    252    0.0415%      $       91.24
PLUMB, LACEY E.              9/15/2014     2/3/2015    142    0.0234%      $       53.60
POCHEK, LEAH M.             10/29/2009     8/3/2014    525    0.0865%      $      184.67
POE, HEATHER L.               2/4/2015    1/11/2016    342    0.0563%      $      122.04
POINTON, AMANDA              4/28/2015     6/4/2015     38    0.0063%      $       18.00
POLING, STEWART               1/7/2015    5/12/2015    126    0.0208%      $       48.12
POLLARD, CAYLAN A.            9/2/2015    12/8/2015     98    0.0161%      $       38.54
PONA, JOYCE E.                6/8/2015    7/24/2015     47    0.0077%      $       21.08
PONDER, MORGAN M.             1/8/2014    1/19/2015    377    0.0621%      $      134.02
POOLE, SAJATAFLORI J.        6/19/2014    6/19/2014      1    0.0002%      $        5.34
PORTER, LYRIC                7/17/2014    7/21/2014      5    0.0008%      $        6.71
PORZELT, SARAH              10/11/2007     4/6/2015    771    0.1270%      $      268.86
POSPISIL, CHLOE A.           6/15/2012   11/24/2015   1003    0.1652%      $      348.26
POSPISIL, JAMES              8/27/2013    1/11/2016    868    0.1430%      $      302.06
POST, HUBERT W.             11/26/2013   12/20/2013     25    0.0041%      $       13.56
POTTS, REGAN L.              6/10/2011     9/9/2013    197    0.0324%      $       72.42
POWELL, ALISHA C.             5/4/2013     8/2/2013     91    0.0150%      $       36.14
POWELL, CHRISTIAN M.          3/2/2013    8/19/2013    171    0.0282%      $       63.52
POWELL, ERIN G.              4/16/2014    11/2/2014    201    0.0331%      $       73.79
POWELL, KEVIN M.             4/13/2014    5/20/2014     38    0.0063%      $       18.00
POWELL, RAVEN C.             7/29/2014    4/14/2015    260    0.0428%      $       93.98
POWELL, TANISHA L.           5/27/2014    6/30/2014     35    0.0058%      $       16.98
POWERS, ELYSA D.              3/4/2009     3/4/2013      8    0.0013%      $        7.74
POZ, JAIME                  11/18/2014    12/9/2014     22    0.0036%      $       12.53
PRATER, BARRET L.            2/24/2015    1/11/2016    322    0.0530%      $      115.20
PRATER, BRANDON D.           1/23/2015    1/11/2016    354    0.0583%      $      126.15
PRATT, MARK J.               1/21/2014    3/22/2014     61    0.0100%      $       25.88
PRATT, RYLEE A.              4/30/2013    5/31/2013     32    0.0053%      $       15.95
PRESTON, ALEXIS B.            5/6/2014     9/5/2014    123    0.0203%      $       47.09
PRICE, AUBREY L.              5/1/2012    2/20/2014    361    0.0595%      $      128.55
PRICE, BRIANNA M.            8/14/2013   12/29/2014    503    0.0828%      $      177.14
PRICE, HANNAH                 9/6/2013   10/13/2013     38    0.0063%      $       18.00
PRICE, JEREMY W.             9/14/2015    1/11/2016    120    0.0198%      $       46.07

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 82 of 129 Page ID
                                       #959

PRICE, RONNIE P.              9/2/2015    1/11/2016    132    0.0217%      $       50.17
PRICER, TRINITY A.           3/15/2013    4/12/2013     29    0.0048%      $       14.92
PROFFIT, CHRIS C.             1/6/2015     2/1/2015     27    0.0044%      $       14.24
PROFFITT, JEREMIAH D.         3/6/2013    9/24/2014    568    0.0936%      $      199.39
PROSSER, SARA S.              5/6/2013     7/1/2014    422    0.0695%      $      149.42
PUENTES, LESLIE S.           6/15/2015    8/18/2015     65    0.0107%      $       27.25
PUGA, VERONICA               8/19/2015    8/28/2015     10    0.0016%      $        8.42
PUMMEL, NATALIE A.           3/31/2015    4/14/2015     15    0.0025%      $       10.13
PURCELL, RACHEL N.           3/10/2010     6/2/2015    828    0.1364%      $      288.37
Pursifull, RaeAnna           12/3/2015    1/11/2016     40    0.0066%      $       18.69
PYATT, RENEE                 5/22/2001    1/11/2016   1051    0.1731%      $      364.69
QINDAH, HASAN K.              1/9/2012     8/8/2013    165    0.0272%      $       61.47
QUARGNENTI, KELSEY M.        7/14/2015    12/1/2015    141    0.0232%      $       53.25
QUESENBERRY, LAUREN K.       7/10/2015    10/6/2015     89    0.0147%      $       35.46
QUINN, PRISCILLA C.          3/19/2013    4/30/2013     43    0.0071%      $       19.72
QUINTANA, ANASTACIA R.       1/15/2014    11/2/2014    292    0.0481%      $      104.93
RABAGO, MARY E.              5/27/2015    1/11/2016    230    0.0379%      $       83.71
RACE, ANTHONY P.              7/6/2015     8/9/2015     35    0.0058%      $       16.98
RADFORD, ASHLEY A.          11/11/2012    4/28/2013     63    0.0104%      $       26.56
RADFORD, JACOB               12/8/2015   12/28/2015     21    0.0035%      $       12.19
RADFORD, JEREMY             10/13/2009    5/12/2013     77    0.0127%      $       31.35
RAGAN, AMY R.                1/15/2014     2/4/2014     21    0.0035%      $       12.19
RAIMONDI, MELISSA L.          8/4/2014     8/7/2014      4    0.0007%      $        6.37
RAINES, JERMAINE              8/1/2013    8/27/2013     27    0.0044%      $       14.24
RAINES, SPARKLE M.           11/4/2015   11/28/2015     25    0.0041%      $       13.56
RAINEY, RIAN M.              7/25/2012     4/8/2013     43    0.0071%      $       19.72
RALEY, MARY-MARGARET M.      9/16/2015    10/1/2015     16    0.0026%      $       10.48
RALLS, CORBIN J.            12/20/2012     6/6/2014    467    0.0769%      $      164.82
RAMBO, SARA                  5/14/2012    1/11/2016   1051    0.1731%      $      364.69
RAMIREZ CABRERA,             9/12/2015   11/10/2015
BRITTANY N.                                             60    0.0099%      $       25.53
RAMIREZ, VANESSA              6/4/2014    7/14/2014     41    0.0068%      $       19.03
Ramirez, Yasmin              10/7/2015   10/13/2015      7    0.0012%      $        7.40
RAMOS, ADAM J.                1/8/2013   12/21/2014    665    0.1095%      $      232.58
RANDLE, KARA A.               4/1/2013    6/30/2014    456    0.0751%      $      161.06
RANDOLPH, CARMEN R.          3/22/2012    8/12/2013    169    0.0278%      $       62.84
RANGI, RONOWAR S.            11/4/2013    6/16/2014    225    0.0371%      $       82.00
RANKIN, JANESSA L.           7/10/2013   10/29/2013    112    0.0184%      $       43.33
RANOSTAJ, ZOYA A.             9/2/2013     2/3/2014    155    0.0255%      $       58.05
RANSOM, HOLLY                12/8/2013    1/30/2014     54    0.0089%      $       23.48
RATHBONE, HEATHER L.        10/13/2014    11/6/2014     25    0.0041%      $       13.56
RATKEWICZ, SARAH M.          7/17/2007    7/30/2013    156    0.0257%      $       58.39
RATLIFF, STYLES W.          12/18/2014    4/20/2015    124    0.0204%      $       47.44
RAVELLO, GUSTAVO A.           1/6/2015    1/11/2016    371    0.0611%      $      131.97
RAWLS, MICHELLE N.           6/13/2012    4/14/2014    414    0.0682%      $      146.68
RAY, BRIONNA                 1/21/2014    6/30/2014    161    0.0265%      $       60.10
RAY, CHEVALIER              10/21/2015    1/11/2016     83    0.0137%      $       33.41

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 83 of 129 Page ID
                                       #960

RAY, LEVI E.                  3/6/2013    12/2/2014    637    0.1049%      $      223.00
RAY, TYLER                   8/18/2013    6/27/2014    314    0.0517%      $      112.46
RAZZA, TANYA L.              9/10/2014    9/13/2014      4    0.0007%      $        6.37
REAMER, ALEXANDRA            4/28/2015    5/18/2015     21    0.0035%      $       12.19
REBERT, KRISTEN N.           8/27/2012    3/13/2013     17    0.0028%      $       10.82
REBHAN, ANDREW               5/31/2006     8/3/2014    525    0.0865%      $      184.67
RECHUCHER, JOY               5/28/2015    9/18/2015    114    0.0188%      $       44.01
RECTOR, ZACHARY R.           7/24/2012     3/9/2015    743    0.1224%      $      259.28
REECE, MALIK J.              3/13/2015    1/11/2016    305    0.0502%      $      109.38
REED, ASHLEY D.               3/6/2013    8/26/2013    174    0.0287%      $       64.55
REED, DONNELL N.              3/3/2013   12/30/2013    303    0.0499%      $      108.70
REED, JACLYNN N.            11/17/2013   12/31/2013     45    0.0074%      $       20.40
REED, JENNIFFER R.           8/31/2013     9/8/2013      9    0.0015%      $        8.08
REED, JOSEPH A.              6/30/2015    7/13/2015     14    0.0023%      $        9.79
REED, JUSTIN D.              7/19/2013     8/1/2013     14    0.0023%      $        9.79
REED, SEAN C.                3/26/2015    8/18/2015    146    0.0240%      $       54.97
REEDY, MOLLY K.              7/18/2013    8/25/2015    769    0.1267%      $      268.18
REEL, ISAAC R.               8/13/2015    1/11/2016    152    0.0250%      $       57.02
REHBEIN, KRISTOFFER M.      10/14/2013     2/4/2014    114    0.0188%      $       44.01
REHM, BENJAMIN R.             3/1/2015    10/3/2015    217    0.0357%      $       79.26
REINER, KADIE A.             2/12/2015    3/23/2015     40    0.0066%      $       18.69
REINERT, BILLIE L.            1/5/2015    1/20/2015     16    0.0026%      $       10.48
REINSMITH, JOSEPH B.         5/22/2013    5/22/2013      1    0.0002%      $        5.34
REYLAND, ISAIAH A.           9/20/2015    1/11/2016    114    0.0188%      $       44.01
REYNOLDS, FAITH M.           2/17/2013    3/16/2013     20    0.0033%      $       11.84
REYNOLDS, MELISSA F.         1/23/1999    1/30/2015    705    0.1161%      $      246.27
REYNOLDS, SIERRA J.          4/10/2014     5/1/2014     22    0.0036%      $       12.53
RHODA, AMBER                11/29/2011     7/1/2013    127    0.0209%      $       48.46
RHODES, ALEXANDER E.         1/27/2014     5/4/2014     98    0.0161%      $       38.54
RHODES, DARRIELL O.           9/4/2013     5/9/2014    248    0.0408%      $       89.87
RHODES, HILARY D.             8/1/2011    1/11/2016   1051    0.1731%      $      364.69
RHODES, MARIAH E.            6/30/2014     4/5/2015    280    0.0461%      $      100.83
RHODES, QUANITA S.           4/16/2013    1/11/2016   1001    0.1649%      $      347.57
RHODES, ROBI                 7/26/2011    5/27/2013     92    0.0152%      $       36.49
RICE, CHRISTINA K.           7/22/2015     9/7/2015     48    0.0079%      $       21.43
RICHARD, DARRION E.           8/3/2013    9/29/2014    423    0.0697%      $      149.76
RICHARD, WESLEY T.          10/26/2015   12/13/2015     49    0.0081%      $       21.77
RICHARDS, VERONICA           3/11/2013    3/26/2013     16    0.0026%      $       10.48
RICHARDSON, JACORI L.         8/6/2013    7/28/2014    357    0.0588%      $      127.18
RICHARDSON, TEON L.          8/14/2013    1/18/2014    158    0.0260%      $       59.07
RICHERSON, CHRISTINA M.       1/9/2015    4/26/2015    108    0.0178%      $       41.96
RICHMOND, AUSTIN             8/29/2013    9/16/2013     19    0.0031%      $       11.50
RICHTER, KAYLA M.             9/2/2014   10/15/2014     44    0.0072%      $       20.06
ridenhour, anthony D.       11/21/2015    1/11/2016     52    0.0086%      $       22.80
RIDGE, CASSLYN                8/4/2014     8/5/2014      2    0.0003%      $        5.68
RIEBELING, JESSICA L.        6/22/2015    1/11/2016    204    0.0336%      $       74.82
RIEFF, RYAN L.               3/27/2015    4/14/2015     19    0.0031%      $       11.50

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 84 of 129 Page ID
                                       #961

RILEY, DOMINIQUE L.           4/9/2015    4/20/2015     12    0.0020%      $        9.11
RILEY, SHEENA M.             5/18/2015    6/22/2015     36    0.0059%      $       17.32
RILEY, TRACIE               10/15/2011    2/10/2014    351    0.0578%      $      125.12
RINER, JENNA R.              10/9/2012     8/9/2014    531    0.0875%      $      186.73
RINER, REGAN J.              5/14/2013    4/26/2014    348    0.0573%      $      124.10
RIVAS, ALEXIA M.             4/25/2013    1/19/2014    270    0.0445%      $       97.40
ROBARDS, BAILEY M.            8/3/2013   10/11/2013     70    0.0115%      $       28.96
ROBERSON, CORBIN J.          5/18/2013    5/19/2013      2    0.0003%      $        5.68
ROBERSON, PETER              3/18/2014    4/24/2014     38    0.0063%      $       18.00
ROBERSON, PETER             10/30/2012    1/11/2016   1051    0.1731%      $      364.69
ROBERTO, JARET J.           10/23/2011    2/27/2013      3    0.0005%      $        6.03
ROBERTS, CHRISTOPHER A.      10/3/2014    1/11/2016    466    0.0768%      $      164.48
ROBERTS, HEATHER A.          1/15/2014   10/11/2014    270    0.0445%      $       97.40
roberts, jennifer           10/26/2015   11/29/2015     35    0.0058%      $       16.98
ROBERTS, KRYSTAL              2/2/2015     2/9/2015      8    0.0013%      $        7.74
ROBERTS, MORGAN H.           7/24/2013    9/22/2013     61    0.0100%      $       25.88
ROBERTSON, CAROLYN D.        8/11/2014    9/27/2014     48    0.0079%      $       21.43
ROBERTSON, RENAE             8/23/2010    1/11/2016   1051    0.1731%      $      364.69
ROBINSON, ANTONIO D.        10/29/2013     6/3/2014    218    0.0359%      $       79.61
ROBINSON, ELIZABETH          5/23/2006    1/11/2016   1051    0.1731%      $      364.69
ROBINSON, JIMMY L.           9/20/2013   10/15/2014    391    0.0644%      $      138.81
ROBINSON, KENNETH L.         5/15/2013    8/26/2013    104    0.0171%      $       40.59
ROBINSON, MADESA K.          6/19/2014    7/24/2014     36    0.0059%      $       17.32
ROBINSON, MAYA A.             7/2/2015     7/8/2015      7    0.0012%      $        7.40
ROBINSON, RODTREZ L.          2/4/2015    4/24/2015     80    0.0132%      $       32.38
ROBINSON, SIERRA N.           2/7/2015    4/14/2015     67    0.0110%      $       27.93
ROBINSON, SYLVIA R.          7/20/2015    8/11/2015     23    0.0038%      $       12.87
ROBINSON, TAYLOR C.           5/4/2015   10/10/2015    160    0.0264%      $       59.76
ROBINSON, TERRY L.           4/23/2015    1/11/2016    264    0.0435%      $       95.35
ROCKLEY, MARY E.             1/21/2014    2/19/2014     30    0.0049%      $       15.27
rodas I, rosy               12/26/2015    1/11/2016     17    0.0028%      $       10.82
RODEN, KATHLYN              12/30/2015   12/31/2015      2    0.0003%      $        5.68
RODMAN, LANCE M.             5/20/2014    7/14/2015    421    0.0693%      $      149.08
RODMAN, TAYLOR D.            6/16/2015     7/6/2015     21    0.0035%      $       12.19
RODRIGUEZ GONZALEZ,          3/30/2013    5/21/2013
RICARDO                                                 53    0.0087%      $       23.14
RODRIGUEZ, ANGELINE          6/18/2013    3/10/2014    266    0.0438%      $       96.03
RODRIGUEZ, DANIEL J.         4/13/2014     2/3/2015    297    0.0489%      $      106.64
RODRIGUEZ, MARTHA            8/12/2013    9/10/2013     30    0.0049%      $       15.27
RODRIGUEZ, RICARDO H.        5/14/2013     7/9/2013     57    0.0094%      $       24.51
ROESLEIN, KELLI             10/22/2014     4/6/2015    167    0.0275%      $       62.15
ROGERS, ASHLEY Z.            2/27/2014     4/7/2014     40    0.0066%      $       18.69
ROGERS, CHANCE B.             7/6/2015     8/7/2015     33    0.0054%      $       16.29
ROGERS, JADE M.               4/8/2014    5/20/2014     43    0.0071%      $       19.72
ROGERS, ZACHARY A.           5/16/2013    5/16/2013      1    0.0002%      $        5.34
ROHR, BENJAMIN V.            7/25/2012    1/11/2016   1051    0.1731%      $      364.69
ROLEN, MICHELLE E.            4/4/2011    5/19/2013     84    0.0138%      $       33.75

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 85 of 129 Page ID
                                       #962

ROLLBERG, JESSICA S.          7/8/2013    2/18/2014    226    0.0372%      $       82.34
ROLLER, RACHAEL              5/19/2015     6/8/2015     21    0.0035%      $       12.19
ROLLINS, AMBER N.            7/28/2010    1/11/2016   1051    0.1731%      $      364.69
ROMERO III, LUIS A.          9/20/2015   11/10/2015     52    0.0086%      $       22.80
ROMO, FERNANDO              12/31/2014    1/11/2016    377    0.0621%      $      134.02
ROOF, KELSEY M.              1/28/2015    1/11/2016    349    0.0575%      $      124.44
ROPER, DANIELLE N.           1/12/2015    8/30/2015    231    0.0380%      $       84.06
ROSA, CLAUDIA A.              4/6/2015     8/9/2015    126    0.0208%      $       48.12
ROSE, BRANDON M.              2/3/2015    4/20/2015     77    0.0127%      $       31.35
ROSE, HEATHER N.             1/29/2015     3/9/2015     40    0.0066%      $       18.69
ROSS, DAVID                  9/23/2008    5/20/2013     85    0.0140%      $       34.09
ROSS, DESTINY J.             7/19/2013    11/5/2013    110    0.0181%      $       42.65
ROSS, IAN I.                10/29/2014     3/9/2015    132    0.0217%      $       50.17
ROSS, KELLY E.              12/13/2013     5/5/2014    144    0.0237%      $       54.28
ROSS, KRISTINA E.             6/9/2014     8/1/2014     54    0.0089%      $       23.48
ROSS, KSENIA                 5/12/2014    6/30/2014     50    0.0082%      $       22.11
ROSSON, STEVIE M.           11/27/2012     4/7/2014    407    0.0670%      $      144.29
ROTHERY, SALY J.              4/2/2013    2/12/2015    682    0.1123%      $      238.40
ROTOLO, JOHNNY G.            8/11/2014   11/22/2014    104    0.0171%      $       40.59
ROWLAND, JASON              10/29/2014   12/29/2014     62    0.0102%      $       26.22
ROWLAND, MELISSA M.         11/11/2014   12/20/2014     40    0.0066%      $       18.69
ROWRAY, TAYLOR R.             8/4/2015   11/27/2015    116    0.0191%      $       44.70
RUCKEL, BRIDGET N.           5/28/2013    7/20/2013     54    0.0089%      $       23.48
RUCKER, EMILY R.             4/28/2013    4/20/2015    723    0.1191%      $      252.43
RUCKER, JOSHUA D.            2/25/2015    1/11/2016    321    0.0529%      $      114.86
RUDLOFF, ERIKA C.           12/12/2014     6/1/2015    172    0.0283%      $       63.86
RUESTER, DEVON P.             1/6/2015    4/14/2015     99    0.0163%      $       38.88
RUGELEY, TAYLOR R.           10/3/2014    1/11/2016    466    0.0768%      $      164.48
RUHL, ALEXANDER J.          10/30/2012    11/1/2013    250    0.0412%      $       90.56
RUIZ, DAVID                 11/21/2014   12/15/2014     25    0.0041%      $       13.56
RUIZ, ISAAC R.               1/27/2015    1/11/2016    350    0.0576%      $      124.78
RUIZ, JOSE K.                2/24/2014    2/24/2014      1    0.0002%      $        5.34
RULO, TONYA R.               7/10/2012    1/11/2016   1051    0.1731%      $      364.69
RUMSPA, NATHAN               8/10/2014    9/22/2014     44    0.0072%      $       20.06
RUNGE, JAMES C.              1/16/2013    8/16/2014    538    0.0886%      $      189.12
RUSK, NICHOLAS S.            7/15/2014    12/5/2014    144    0.0237%      $       54.28
RUSNIAK, MEGHAN E.            6/9/2015     6/9/2015      1    0.0002%      $        5.34
RUSSELL, HALEY D.            4/15/2015    5/15/2015     31    0.0051%      $       15.61
RUSSELL, KAYLA R.             9/9/2013    11/5/2013     58    0.0096%      $       24.85
RUSSELL, SAM A.               1/5/2016    1/11/2016      7    0.0012%      $        7.40
RUSSELL, TIA M.              3/30/2015    1/11/2016    288    0.0474%      $      103.56
RUTHARDT, DAKOTA C.         10/30/2013     2/9/2014    103    0.0170%      $       40.25
RUTLEDGE, JOSH C.            8/23/2015    1/11/2016    142    0.0234%      $       53.60
SACK, ETHAN                 10/31/2013     1/2/2014     64    0.0105%      $       26.90
SACK, NICOLE                11/26/2013    12/2/2013      7    0.0012%      $        7.40
SADLER, AMY M.               1/12/2015    1/26/2015     15    0.0025%      $       10.13
SAFFER, DERIC E.             3/10/2015    3/31/2015     22    0.0036%      $       12.53

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 86 of 129 Page ID
                                       #963

SAJONA, TRISTAN T.           11/2/2013     8/2/2014    274    0.0451%      $       98.77
SALAMA, MACY H.              1/17/2012   12/25/2013    304    0.0501%      $      109.04
SALAS, NICHOLE M.             1/7/2014    8/19/2014    225    0.0371%      $       82.00
SALCEDO, ALEJANDRA A.       11/30/2010    1/11/2016   1051    0.1731%      $      364.69
Saldivar, Luis                1/7/2016    1/11/2016      5    0.0008%      $        6.71
SALGADO, RITA L.             8/12/2014     9/7/2014     27    0.0044%      $       14.24
SAMANIEGO, BIANCA            7/21/2014   10/12/2014     84    0.0138%      $       33.75
SAMANIEGO, VIVIAN            6/21/2014   10/12/2014    114    0.0188%      $       44.01
SAMELTON, ZHANE R.           6/30/2014     2/9/2015    225    0.0371%      $       82.00
SAMILTON, TISHA              8/18/2013    8/21/2013      4    0.0007%      $        6.37
SAMIT, DANIEL M.             1/15/2013   12/31/2013    310    0.0511%      $      111.09
SAMUEL, DAPHNE A.            1/13/2014    1/20/2014      8    0.0013%      $        7.74
SANCHEZ, MATTHEW S.          6/25/2013    6/26/2013      2    0.0003%      $        5.68
SANCHEZ, SOFIA M.            12/9/2014     1/5/2015     28    0.0046%      $       14.58
SANCHEZ, SUSAN L.            4/27/2005    4/12/2013     47    0.0077%      $       21.08
SANDEFUR, ALEXIS N.           4/8/2015    1/11/2016    279    0.0460%      $      100.48
SANDER, VERNON              12/11/2015    1/11/2016     32    0.0053%      $       15.95
SANDERS, HOLLE A.             2/3/2015    1/11/2016    343    0.0565%      $      122.39
SANDERS, MARK                 6/8/1999    1/11/2016   1051    0.1731%      $      364.69
SANDERS, TABITHA L.          8/13/2015    8/13/2015      1    0.0002%      $        5.34
SANDROWSKI, QUENTIN J.        2/3/2015    1/11/2016    343    0.0565%      $      122.39
SANPHY, CRAIG W.              8/5/2015    1/11/2016    160    0.0264%      $       59.76
SANTANA, CARLOS              8/25/2012     1/6/2014    316    0.0520%      $      113.15
SANTIAGO, CARLOS A.          7/28/2014     8/6/2014     10    0.0016%      $        8.42
SANTIZO, AURI                 7/1/2014    10/6/2014     98    0.0161%      $       38.54
SAPPINGTON, KACI             4/10/2014    6/26/2014     78    0.0128%      $       31.69
SAPPINGTON, TAYLOR            5/1/2014    9/16/2014    139    0.0229%      $       52.57
SARGENT, GLENDA              2/12/2014    2/12/2014      1    0.0002%      $        5.34
SARGENT, MICHELLE D.         6/10/2015    11/7/2015    151    0.0249%      $       56.68
SARRATT, TIFFANI J.         11/17/2012     6/1/2013     97    0.0160%      $       38.20
SATTERFIELD, NATAHSA         8/29/2013     9/6/2013      9    0.0015%      $        8.08
SAVAHL, MICHELLE D.          8/27/2013   11/21/2014    452    0.0744%      $      159.69
SCANDON, KEITH J.            6/24/2013     9/2/2013     71    0.0117%      $       29.30
SCARBOROUGH, SAMANTHA        3/11/2015    4/20/2015
L.                                                      41    0.0068%      $       19.03
SCHAAKE, ASHLEY              8/31/2006    5/17/2014    447    0.0736%      $      157.98
SCHAFFER, BRENDA A.          1/25/2011     5/3/2014    433    0.0713%      $      153.19
SCHAUB, COURTNEY R.           1/8/2013    10/7/2014    590    0.0972%      $      206.92
SCHEFFER, MELANIE            2/22/2012    1/11/2016   1051    0.1731%      $      364.69
SCHEMPP, TYLER J.            12/3/2012    4/11/2014    411    0.0677%      $      145.66
SCHIELD, BRIAN T.             2/3/2015    3/23/2015     49    0.0081%      $       21.77
SCHINKER, DANIELLE E.       11/14/2011    1/11/2016   1051    0.1731%      $      364.69
SCHIPPER, EMILY L.           4/27/2015    8/29/2015    125    0.0206%      $       47.78
SCHLEPER, COLLIN M.          5/20/2013    1/11/2016    967    0.1593%      $      335.94
SCHLOSS, MICHAEL G.          6/25/2013    2/11/2014    232    0.0382%      $       84.40
schmeling, jaimie             1/7/2016    1/11/2016      5    0.0008%      $        6.71
SCHMIDT, AARON              10/21/2010     1/2/2014    312    0.0514%      $      111.78

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 87 of 129 Page ID
                                       #964

SCHNEBLY, JOANNA M.           1/5/2012    6/12/2013    108    0.0178%      $       41.96
SCHOOLCRAFT, HOPE D.         3/28/2015    1/11/2016    290    0.0478%      $      104.25
SCHRADER, JONATHAN R.         9/8/2014   12/15/2014     99    0.0163%      $       38.88
SCHUBERT, MATTHEW            6/26/2014     2/9/2015    229    0.0377%      $       83.37
SCHWAN, CHRISTOPHER         12/17/2014     2/9/2015     55    0.0091%      $       23.82
SCHWARTZ, LAUREN E.          1/27/2011     6/2/2014    463    0.0763%      $      163.45
SCHWENGELS, ERIKA R.         1/27/2015    5/18/2015    112    0.0184%      $       43.33
SCOTT, CHRIS T.              11/7/2012    3/18/2013     22    0.0036%      $       12.53
SCOTT, JAMES R.              7/27/2015    1/11/2016    169    0.0278%      $       62.84
SCOTT, JAMES W.              4/28/2015     5/4/2015      7    0.0012%      $        7.40
SCOTT, KARA D.                7/1/2015   10/24/2015    116    0.0191%      $       44.70
SCOTT, SHIRLEY               7/31/2012    9/24/2013    212    0.0349%      $       77.55
SEARS, CASSIDY A.           12/18/2013    4/14/2014    118    0.0194%      $       45.38
SECHRIST, JEDIDIAH S.         7/1/2015     7/1/2015      1    0.0002%      $        5.34
SECKEL, TAYLOR N.            7/28/2015    11/7/2015    103    0.0170%      $       40.25
SEGRAVES, TYLER N.            5/8/2013    5/22/2013     15    0.0025%      $       10.13
SELF, SAMANTHA                9/6/2013   10/21/2013     46    0.0076%      $       20.74
SELSOR-WALTER, CHELSEA       11/5/2010    1/11/2016   1051    0.1731%      $      364.69
SEMBLY, ELLEXIA M.            9/9/2014   11/30/2014     83    0.0137%      $       33.41
Semenov, Arsenie            11/12/2015    1/11/2016     61    0.0100%      $       25.88
SEMONES, SABRINA R.          8/21/2012    10/1/2015    949    0.1563%      $      329.78
SEPULBEDA, JOEL J.           6/15/2014     3/4/2015    263    0.0433%      $       95.01
SERATI, JUSTIN T.            5/29/2013     6/2/2014    370    0.0609%      $      131.63
SERTUCHE, SABRINA A.         8/10/2015    8/18/2015      9    0.0015%      $        8.08
SEXTON JR., WILLIAM W.       4/16/2013    5/23/2013     38    0.0063%      $       18.00
SEXTON, SADIE A.             3/11/2013   12/22/2013    287    0.0473%      $      103.22
SEYFERT, COLE J.             7/28/2014    1/11/2016    533    0.0878%      $      187.41
SEYMORE, RONDALE M.          7/22/2014    7/28/2014      7    0.0012%      $        7.40
SHAFFER, ERIN M.             6/20/2012   11/13/2014    627    0.1033%      $      219.58
SHAMBLEY, JAJUAN M.          2/17/2015    2/25/2015      9    0.0015%      $        8.08
SHARP III, WILLIAM C.         4/2/2013    1/11/2016   1015    0.1672%      $      352.37
SHARP, BRITTANY N.            4/9/2013    5/28/2013     50    0.0082%      $       22.11
SHAW, RYAN                   8/15/2013    5/26/2014    285    0.0469%      $      102.54
SHAW, TRACY                  8/20/2013   10/14/2013     56    0.0092%      $       24.17
SHEFFIELD, AUTUMN M.         8/15/2014    10/5/2014     52    0.0086%      $       22.80
SHEGOG Sr., EDWARD R.        8/12/2014    9/21/2014     41    0.0068%      $       19.03
SHELTON, JEFFRY E.            8/3/2013    9/14/2013     43    0.0071%      $       19.72
SHELTON, M ARGRET A.         4/29/2013    9/28/2013    153    0.0252%      $       57.36
SHEPHERD, ASHLEIGH P.        6/23/2013    7/11/2013     19    0.0031%      $       11.50
SHERRICK, PATRICIA E.        2/19/2013     8/9/2013    166    0.0273%      $       61.81
SHERWOOD, MARY R.           10/29/2014    11/2/2014      5    0.0008%      $        6.71
Shields, Lindsay             10/8/2015    1/11/2016     96    0.0158%      $       37.85
SHIH, AMY W.                 6/16/2015    8/22/2015     68    0.0112%      $       28.27
SHJEFLO, NICOLE             12/11/2014   12/22/2014     12    0.0020%      $        9.11
SHOALS, ELLA                10/17/2013    11/4/2013     19    0.0031%      $       11.50
SHOOP, DUSTIN                10/9/2014   11/17/2014     40    0.0066%      $       18.69
SHULER, STEPHANIE E.          3/9/2015    4/11/2015     34    0.0056%      $       16.64

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 88 of 129 Page ID
                                       #965

SIBLEY, JESSICA L.           3/27/2013     3/3/2015    707    0.1165%      $      246.96
SIDDLE, MICHAELA F.          2/15/2015    1/11/2016    331    0.0545%      $      118.28
SIDES, KAYLA M.              5/15/2015     6/2/2015     19    0.0031%      $       11.50
SILLER, NATHANEAL            6/23/2014   11/17/2015    513    0.0845%      $      180.57
SILVA, NICOLE A.              6/2/2014     6/5/2014      4    0.0007%      $        6.37
SILVER, VALERIE              6/27/2014     7/7/2014     11    0.0018%      $        8.76
SILVERSYEIN, CONNOR G.       7/22/2015    1/11/2016    174    0.0287%      $       64.55
SIMMONS, RONDA L.            7/31/2014    1/11/2016    530    0.0873%      $      186.38
SIMMONS, SHELBY L.           3/25/2014    7/19/2014    117    0.0193%      $       45.04
SIMON, NICHOLAS D.            4/8/2015    4/20/2015     13    0.0021%      $        9.45
SIMON, SAMANTHA E.           5/11/2015     7/3/2015     54    0.0089%      $       23.48
SIMONEAU, GREG J.            8/23/2012    5/23/2014    453    0.0746%      $      160.03
SIMPSON, KATERINA M.         12/3/2012     3/1/2013      5    0.0008%      $        6.71
SIMS, ERICA N.               6/17/2015   11/22/2015    159    0.0262%      $       59.41
SIMS, LAURA M.               6/16/2014     7/8/2014     23    0.0038%      $       12.87
SIMS, RAIAN J.                2/3/2015    5/18/2015    105    0.0173%      $       40.93
SINCLAIR, AMBER N.           12/4/2012    1/11/2016   1051    0.1731%      $      364.69
SINGLETON, ALISHA N.          8/6/2015    1/11/2016    159    0.0262%      $       59.41
SINKANKAS, KARA L.            3/5/2014     3/5/2014      1    0.0002%      $        5.34
SIPLINGER, SARAH M.          6/27/2013   12/26/2013    183    0.0301%      $       67.63
SIPP, SAM                   11/12/2013    4/21/2014    161    0.0265%      $       60.10
SISEMORE, HANNAH J.          1/14/2014     7/1/2014    169    0.0278%      $       62.84
SISTANICH, MERCEDES D.       6/10/2013    6/10/2013      1    0.0002%      $        5.34
SKAGGS, ANDREW E.            9/12/2013    9/20/2013      9    0.0015%      $        8.08
SKELTON, JULIAN Z.           3/11/2013    9/29/2013    203    0.0334%      $       74.47
SKIBA, CYNTHIA               12/8/2015    1/11/2016     35    0.0058%      $       16.98
SKILES, LINDSAY J.           3/19/2015     5/9/2015     52    0.0086%      $       22.80
SKINNER, HEATHER V.          8/31/2015    10/7/2015     38    0.0063%      $       18.00
SKINNER, KARLEE L.            4/9/2013    4/28/2013     20    0.0033%      $       11.84
SKINNER, LEAH S.              9/3/2013    5/24/2014    264    0.0435%      $       95.35
SKIPPER, JEREMY              10/9/2013     6/1/2014    236    0.0389%      $       85.77
SLIVINSKI, DANYELLE L.       4/27/2011    1/11/2016   1051    0.1731%      $      364.69
SLOTT, LINDA R.              4/18/2006    3/10/2013     14    0.0023%      $        9.79
SMALL, SEAN J.                8/6/2013    2/10/2015    554    0.0912%      $      194.60
SMIDDY, JOLYNN M.            3/23/2013     5/1/2013     40    0.0066%      $       18.69
SMILEY, DARION T.            4/13/2014    6/30/2014     79    0.0130%      $       32.04
SMITH KRAUS, ROBERT M.        2/3/2015     3/8/2015     34    0.0056%      $       16.64
SMITH, ALEXA A.              1/10/2013     3/5/2013      9    0.0015%      $        8.08
SMITH, ALEXANDRA A.          6/29/2015    8/10/2015     43    0.0071%      $       19.72
SMITH, AMBER                11/30/2014   12/16/2014     17    0.0028%      $       10.82
SMITH, AMBER M.               6/5/2008    8/12/2014    534    0.0880%      $      187.75
SMITH, AMIE M.                2/7/2015    1/11/2016    339    0.0558%      $      121.02
SMITH, ANDREW J.             4/15/2015    1/11/2016    272    0.0448%      $       98.09
SMITH, BRANDON D.             4/2/2015    8/10/2015    131    0.0216%      $       49.83
SMITH, BRITTNEE              3/16/2015    4/28/2015     44    0.0072%      $       20.06
SMITH, CAYLA                11/25/2014     2/1/2015     69    0.0114%      $       28.61
SMITH, CHERELL M.             2/7/2015     3/3/2015     25    0.0041%      $       13.56

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 89 of 129 Page ID
                                       #966

SMITH, CHEYENNE M.           5/15/2013    5/15/2013     1    0.0002%      $        5.34
SMITH, FLORENCE              3/10/2014    3/23/2014    14    0.0023%      $        9.79
SMITH, HOPE                   1/6/2015    1/11/2016   371    0.0611%      $      131.97
SMITH, JANIS                 3/18/2014     4/8/2014    22    0.0036%      $       12.53
SMITH, JOSHUA J.            11/23/2014    1/11/2016   415    0.0684%      $      147.03
SMITH, JOSHUA T.             7/25/2012     5/9/2015   804    0.1324%      $      280.15
SMITH, KATARZYNA J.          3/28/2007     3/3/2015   737    0.1214%      $      257.23
SMITH, KELSI A.               2/6/2013    3/26/2013    30    0.0049%      $       15.27
SMITH, KEVIN R.              5/25/2015    1/11/2016   232    0.0382%      $       84.40
SMITH, LAKEISHA              12/2/2014   12/15/2014    14    0.0023%      $        9.79
SMITH, LEESA C.             10/30/2013    11/1/2013     3    0.0005%      $        6.03
SMITH, LINDA M.              1/14/2015    3/11/2015    57    0.0094%      $       24.51
SMITH, MICAELA A.            3/11/2013    3/18/2013     8    0.0013%      $        7.74
SMITH, OLEN D.              10/24/2012    4/26/2013    61    0.0100%      $       25.88
SMITH, SARAH                10/16/2012    3/15/2015   749    0.1234%      $      261.33
SMITH, SHAILEE A.            1/29/2015    1/11/2016   348    0.0573%      $      124.10
SMITH, SHAYLA                7/15/2014    1/11/2016   546    0.0899%      $      191.86
SMITH, STEVEN H.              9/2/2013   10/21/2013    50    0.0082%      $       22.11
SMITH, SUTTON N.              6/8/2015    12/1/2015   177    0.0292%      $       65.58
SMITH, TATIANA               6/26/2014    7/28/2014    33    0.0054%      $       16.29
SMITH, TAYLOR               11/22/2013   11/22/2013     1    0.0002%      $        5.34
SMITH, WILLARD L.            1/13/2014    2/12/2014    31    0.0051%      $       15.61
SMITH, ZACKERY A.             7/3/2014   11/17/2015   503    0.0828%      $      177.14
SMITH-BURNS, JARED           5/28/2013    7/19/2013    53    0.0087%      $       23.14
SNEED, KILLIAN A.            2/18/2013    8/17/2013   174    0.0287%      $       64.55
SNELLEN, KARSON R.           4/12/2013    9/14/2013   156    0.0257%      $       58.39
SNIDER, CHAD A.               7/6/2015     9/6/2015    63    0.0104%      $       26.56
SODERBERG, JESSICA M.        3/26/2015    4/21/2015    27    0.0044%      $       14.24
SOLIS, DAKOTA                1/25/2012    5/29/2013    94    0.0155%      $       37.17
SOLTYS, KRISTOFER A.         3/12/2014    1/11/2016   671    0.1105%      $      234.64
SOUTHWORTH, BROOKS           11/8/2013    1/11/2016   795    0.1309%      $      277.07
SPAULDING, JACOB W.          5/23/2014     3/9/2015   291    0.0479%      $      104.59
SPENCE, JUSTIN J.            1/12/2013    3/16/2013    20    0.0033%      $       11.84
SPENCER, TERI J.             1/27/2015    1/11/2016   350    0.0576%      $      124.78
SPERB, KEVIN                  9/9/2014     4/1/2015   205    0.0338%      $       75.16
SPURGEON, JENNIFER P.       12/11/2012    6/13/2013   109    0.0180%      $       42.30
STAGNER, NORMA J.            3/31/2013   12/31/2013   276    0.0455%      $       99.46
STAHL, DARLA D.               3/9/2014    2/19/2015   348    0.0573%      $      124.10
STALEY-GAMBLE, JURI           5/4/2012     4/9/2013    44    0.0072%      $       20.06
STALL, ELIZABETH A.          7/24/2013    2/17/2014   209    0.0344%      $       76.53
STANDARD, HOLLY G.            3/8/2015    3/23/2015    16    0.0026%      $       10.48
STANLEY, JAMIE L.            5/14/2014    9/12/2014   122    0.0201%      $       46.75
STATES, CHANITY B.           8/25/2015    9/27/2015    34    0.0056%      $       16.64
STEED, AVERY R.              2/16/2015    1/11/2016   330    0.0544%      $      117.94
STEEDS, JAMES                12/7/2014     3/4/2015    88    0.0145%      $       35.12
STEELE, ANDREW G.            12/3/2012    3/28/2014   397    0.0654%      $      140.87
STEELE, VICTORIA             8/15/2013    1/12/2015   516    0.0850%      $      181.59

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 90 of 129 Page ID
                                       #967

STEEVES, MOLLY M.            6/19/2014   11/11/2014    146    0.0240%      $       54.97
STEEVES, SETH T.             2/12/2014    8/29/2015    564    0.0929%      $      198.02
STEIN, ERICA N.              8/26/2013    9/29/2014    400    0.0659%      $      141.89
STENSHOEL, CHRISTINA M.      5/24/2014    8/19/2014     88    0.0145%      $       35.12
STEPHENS, JELEESA C.          5/5/2014    6/10/2014     37    0.0061%      $       17.66
STEPHENS, KRISTEN R.         3/20/2013    1/11/2016   1028    0.1693%      $      356.82
STEPHENS, STORMI D.          6/25/2013     7/1/2013      7    0.0012%      $        7.40
STEPHENSON, CHRISTAIN L.      4/8/2014    4/17/2014     10    0.0016%      $        8.42
STERLING, KHAYLA S.           2/4/2015    5/24/2015    110    0.0181%      $       42.65
STETINA, JARROD               6/6/2008    9/24/2014    577    0.0950%      $      202.47
STEVENS, BRITTANY M.          3/5/2015     5/1/2015     58    0.0096%      $       24.85
STEVENS, JENNIFER             9/1/2015    10/5/2015     35    0.0058%      $       16.98
STEWART, BRITTANY L.          1/2/2013    5/22/2013     87    0.0143%      $       34.77
STEWART, DAJAURON             8/8/2014    8/15/2014      8    0.0013%      $        7.74
STEWART, JOHN                 6/6/2014    7/14/2014     39    0.0064%      $       18.35
STEWART, MARIAH L.            2/7/2013    5/20/2013     85    0.0140%      $       34.09
STEWART, MAXWELL J.          4/12/2012    4/14/2014    414    0.0682%      $      146.68
STEWART, SYDNEY T.           8/21/2013    7/24/2014    338    0.0557%      $      120.67
STIEF, CYNTHIA M.            7/29/2014    8/25/2014     28    0.0046%      $       14.58
STILL, JAMI N.               1/27/2015    2/10/2015     15    0.0025%      $       10.13
STILWELL, BRITTANY E.        3/23/2015    4/22/2015     31    0.0051%      $       15.61
STITH, LEO H.                2/18/2014    6/30/2014    133    0.0219%      $       50.52
STOCK, MICHAEL J.           10/24/2013    9/23/2014    335    0.0552%      $      119.65
STODDARD, ASHLEY              1/6/2014     6/3/2014    149    0.0245%      $       55.99
STODDARD, LOREN L.           5/27/2014     7/7/2014     42    0.0069%      $       19.37
STONE, JASON B.             11/18/2013    4/26/2014    160    0.0264%      $       59.76
STONE, TRINA                10/25/2015   11/10/2015     17    0.0028%      $       10.82
STRADFORD, SHANNON L.         2/9/2015     3/9/2015     29    0.0048%      $       14.92
STRICKLAND, ELCID B.          4/4/2014   12/15/2014    256    0.0422%      $       92.61
STROUD, ADAM                  1/6/2015    1/13/2015      8    0.0013%      $        7.74
STRUCKMAN, DAVID J.          5/16/2015    1/11/2016    241    0.0397%      $       87.48
STUART, JEREMY D.             2/3/2015     3/3/2015     29    0.0048%      $       14.92
STUBBS, JAMES R.             1/15/2013    7/29/2013    155    0.0255%      $       58.05
STUDEBAKER, RAMEY D.         8/14/2014    1/11/2016    516    0.0850%      $      181.59
STUESSE, DEVAN M.            10/1/2013   12/23/2013     84    0.0138%      $       33.75
STUKEY, BRAD R.              5/14/2015    6/12/2015     30    0.0049%      $       15.27
STUMP, ERICA                 7/22/2014   10/26/2014     97    0.0160%      $       38.20
STUTSON, MARQUS D.          11/21/2014    1/11/2016    417    0.0687%      $      147.71
SUGGS, MAKANDA M.            8/15/2013    5/17/2014    276    0.0455%      $       99.46
SULJKANOVIC, SENADA          7/31/2014   12/22/2014    145    0.0239%      $       54.62
SULLIVAN, ASHLYN B.          7/23/2012    8/13/2013    170    0.0280%      $       63.18
SULLIVAN, LISSETTE          10/20/2010    4/19/2013     54    0.0089%      $       23.48
Sumahit, Andrew R.           9/29/2015   11/24/2015     57    0.0094%      $       24.51
SUMMERS, JOHN                5/30/2012    8/11/2014    533    0.0878%      $      187.41
SUMMERS, MEGAN A.            9/30/2014   10/29/2014     30    0.0049%      $       15.27
SUMMERS, MICHAEL G.          3/24/2014    7/21/2014    120    0.0198%      $       46.07
SURAK, PHILLIP C.            4/29/2014    1/20/2015    267    0.0440%      $       96.38

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 91 of 129 Page ID
                                       #968

SURBER, LARISSA             11/13/2013    3/10/2014    118    0.0194%      $       45.38
SURRATT, TODD E.             8/20/2007    1/11/2016   1051    0.1731%      $      364.69
SUTTER, TIMOTHY R.           5/14/2015    1/11/2016    243    0.0400%      $       88.16
SUTTLES, BILLI M.            8/10/2015   10/12/2015     64    0.0105%      $       26.90
SUTTON, BRITTANY N.          4/18/2014    6/10/2014     54    0.0089%      $       23.48
SUTTON, JEFFREY C.          10/28/2012     6/1/2013     97    0.0160%      $       38.20
SUTTON, PATRICIA R.         12/22/2014    2/24/2015     65    0.0107%      $       27.25
SUTTON, SARA J.              2/16/2015    3/18/2015     31    0.0051%      $       15.61
SWAIN, MARYANNE B.           5/21/2015    7/21/2015     62    0.0102%      $       26.22
SWANIGAN, KIARA              7/29/2014    3/11/2015    226    0.0372%      $       82.34
SWANSON, ASHLEY R.           4/13/2015   10/26/2015    197    0.0324%      $       72.42
SWANSON, MICHAEL A.          8/14/2013    3/24/2014    223    0.0367%      $       81.32
SWEET, COURTNEY D.            4/3/2015    1/11/2016    284    0.0468%      $      102.19
Swierczek, Meeghan          10/16/2015    1/11/2016     88    0.0145%      $       35.12
SWINNEY, ASHLEY D.           5/29/2015    8/15/2015     79    0.0130%      $       32.04
SWON, MEGHAN C.              3/17/2015    1/11/2016    301    0.0496%      $      108.01
SYMON, NICHOLAS R.           7/13/2010    4/21/2013     56    0.0092%      $       24.17
SZEWCZYK, MATTHEW             8/6/2002    5/17/2014    447    0.0736%      $      157.98
TAFT, REGAN W.              11/25/2013    4/14/2014    141    0.0232%      $       53.25
TAHDOOAHNIPPAH,              7/11/2013    8/24/2013
ALEXANDRYA                                              45    0.0074%      $       20.40
TAHIMIC, BRYAN N.           10/29/2014    3/15/2015    138    0.0227%      $       52.23
TAKALA, ALLISON M.           7/21/2014    9/13/2014     55    0.0091%      $       23.82
TAMMONS, CONSTANCE M.         7/3/2014    7/18/2014     16    0.0026%      $       10.48
TANDY, KAYLA L.              1/15/2014    4/21/2014     97    0.0160%      $       38.20
TANNAHILL, RHIANNON C.       4/23/2013     6/7/2013     46    0.0076%      $       20.74
TANNER, CHELSEA L.           6/14/2013     7/3/2013     20    0.0033%      $       11.84
TAPIA, MARIA                 6/14/2014    6/22/2014      9    0.0015%      $        8.08
TATAREK, CAITLIN M.          5/20/2014   12/22/2014    217    0.0357%      $       79.26
TATE, MARY E.                4/14/2014    7/31/2014    109    0.0180%      $       42.30
TATE, TACARA L.               2/3/2015    7/26/2015    174    0.0287%      $       64.55
TATOM, ASHLEY L.             9/21/2014    1/11/2016    478    0.0787%      $      168.59
TAYLOR, AARON S.             4/13/2015    7/12/2015     91    0.0150%      $       36.14
TAYLOR, ANDREA P.            11/4/2014   12/15/2014     42    0.0069%      $       19.37
TAYLOR, ASHLEY M.            7/22/2014    8/11/2014     21    0.0035%      $       12.19
TAYLOR, BRIA                  8/4/2014    7/19/2015    350    0.0576%      $      124.78
TAYLOR, CLAYTON A.            4/8/2015    6/30/2015     84    0.0138%      $       33.75
TAYLOR, ELAINA C.            7/22/2013     9/4/2013     45    0.0074%      $       20.40
TAYLOR, ELISABETH M.         2/19/2014     8/2/2014    165    0.0272%      $       61.47
TAYLOR, EMILY J.             5/21/2015    1/11/2016    236    0.0389%      $       85.77
TAYLOR, ERIC                 7/10/2014    11/2/2014    116    0.0191%      $       44.70
TAYLOR, GABRIEL P.            7/9/2014    3/15/2015    250    0.0412%      $       90.56
TAYLOR, HANNAH L.             8/6/2015    11/9/2015     96    0.0158%      $       37.85
TAYLOR, HANNAH L.             3/5/2014    1/11/2016    678    0.1117%      $      237.03
TAYLOR, JOSHUA P.             4/3/2015    5/26/2015     54    0.0089%      $       23.48
TAYLOR, MADELINE             8/15/2011    8/23/2014    545    0.0898%      $      191.52
Taylor, Renee               10/30/2015   11/22/2015     24    0.0040%      $       13.21

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 92 of 129 Page ID
                                       #969

TAYLOR, TY R.                2/19/2013    3/17/2013    21    0.0035%      $       12.19
TAYLOR, WONDER Y.             4/4/2012   10/16/2013   234    0.0385%      $       85.08
TECH, KEVIN A.               3/15/2013    6/16/2014   459    0.0756%      $      162.08
TEEHEE, JADEA                5/19/2015    1/11/2016   238    0.0392%      $       86.45
TEETERS, ALEXIS N.           1/27/2014    5/11/2014   105    0.0173%      $       40.93
TEMPLE, MICHAEL T.           3/29/2011     4/7/2014   407    0.0670%      $      144.29
TERRELL, REBECCA L.          4/13/2013   10/21/2013   192    0.0316%      $       70.71
TERRY, IAN E.                3/13/2014    10/3/2014   205    0.0338%      $       75.16
TETRAULT, CHELSEA L.         4/14/2011     4/7/2014   407    0.0670%      $      144.29
TETRAULT, RENEE N.           8/10/2009     4/8/2013    43    0.0071%      $       19.72
Thackery, Kristen           11/25/2015    1/11/2016    48    0.0079%      $       21.43
THELEN, BRENNA                6/2/2015     6/6/2015     5    0.0008%      $        6.71
THOMAS, RAVEN                11/6/2014    9/21/2015   320    0.0527%      $      114.51
THOMAS, SARAH R.             2/11/2014     3/3/2014    21    0.0035%      $       12.19
THOMAS, SHELBY T.            9/30/2015    9/30/2015     1    0.0002%      $        5.34
THOMAS, TARYN               11/18/2015    1/11/2016    55    0.0091%      $       23.82
THOMPSON, DAKOTA              2/9/2012     5/6/2013    71    0.0117%      $       29.30
THOMPSON, JELANEE A.         1/28/2013     4/8/2013    43    0.0071%      $       19.72
THOMPSON, KYLAR D.           5/29/2013    3/22/2014   298    0.0491%      $      106.99
THOMPSON, WHITTNEY N.         3/6/2013    7/15/2015   862    0.1420%      $      300.00
THOMPSON, ZACHARY J.          6/2/2015    6/17/2015    16    0.0026%      $       10.48
THORNBURG, SYDNEE R.         3/27/2015     5/7/2015    42    0.0069%      $       19.37
THORPE, THY N.              11/26/2013    2/12/2014    79    0.0130%      $       32.04
THORTON, DANIELLE E.         1/27/2014    5/10/2014   104    0.0171%      $       40.59
TIBBS, AMBER M.              6/25/2013    7/29/2013    35    0.0058%      $       16.98
TIDD, JESSICA A.             5/14/2013    6/28/2013    46    0.0076%      $       20.74
TIDWELL, KAYLIE M.           1/13/2014    5/17/2014   125    0.0206%      $       47.78
TIGRETT, ALEXIS M.           7/24/2013     6/3/2014   315    0.0519%      $      112.80
Tilton, Allyson             11/10/2015    1/11/2016    63    0.0104%      $       26.56
TIMKO, APRIL                 9/11/2002    8/14/2014   536    0.0883%      $      188.44
TIMM, GRANT A.               1/18/2013    1/13/2014   323    0.0532%      $      115.54
TINGLE, MATTHEW I.          11/13/2013   12/25/2013    43    0.0071%      $       19.72
TODD, DAISHA                 1/20/2014    1/21/2014     2    0.0003%      $        5.68
TOLEDO, SHIRLEY             10/16/2012    4/28/2013    63    0.0104%      $       26.56
Tolson, Amber                11/8/2015    1/11/2016    65    0.0107%      $       27.25
TOMAS, BRENDA                 9/5/2015   10/11/2015    37    0.0061%      $       17.66
TONINI, LAUREN E.            11/1/2011     8/9/2015   896    0.1476%      $      311.64
TONINI, MICHAEL P.           8/25/2014    12/6/2015   469    0.0772%      $      165.51
TORRES, ANNA M.              2/25/2014    4/18/2014    53    0.0087%      $       23.14
TORRES, DULCE J.             7/17/2014    7/17/2014     1    0.0002%      $        5.34
TORRES, FRANCISCA            1/15/2015    1/11/2016   362    0.0596%      $      128.89
TORRES, MANUEL                2/8/2014    2/20/2014    13    0.0021%      $        9.45
TORRES, MIGUEL               8/12/2014   12/19/2014   130    0.0214%      $       49.49
TORRES, MIGUEL A.            8/12/2014     3/9/2015   210    0.0346%      $       76.87
TORREZ, HILDA V.             5/30/2007     7/6/2015   862    0.1420%      $      300.00
TOTTY, AARON R.              3/23/2015     9/8/2015   170    0.0280%      $       63.18
TOWNSEND, ASHLEE D.           6/4/2014     6/5/2014     2    0.0003%      $        5.68

                                                            Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 93 of 129 Page ID
                                       #970

TOWNSEND, JOSEPH E.          7/28/2014    7/31/2014      4    0.0007%      $        6.37
Townsend, Molli L.          10/23/2015    1/11/2016     81    0.0133%      $       32.72
TRACEY, JOHN                 8/17/2014   11/13/2014     89    0.0147%      $       35.46
TRAN, CHRISTINA M.           11/1/2011    1/11/2016   1051    0.1731%      $      364.69
TRAUTMANN, SAMANTHA J.       7/16/2013    8/26/2013     42    0.0069%      $       19.37
TRAYLOR, ALEXIS M.           7/23/2013    9/21/2014    426    0.0702%      $      150.79
TRAYLOR, DACEMBER            11/8/2013   11/13/2013      6    0.0010%      $        7.05
TRENT, JOSHUA T.             9/21/2015    1/11/2016    113    0.0186%      $       43.67
TRESSLAR, JOHN T.             6/5/2014    8/16/2014     73    0.0120%      $       29.98
TRICE, TATIONA D.            6/30/2014    4/28/2015    303    0.0499%      $      108.70
TRIMBLE, LINSDAY K.          1/16/2015    9/29/2015    257    0.0423%      $       92.95
TRIPLETT, TREVONAH T.        3/26/2015    4/22/2015     28    0.0046%      $       14.58
TROSKE, JOHN T.             11/29/2012    7/30/2014    521    0.0858%      $      183.30
TUBBS, ADAM S.               8/22/2013    9/16/2013     26    0.0043%      $       13.90
TUBBS, SUSAN                 4/11/1995    1/11/2016   1051    0.1731%      $      364.69
TUCKER, DERRICK A.           7/29/2013   12/11/2013    136    0.0224%      $       51.54
TUCKER, PAYTON A.            7/24/2013    1/11/2016    902    0.1486%      $      313.69
TUCKER, REX A.              12/10/2012     9/9/2013    197    0.0324%      $       72.42
TUDOR, KEVIN M.              6/21/2013    7/19/2013     29    0.0048%      $       14.92
TUGGLE, DUSTIN J.            8/19/2015    8/29/2015     11    0.0018%      $        8.76
TURNAGE, SHELLY              12/9/2014     3/4/2015     86    0.0142%      $       34.43
TURNER, AMBER C.             2/11/2013    2/25/2013      1    0.0002%      $        5.34
TURNER, BRYSON M.            3/10/2015    8/10/2015    154    0.0254%      $       57.70
TURNER, CORY                11/11/2012    11/9/2013    258    0.0425%      $       93.30
TURNER, JOSHUA B.            2/24/2014     5/3/2014     69    0.0114%      $       28.61
TURPIN, MELISSA D.            6/9/2014    7/24/2014     46    0.0076%      $       20.74
TUSSEY, VICTORIA T.           5/5/2014     5/9/2014      5    0.0008%      $        6.71
TWO SONGS-MILLER, WYATT       6/9/2013    8/12/2013
A.                                                      65    0.0107%      $       27.25
TYLER, BRIGETTE              5/28/2014    5/28/2014      1    0.0002%      $        5.34
UHLEY, JENNIFER L.           2/13/2014    2/28/2014     16    0.0026%      $       10.48
UNDERWOOD, BRITTANY D.       2/16/2015    5/18/2015     92    0.0152%      $       36.49
UNDERWOOD, CRAIG M.           8/3/2015    1/11/2016    162    0.0267%      $       60.44
UNDERWOOD, GREGORY L.        8/21/2012    9/23/2013    211    0.0348%      $       77.21
UPHOLD, SIERRA N.             6/8/2015    6/29/2015     22    0.0036%      $       12.53
URBAN, MARGARET J.           4/10/2012    1/11/2016   1051    0.1731%      $      364.69
URBAN, VICTORIA P.            1/7/2013    2/18/2014    359    0.0591%      $      127.86
URSIC, JENNIFER              1/30/2012     8/6/2013    163    0.0268%      $       60.78
URTON, JOANNA               11/17/2015    1/11/2016     56    0.0092%      $       24.17
USTINOV, ULAH G.              6/1/2015    1/11/2016    225    0.0371%      $       82.00
VACA, CHRISTIAN A.           3/24/2013    4/20/2013     28    0.0046%      $       14.58
VALDERRAMA, SIMON             9/7/2013    9/10/2013      4    0.0007%      $        6.37
VALLEJO, JORGE M.            8/20/2013    9/23/2013     35    0.0058%      $       16.98
VANDEVORT, CHRISTINE E.      5/16/2013    7/22/2014    433    0.0713%      $      153.19
VANDIVER, ANGELA K.          6/24/2013    7/30/2013     37    0.0061%      $       17.66
VANFOSSEN, DAWN               3/5/2013    4/30/2013     57    0.0094%      $       24.51
VANN, JACOB B.               11/1/2014   11/30/2014     30    0.0049%      $       15.27

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 94 of 129 Page ID
                                       #971

VANVOLKINBURG, BRADEN       10/15/2013    2/23/2014    132    0.0217%      $       50.17
VARGA, JASON P.              4/13/2013    3/13/2014    335    0.0552%      $      119.65
VARNER, ADAM S.               6/5/2010    1/11/2016   1051    0.1731%      $      364.69
VARNER, GREGORY N.            3/9/2013    4/10/2013     33    0.0054%      $       16.29
VAUGHN, DEMOND O.            3/27/2013     4/8/2014    378    0.0623%      $      134.36
VAUGHN, DION E.              7/18/2013    8/19/2013     33    0.0054%      $       16.29
VAWTER, MELISSA              4/16/2013    10/1/2013    169    0.0278%      $       62.84
VAZQUES, KEVIN Y.            7/28/2015    1/11/2016    168    0.0277%      $       62.50
VEAL, AARON D.               9/22/2015    1/11/2016    112    0.0184%      $       43.33
VEGA, JALINA                  1/8/2011     5/4/2013     69    0.0114%      $       28.61
VENABLE, KEIFER              8/15/2013    8/26/2013     12    0.0020%      $        9.11
VENNE, JAYME L.              8/18/2014    2/17/2015    184    0.0303%      $       67.97
VERBLE, CHACE N.              1/5/2013    1/13/2014    323    0.0532%      $      115.54
VERGIN, ZACHARY I.           4/15/2013    11/6/2014    571    0.0940%      $      200.41
VICK, KEITH                  5/27/2014     7/7/2014     42    0.0069%      $       19.37
VILLA, REYNA                 4/20/2015    10/6/2015    170    0.0280%      $       63.18
VINKLER, NATHAN D.           6/18/2013     8/1/2013     45    0.0074%      $       20.40
VINYARD, JOSIE M.             6/4/2013   12/23/2013    203    0.0334%      $       74.47
VIRUET, MAYRA I.              8/7/2014    8/17/2014     11    0.0018%      $        8.76
VOGELPOHL, NICHOLAS E.        3/2/2015    1/11/2016    316    0.0520%      $      113.15
VOGT, MATT                  11/29/2012     7/5/2013    131    0.0216%      $       49.83
VOGT, MEGAN N.              11/30/2012   12/23/2013    302    0.0497%      $      108.35
VOLZ, JANIA L.                1/6/2015    4/23/2015    108    0.0178%      $       41.96
VON BOKEL, LISA               5/1/2012    5/26/2013     91    0.0150%      $       36.14
VOTAW, STEVE M.               4/2/2013   10/11/2013    193    0.0318%      $       71.05
VU, JIMMY                    6/22/2015   12/11/2015    173    0.0285%      $       64.21
WADDELL, ADAM C.             8/18/2014    10/9/2014     53    0.0087%      $       23.14
WADE, AMBER M.               4/28/2015    4/29/2015      2    0.0003%      $        5.68
WADE, COREY F.                4/6/2015    1/11/2016    281    0.0463%      $      101.17
WADE, DEVONA L.              11/6/2012    1/11/2016   1051    0.1731%      $      364.69
WADE, HARRISON T.            7/24/2015    1/11/2016    172    0.0283%      $       63.86
WADE, MISTI R.               8/12/2014   10/17/2014     67    0.0110%      $       27.93
WADLEY, ASHLYN M.            9/14/2015    9/20/2015      7    0.0012%      $        7.40
WADLEY, BRAXTON M.           11/4/2015   11/29/2015     26    0.0043%      $       13.90
WAGNER, ERIC P.              1/11/2015    1/11/2015      1    0.0002%      $        5.34
WAGNER, PAIGE M.             4/28/2015     6/6/2015     40    0.0066%      $       18.69
WAHLGREN, ALEXANDER          12/2/2014    1/11/2016    406    0.0669%      $      143.95
WAHLGREN, BRENNAN K.        11/20/2012    1/11/2016   1051    0.1731%      $      364.69
WALBECK, BRANDON C.          1/27/2015    1/11/2016    350    0.0576%      $      124.78
WALKER, ABIGAIL              7/12/2013    2/15/2014    219    0.0361%      $       79.95
WALKER, CHANCE C.            9/21/2013   10/19/2013     29    0.0048%      $       14.92
WALKER, CHRISTINA A.         8/22/2013    9/14/2013     24    0.0040%      $       13.21
WALKER, SAMANTHA M.          2/19/2014    3/21/2014     31    0.0051%      $       15.61
WALKER, SAXXON B.             7/3/2013     7/3/2013      1    0.0002%      $        5.34
WALKER, TAMMI                7/19/2013     9/4/2013     48    0.0079%      $       21.43
WALLACE, ALVIN               10/5/2013    10/8/2013      4    0.0007%      $        6.37
WALLACE, TOMMY                3/6/2014     9/5/2015    549    0.0904%      $      192.89

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 95 of 129 Page ID
                                       #972

WALLENBERG, HEATHER L.       3/14/2015     4/6/2015     24    0.0040%      $       13.21
WALLER, COREY M.             5/29/2012     7/5/2013    131    0.0216%      $       49.83
WALLER, ZACHARY              5/15/2012   11/22/2014    636    0.1048%      $      222.66
WALSH, MICHELLE              7/29/2014     8/7/2014     10    0.0016%      $        8.42
WALTEMATE, ANNA R.           4/16/2015    4/16/2015      1    0.0002%      $        5.34
WALTON, LATRICE A.           3/19/2015    5/10/2015     53    0.0087%      $       23.14
Walton, Sheldon T.          10/21/2015    1/11/2016     83    0.0137%      $       33.41
WAND, TARA L.                5/15/2013   10/13/2013    152    0.0250%      $       57.02
WANN, SHELIA L.             11/21/2014   11/30/2014     10    0.0016%      $        8.42
WARD, JAECEE R.              6/23/2009   11/18/2013    267    0.0440%      $       96.38
WARD, JOHNNY C.              6/24/2013    9/29/2013     98    0.0161%      $       38.54
WARD, STEVEN M.              7/12/2013     8/4/2013     24    0.0040%      $       13.21
WARE, AMY                    7/27/2004    1/11/2016   1051    0.1731%      $      364.69
WARMBOLD, MITCHELL T.        6/25/2013     3/9/2015    623    0.1026%      $      218.21
WARMBOLD, ZACHARY S.          6/5/2010    7/26/2014    517    0.0852%      $      181.93
WASHBURN, ERIN K.            8/12/2014    9/11/2014     31    0.0051%      $       15.61
WASHINGTON, KAYLA K.          1/3/2013    3/26/2013     30    0.0049%      $       15.27
WASHINGTON, LEIGHSHLA F.     3/17/2015    4/21/2015     36    0.0059%      $       17.32
WASHINGTON, SHAMEKA M.        3/5/2015     5/1/2015     58    0.0096%      $       24.85
WASSERZIENER, KATHRYN L.     7/29/2013    7/29/2013      1    0.0002%      $        5.34
WATKINS, BRETT A.            3/19/2013     6/8/2013     82    0.0135%      $       33.06
WATKINS, TAJHA M.             4/6/2015     4/9/2015      4    0.0007%      $        6.37
WATSON, BRITTNEY B.           7/8/2015    7/27/2015     20    0.0033%      $       11.84
WATSON, CHANCE A.             1/1/2013    7/21/2013    147    0.0242%      $       55.31
WATSON, JESSICA               9/5/2015    1/11/2016    129    0.0212%      $       49.15
WATSON, JIANA N.             3/11/2013    4/19/2013     40    0.0066%      $       18.69
WATSON, MARCUS              12/18/2013    4/24/2014    128    0.0211%      $       48.81
WATSON, MARCUS               5/19/2013    8/12/2014    451    0.0743%      $      159.35
WATSON, MAXWELL T.           1/21/2014     6/1/2014    132    0.0217%      $       50.17
WATSON, TYLER R.             3/24/2015    1/11/2016    294    0.0484%      $      105.62
WEBER, JESSICA A.             8/5/2014    8/29/2014     25    0.0041%      $       13.56
WEBER, LEXI                  7/13/2015    1/11/2016    183    0.0301%      $       67.63
WEBER, MICHAEL J.             7/3/2014     2/9/2015    222    0.0366%      $       80.98
WEDEL, JEANNE M.             9/30/2011    1/11/2016   1051    0.1731%      $      364.69
WEHBA, BLEEK E.              4/12/2013    4/14/2013      3    0.0005%      $        6.03
Wehlermann, Joseph C.        11/4/2015    1/11/2016     69    0.0114%      $       28.61
WEIESNBACH, AMBER            3/27/2014     4/7/2014     12    0.0020%      $        9.11
WEINHAUS, LEVI G.            5/19/2013    3/15/2015    666    0.1097%      $      232.93
WEIR, JOSHUA L.              8/24/2011    7/29/2014    520    0.0856%      $      182.96
WEIS, SUZETTE               11/14/2012   12/30/2013    309    0.0509%      $      110.75
WEISMAN, ALEXANDER W.        11/5/2014    12/2/2014     28    0.0046%      $       14.58
WELLS, DOMINIQUE S.         12/23/2014    6/28/2015    188    0.0310%      $       69.34
WELLS, JOHN F.               2/13/2015     6/2/2015    110    0.0181%      $       42.65
WELSCH, MARY R.              7/11/2013   10/15/2013     97    0.0160%      $       38.20
WEST, EMILY R.               12/5/2014    6/15/2015    193    0.0318%      $       71.05
WEST, GEORGE W.              2/11/2014     4/7/2014     56    0.0092%      $       24.17
WEST, ROBERT A.              6/19/2013    10/2/2013    106    0.0175%      $       41.28

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 96 of 129 Page ID
                                       #973

WESTERN, AMANDA              6/24/2015    6/25/2015      2    0.0003%      $        5.68
WESTERN, CRYSTAL M.           3/5/2015    4/20/2015     47    0.0077%      $       21.08
WESTON, KAYLA B.             8/19/2014    9/14/2015    392    0.0646%      $      139.16
WHALEY, EVAN                 3/19/2007   12/28/2013    307    0.0506%      $      110.07
WHEAT, JEFFREY M.            6/18/2014    9/23/2014     98    0.0161%      $       38.54
WHEELER, JOSHUA L.           12/4/2013   12/25/2013     22    0.0036%      $       12.53
WHEELER, REED J.             4/15/2015     6/7/2015     54    0.0089%      $       23.48
WHEELER, ROSS                6/29/2007    1/11/2016   1051    0.1731%      $      364.69
WHISENAND, LEAH A.            2/9/2006    2/24/2015    730    0.1202%      $      254.83
WHITAKER, COLE M.            8/14/2012     6/9/2013    105    0.0173%      $       40.93
WHITAKER, DOMINQUE L.         9/2/2013     4/7/2014    218    0.0359%      $       79.61
WHITE, BRIAN C.              1/12/2015    5/15/2015    124    0.0204%      $       47.44
WHITE, CONNER L.             3/17/2015    9/14/2015    182    0.0300%      $       67.29
WHITE, JAMES L.              7/13/2015    1/11/2016    183    0.0301%      $       67.63
WHITE, LACY M.                6/3/2015    7/27/2015     55    0.0091%      $       23.82
WHITE, RICHARD D.            4/15/2015    1/11/2016    272    0.0448%      $       98.09
WHITE, RONALD J.              4/4/2014    5/30/2014     57    0.0094%      $       24.51
WHITE, TAYLOR E.             5/13/2014    10/7/2014    148    0.0244%      $       55.65
WHITE, TORREY L.             3/11/2015    8/10/2015    153    0.0252%      $       57.36
WHITLEY, CORTNEY R.          2/25/2014    5/24/2014     89    0.0147%      $       35.46
WHITMAN, RUTHIE K.           3/26/2015     4/8/2015     14    0.0023%      $        9.79
WHITNEY, CASEY W.            12/4/2013   12/20/2013     17    0.0028%      $       10.82
WHITTEMORE, KARYN M.         4/30/2012    9/14/2015    932    0.1535%      $      323.96
WHITWORTH, KURISSA D.        4/21/2013     5/5/2013     15    0.0025%      $       10.13
WICH, RACHEL                 9/21/2009    9/23/2014    576    0.0949%      $      202.13
WIGGINS, EMILY C.             9/3/2009    6/30/2014    491    0.0809%      $      173.04
WIGGINS, JOSHUA T.           9/10/2014    2/12/2015    156    0.0257%      $       58.39
WILBERFORCE, JOANA           7/13/2010    1/11/2016   1051    0.1731%      $      364.69
WILCOX, FRANK C.            10/28/2009    1/11/2016   1051    0.1731%      $      364.69
WILEY, BRITTANY D.           5/31/2013    6/10/2013     11    0.0018%      $        8.76
WILEY, JUSTIN                12/8/2014   12/12/2014      5    0.0008%      $        6.71
WILKEN, JACOB M.             8/23/2012    9/24/2013    212    0.0349%      $       77.55
WILKEN, JEREMY T.           10/25/2012    9/10/2013    198    0.0326%      $       72.76
WILKEN, KYLI                12/30/2014   12/21/2015    357    0.0588%      $      127.18
WILKEN, KYLI N.               4/8/2013     8/9/2014    489    0.0805%      $      172.35
WILKERSON, DONTE M.          6/12/2013    6/20/2013      9    0.0015%      $        8.08
WILKINS, DARION              4/10/2013     7/1/2013     83    0.0137%      $       33.41
WILL, ZACHARY M.             8/21/2012     5/7/2013     72    0.0119%      $       29.64
WILLARD, DALTON              6/10/2014     1/7/2016    577    0.0950%      $      202.47
WILLIAMS III, THOMAS E.      2/16/2015     6/2/2015    107    0.0176%      $       41.62
WILLIAMS Jr., KEITH A.       4/11/2012   10/15/2014    598    0.0985%      $      209.66
WILLIAMS, ADAM E.            11/1/2013   12/14/2013     44    0.0072%      $       20.06
WILLIAMS, ANDRE R.            4/4/2014    5/30/2014     57    0.0094%      $       24.51
WILLIAMS, ASHLEE A.          8/25/2014   12/29/2014    127    0.0209%      $       48.46
WILLIAMS, BENJAMIN C.         7/6/2011   12/16/2013    295    0.0486%      $      105.96
WILLIAMS, BRANDON L.          2/7/2014    5/13/2014     96    0.0158%      $       37.85
WILLIAMS, CASSANDRA           3/2/2015    8/26/2015    178    0.0293%      $       65.92

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 97 of 129 Page ID
                                       #974

WILLIAMS, DARCIE J.           2/3/2015    7/26/2015    174    0.0287%      $       64.55
WILLIAMS, DEJA S.             5/6/2015   12/12/2015    221    0.0364%      $       80.63
WILLIAMS, DELICIA S.         3/14/2013     5/4/2013     52    0.0086%      $       22.80
WILLIAMS, ELIZABETH D.       8/24/2010    7/22/2014    513    0.0845%      $      180.57
WILLIAMS, EMILY C.            2/3/2015    3/23/2015     49    0.0081%      $       21.77
WILLIAMS, JAMES D.            9/7/2015   12/13/2015     98    0.0161%      $       38.54
WILLIAMS, JAWANNA M.          9/4/2013    11/6/2013     64    0.0105%      $       26.90
WILLIAMS, JESSICA L.          6/2/2014     6/6/2014      5    0.0008%      $        6.71
WILLIAMS, JESSICA M.         2/27/2013    3/30/2014    397    0.0654%      $      140.87
WILLIAMS, KAMLAH D.         12/22/2014    2/24/2015     65    0.0107%      $       27.25
WILLIAMS, KOURTNEY E.        5/21/2015    1/11/2016    236    0.0389%      $       85.77
WILLIAMS, KRYSTA L.          11/4/2015     1/1/2016     59    0.0097%      $       25.19
WILLIAMS, MAURENZO           7/22/2014   12/22/2014    154    0.0254%      $       57.70
WILLIAMS, MELVIN              3/6/2013   11/26/2013    266    0.0438%      $       96.03
WILLIAMS, MORGAN O.          6/21/2014    4/24/2015    308    0.0507%      $      110.41
WILLIAMS, NATHANIEL C.       2/21/2011    1/11/2016   1051    0.1731%      $      364.69
WILLIAMS, SAMANTHA J.        5/31/2011    3/23/2014    392    0.0646%      $      139.16
WILLIAMS, STEPHANIE D.       8/10/2012    5/21/2013     86    0.0142%      $       34.43
WILLIAMS, XAVIER M.           5/7/2014    1/11/2016    615    0.1013%      $      215.47
WILLIAMSON, KEVIN C.        11/21/2013   12/24/2013     34    0.0056%      $       16.64
WILLIE, LAUREN M.           10/28/2008   10/30/2015    978    0.1611%      $      339.70
WILLIS Jr., BRIAN K.          6/3/2014     7/1/2014     29    0.0048%      $       14.92
WILLIS, MORGAN L.            11/9/2013    6/13/2015    582    0.0959%      $      204.18
WILLOUGHBY, JEREMNY R.       6/10/2015   11/21/2015    165    0.0272%      $       61.47
WILSON, BRANDI Z.             7/9/2014     7/1/2015    358    0.0590%      $      127.52
WILSON, JESSICA              2/22/2007    6/16/2013    112    0.0184%      $       43.33
WILSON, JESSICA              1/15/2015    7/26/2015    193    0.0318%      $       71.05
WILSON, JOHN                10/12/2013   11/16/2013     36    0.0059%      $       17.32
WILSON, JORDEN L.            6/19/2014     3/9/2015    264    0.0435%      $       95.35
WILSON, KAITLIN R.           1/19/2014    1/21/2014      3    0.0005%      $        6.03
WILSON, LETHA                9/30/2014    12/2/2014     64    0.0105%      $       26.90
WILSON, NATHANIEL D.         4/22/2014    4/29/2014      8    0.0013%      $        7.74
WILSON, QUINTELL J.          3/29/2013     9/2/2013    158    0.0260%      $       59.07
WILSON, SPENCER C.            2/4/2015    1/11/2016    342    0.0563%      $      122.04
WINCHELL, STEPHANIE K.       8/12/2013    2/14/2014    187    0.0308%      $       69.00
WINEGANER, DANIELLE          8/18/2013    3/23/2015    583    0.0960%      $      204.52
WINGENBACH, JESSICA L.       8/13/2015    1/11/2016    152    0.0250%      $       57.02
WINTERS, AMANDA M.          10/11/2012    10/1/2013    219    0.0361%      $       79.95
WINTERS, KYLE                2/22/2012     5/5/2014    435    0.0716%      $      153.87
WISNER, LACEY L.             4/16/2013     5/1/2013     16    0.0026%      $       10.48
WITHERS, KALEY                2/6/2014    1/11/2016    705    0.1161%      $      246.27
WITHROW, RANDY              11/15/2012   12/28/2014    672    0.1107%      $      234.98
WITT, CODY A.               11/14/2011    3/31/2015    765    0.1260%      $      266.81
WITT, KATARINA               1/29/2014     2/9/2014     12    0.0020%      $        9.11
WITTEN, COLBY M.             1/20/2015    3/24/2015     64    0.0105%      $       26.90
WOELBLING, RICHARD W.        10/1/2014    1/19/2015    111    0.0183%      $       42.99
WOELFEL, BRETT N.             4/4/2014    6/13/2014     71    0.0117%      $       29.30

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 98 of 129 Page ID
                                       #975

WOHLDMANN, SARA              12/5/2014     4/7/2015    124    0.0204%      $       47.44
WOHLGEMUTH, VICTORIA A.     12/20/2014    4/13/2015    115    0.0189%      $       44.36
WOLDRIDGE, WHITNEY K.        8/22/2013     9/9/2013     19    0.0031%      $       11.50
WOLFE, LAUREN R.              3/4/2014    3/31/2014     28    0.0046%      $       14.58
WOLK, JOSHUA W.              4/28/2013     4/6/2014    344    0.0567%      $      122.73
WOOD, LAUREN E.               7/8/2014    1/11/2016    553    0.0911%      $      194.25
WOOD, MEGHANN                 7/7/2015    12/4/2015    151    0.0249%      $       56.68
WOOD, NIKOLAS L.             11/6/2012    5/21/2013     86    0.0142%      $       34.43
WOOD, REBECCA (SPENCER)      3/20/2012    11/2/2013    251    0.0413%      $       90.90
WOODS, CARMEN                12/4/2015    12/7/2015      4    0.0007%      $        6.37
WOOLVERTON, MICHAEL A.      10/18/2014    6/29/2015    255    0.0420%      $       92.27
WORRELL, ZACHARY R.           4/1/2015     7/6/2015     97    0.0160%      $       38.20
WRIGHT, APRIL I.              5/9/2013    7/19/2015    802    0.1321%      $      279.47
WRIGHT, BRANDON N.            6/5/2013    7/21/2014    412    0.0679%      $      146.00
WRIGHT, CASEY M.              9/8/2015    1/11/2016    126    0.0208%      $       48.12
WRIGHT, DAVID L.            12/20/2012    5/24/2013     89    0.0147%      $       35.46
WRIGHT, DESTINIE D.         11/17/2014    1/11/2016    421    0.0693%      $      149.08
WRIGHT, EVAN                10/14/2015    1/11/2016     90    0.0148%      $       35.80
WRIGHT, GARY D.              4/29/2014    5/20/2014     22    0.0036%      $       12.53
WRIGHT, JACKLYN M.           7/11/2012    5/10/2013     75    0.0124%      $       30.67
WRIGHT, JAMIE K.             7/13/2015    9/27/2015     77    0.0127%      $       31.35
WRIGHT, JESSE R.              1/7/2013    3/15/2013     19    0.0031%      $       11.50
WRIGHT, JUSTIN A.            4/10/2013     4/6/2014    362    0.0596%      $      128.89
WRIGHT, KRYSTAL               1/4/2015    1/11/2016    373    0.0614%      $      132.65
WRIGHT, MARGARET A.           4/9/2012    1/11/2016   1051    0.1731%      $      364.69
WRIGHT, STEVEN W.             6/2/2014    4/16/2015    319    0.0525%      $      114.17
WUNDERLICH, DAWN R.          7/13/2015     8/9/2015     28    0.0046%      $       14.58
WYATT, KATARINA D.           3/20/2014    4/20/2015    397    0.0654%      $      140.87
WYCKOFF, CHELSEA D.          9/24/2007     8/3/2015    890    0.1466%      $      309.59
WYER, NICOLAS M.             5/28/2013    10/6/2014    497    0.0819%      $      175.09
WYROSDICK, MARK P.            4/1/2013     5/3/2013     33    0.0054%      $       16.29
YAEGER, DANIEL              11/15/2012    3/21/2013     25    0.0041%      $       13.56
YATES, BRANDI                8/14/2012    1/11/2016   1051    0.1731%      $      364.69
YAVUZ, HAYLEY J.             3/26/2015    1/11/2016    292    0.0481%      $      104.93
YEAGER, PATRICK J.           2/25/2015    5/12/2015     77    0.0127%      $       31.35
YNIGUEZ, KRISTEN M.          1/27/2013    7/15/2013    141    0.0232%      $       53.25
YODER, KRYSTA L.              1/6/2015    2/10/2015     36    0.0059%      $       17.32
YORK, BRADY J.                8/6/2013    8/18/2013     13    0.0021%      $        9.45
YORK, CATHLEEN               7/17/1991    1/11/2016   1051    0.1731%      $      364.69
YORT, KASEY D.               1/25/2006    7/29/2013    155    0.0255%      $       58.05
YOUNG, ADRIANNA S.           9/22/2015   10/26/2015     35    0.0058%      $       16.98
YOUNG, ALICIA C.             6/30/2014    6/30/2015    366    0.0603%      $      130.26
YOUNG, BREANA M.             2/25/2015    4/14/2015     49    0.0081%      $       21.77
YOUNG, CHASE R.              5/11/2015    5/25/2015     15    0.0025%      $       10.13
YOUNG, DANA M.               6/18/2012    6/22/2013    118    0.0194%      $       45.38
YOUNG, JEROME H.              2/3/2015    1/11/2016    343    0.0565%      $      122.39
YOUNG, JESSICA R.             5/6/2015    8/17/2015    104    0.0171%      $       40.59

                                                             Exhibit B - Settlement Amounts
   Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 99 of 129 Page ID
                                       #976

YOUNG, JOSEPH                 7/3/2014     7/9/2014      7    0.0012%      $        7.40
YOUNG, KEILA B.             10/20/2013     1/1/2014     74    0.0122%      $       30.33
YOUNG, PEGGY N.              1/27/2014   12/28/2015    701    0.1155%      $      244.91
YOUNG, SHANIKA D.            2/25/2015    3/17/2015     21    0.0035%      $       12.19
YOUNG, SHANIKA D.            2/25/2015    3/23/2015     27    0.0044%      $       14.24
YOUNG, STEPHEN A.            6/18/2015     8/3/2015     47    0.0077%      $       21.08
YOUNG, SYDNEY L.             2/13/2014    6/15/2015    488    0.0804%      $      172.01
YOUNG, TIMRA                 12/1/2014   12/15/2014     15    0.0025%      $       10.13
YOUNG, TYLER B.               4/9/2013    6/11/2013     64    0.0105%      $       26.90
YOUNGBLOOD, AMY M.            8/7/2015    1/11/2016    158    0.0260%      $       59.07
ZABALA, ANNEMARITESS         1/12/2015    1/27/2015     16    0.0026%      $       10.48
ZABEL, KELSIE L.            12/14/2013    9/22/2014    283    0.0466%      $      101.85
ZAMACONA, IVAN                5/8/2013    7/15/2013     69    0.0114%      $       28.61
ZAMKUS, MEGAN D.              5/4/2009    8/26/2014    548    0.0903%      $      192.54
ZASTROW, SAMANTHA J.          4/1/2015    6/19/2015     80    0.0132%      $       32.38
ZDANOWSKI, JESSICA M.         2/9/2012    11/7/2013    256    0.0422%      $       92.61
ZEPU, DEWITT                 6/20/2012    7/23/2013    149    0.0245%      $       55.99
ZEPU, ISAAC W.                9/2/2012    1/11/2016   1051    0.1731%      $      364.69
ZIEGLER III, WILLIAM M.     10/22/2012    3/23/2013     27    0.0044%      $       14.24
ZITTENFIELD, ANGELA F.        2/2/2015    2/23/2015     22    0.0036%      $       12.53
ZULAUF, SARAH E.              9/3/2013    2/13/2014    164    0.0270%      $       61.13
ZUMWALDE, HARRISON L.        1/13/2014     1/5/2015    358    0.0590%      $      127.52

COUNT 2817                                                                 $221,862.58




                                                             Exhibit B - Settlement Amounts
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 100 of 129 Page ID
                                     #977




                    EXHIBIT C
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 101 of 129 Page ID
                                     #978


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

  JANIA VOLZ,                                            )
  CATRINA MILO,                                          )
  KRISTIN BOYLE, and                                     )
  DENISE KLINCIK,                                        )
                                                         )
         Plaintiffs,                                     )
                                                         )
  v.                                                     )       Case No. 3:15-cv-00627-DRH-RJD
                                                         )
  TRICORP MANAGEMENT COMPANY,                            )       Judge: David R. Herndon
  TRICORP FOOD SERVICES, INC.,                           )
  TRICORP ENTERPRISES, LTD.,                             )       Magistrate: Philip M. Frazier
  TRICORP, INCORPORATED,                                 )
  TRICORP HOLDING, LLC,                                  )       JURY TRIAL DEMANDED
  PRIMROSE RESTAURANT PROPERTIES, L.P.,                  )
  FAIRVIEW HEIGHTS BISTRO, LLC,                          )
  STEPHEN BELL,                                          )
  BRADLEY BAX, AND                                       )
  BISTATE BISTRO ASSOCIATES, L.P.,                       )
  BB HOLDING, LLC,                                       )
  DOE DEFENDANTS 1-10,                                   )
                                                         )
         Defendants.                                     )
                                                         )

        P LAINTIFFS ’ S ECOND A MENDED C OLLECTIVE AND C LASS A CTION
                                  C OMPLAINT
         Plaintiffs Jania Volz, Catrina Milo, Kristin Boyle, and Denise Klincik, (“Plaintiffs”), by their

  undersigned attorney, on their own behalf and on behalf of all others similarly situated, upon

  personal knowledge as to themselves and their own acts, and upon information and belief as to all

  other matters, bring this putative collective and class action against all named Defendants Tricorp

  Management Company, Tricorp Food Services, Inc., Tricorp Enterprises, Ltd., Tricorp, Inc.,

  Tricorp Holding, LLC, Primrose Restaurant Properties, L.P., Fairview Heights Bistro, LLC, Stephen

  Bell, Bradly Bax, Bistate Bistro Associates, L.P., BB Holding, LLC, and Doe Defendants 1-10,


                                                    1
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 102 of 129 Page ID
                                     #979


  (hereinafter collectively referred to as “Defendants”) as, in reality, Defendants form a single

  enterprise that acts as the corporate alter egos of Mr. Bell and Mr. Bax, and alleges as follows:


                                        NATURE OF THE CASE
          1.       Through this action, Plaintiffs seek to recover minimum wages for themselves and

  other similarly-situated co-workers – servers, bussers, runners, bartenders, barbacks, hosts, and other

  “tipped workers” – who work or have worked for Defendants at, at least, T.G.I. Friday’s franchised

  restaurants owned and/or operated by Defendants in Illinois, Missouri, Arkansas, Kansas, and

  Oklahoma.

          2.       Defendants, a group of related corporate entities and individuals with interests

  within those corporate entities, manage various T.G.I Friday’s franchised restaurants which employ

  approximately 900 employees. Many of these employees work as “tipped workers.”

          3.       Defendants are among the largest T.G.I. Friday’s franchisers in the United States.

          4.       Defendants have maintained control, oversight, and direction over Plaintiffs and

  similarly-situated employees, including the ability to hire, fire, and discipline them.

          5.       At all times relevant, Defendants have paid Plaintiffs at a “tipped” minimum wage

  rate – less than the full minimum wage rate for non-tipped workers.

          6.       Defendants, however, have not satisfied the strict requirements under the Fair Labor

  Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., or the Illinois Minimum Wage Law (“IMWL”),

  820 Ill. Comp. Stat. 105/1, et seq., which would allow them to pay this reduced minimum wage (i.e.,

  take a “tip credit”).

          7.       Specifically, Defendants maintain a uniform, company-wide policy and practice

  whereby tipped workers are required to spend a substantial amount of time performing non-tip

  producing “side work” including, but not limited to, general cleaning of the restaurant, preparing




                                                      2
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 103 of 129 Page ID
                                     #980


  food in bulk for customers, cutting produce, refilling condiments, and stocking and replenishing the

  bar and service areas.

           8.     Defendants require tipped workers to perform side work at the start and end of

  every shift.

           9.     Defendants typically schedule tipped workers to work lunch, dinner, or a “swing”

  shift.

           10.    Regardless of the type of shift, Defendants require tipped workers to perform side

  work at the start and end of each shift.

           11.    Defendants require tipped workers to perform work before the restaurant is open or

  after the restaurant has closed and customers have left.

           12.    For instance, Defendants typically require tipped workers to (i) arrive at least an hour

  prior to the start of customer service – Plaintiff Volz was required to arrive at 9:00AM but the

  restaurant did not open to customers until 11:00AM – and (ii) stay at work approximately two hours

  after the restaurant closes.

           13.    During these periods Defendants required tipped workers to perform side work.

           14.    As a result, tipped workers spend in excess of two hours and more than twenty

  percent of their work-time engaged in side-work duties.

           15.    Defendants pay tipped workers for this work at or below the reduced tip credit

  minimum wage rate.

           16.    The duties that Defendants require tipped workers to perform are duties that are

  customarily assigned to “back-of-the-house” employees in other restaurants, who typically receive at

  least the full minimum wage rate.

           17.    The side work that Defendants require tipped workers to perform includes, but is

  not limited to: (1) setting up the expeditor line in the back of the house (filling bins with ice, lettuce,


                                                      3
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 104 of 129 Page ID
                                     #981


  tomatoes, condiments, and sauces); (2) cutting lemons; (3) setting up dishes and glassware at the bar;

  (4) slicing garnishes for the bar; (5) lining baskets with wax paper for hamburgers; (6) assembling

  stacks of sliced tomatoes, pickles, and onions to be used to dress hamburgers; (7) breaking down

  sheets of premade desserts into smaller pieces; (8) stocking server stations with plates, glasses, and

  silverware; (9) rolling silverware; (10) sweeping and mopping floors; (11) stocking “to-go”

  containers; (12) dusting window blinds and windowsills; (13) cleaning and breaking down the

  expeditor’s line, soup station, and salad area; (14) taking out garbage; (15) cleaning the customer

  bathroom; (16) brewing large batches of tea and coffee; and (17) breaking down and cleaning the

  tea/coffee and soda stations.

          18.        The side work described above is not specific to particular customers, tables, or

  sections, but is performed in mass quantities for the entire shift or for future shifts. Moreover, as

  these duties are not related to Plaintiffs and other similarly-situated workers’ duties as tipped

  workers, Plaintiffs and those similarly situated are entitled to the full minimum wage.

          19.        Defendants’ timekeeping system is capable of tracking multiple job codes for

  different work assignments.

          20.        Defendants kept Plaintiffs and other similarly-situated employees from tracking

  different work assignments and differentiating between tipped work and non-tipped work.

          21.        Defendants maintain a policy and practice whereby tipped workers are required to

  wear uniforms featuring the T.G.I. Friday’s logo. Additionally, tipped workers must wear plain black

  pants, a plain black belt, and plain, all black slip-resistant shoes.

          22.        Defendants maintain a dress-code policy that requires tipped workers’ uniforms to

  be “clean” and “wrinkle free.”

          23.        Defendants do not supply tipped workers with a sufficient number of uniforms for

  multiple shifts.


                                                        4
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 105 of 129 Page ID
                                     #982


          24.      Plaintiffs and other similarly-situated tipped employees are forced to by plain black:

  (1) pants, (2) belt(s), and (3) slip resistant shoes.

          25.      Defendants do not launder tipped workers’ uniforms.

          26.      Defendants require Plaintiffs and other tipped workers to pay for the cleaning and

  maintenance of their uniforms.

          27.      Defendants also maintain a policy and practice whereby they take unlawful

  deductions from tipped workers’ wages.

          28.      Defendants require tipped workers to pay customers’ bills when the customers walk

  out of the restaurant without paying for their meals, commonly referred to as a “customer walkout.”

          29.      Additionally, Defendants require tipped workers to pay for any amount that a

  drawer/register is “short” – defined by Defendants as more than $3.00 different than the amount of

  money a drawer should contain, as calculated by Defendants.

          30.      As a result, Plaintiffs bring this collective and class action under the Fair Labor

  Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., the Illinois Minimum Wage Law (“IMWL”), 820 Ill.

  Comp. Stat. 105/1, et seq., the Missouri Minimum Wage Law, the Oklahoma Minimum Wage Law,

  and the Kansas Minimum Wage Law, to recover unpaid minimum wages and other damages owed

  to herself and to all others similarly situated.

                                                THE PARTIES

          31.      Plaintiff Jania Volz (“Volz”) is an individual citizen of the State of Illinois. Ms. Volz

  resides in Fairview Heights, Illinois.

          32.      Ms. Volz has been employed by Defendants as a bartender at the T.G.I. Friday’s

  restaurant located at 6900 North Illinois Street, Fairview Heights, Illinois 62208, from on or about

  February 2015 through on or about May 2015.




                                                          5
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 106 of 129 Page ID
                                     #983


         33.     Plaintiff Volz was trained at, and therefore is familiar with the polices in place at,

  Defendants South Saint Louis County T.G.I. Friday’s location, located at 5262 South Lindbergh

  Boulevard, St. Louis, Missouri 63126.

         34.     Ms. Volz is a covered employee within the meaning of the FLSA and IMWL.

         35.     Ms. Volz’s written consent form is filed herewith as Exhibit A.

         36.     Plaintiff Catrina Milo (“Milo”) is an individual citizen of the State of Illinois. Ms.

  Milo resides in Granite City, Illinois. Ms. Milo was employed by Defendants as a bartender at the

  Downtown St. Louis T.G.I. Friday’s restaurant.

         37.     Plaintiff Kristin Boyle is an individual citizen of the State of Oklahoma and was an

  employee of Defendants in Tulsa, Oklahoma.

         38.     Plaintiff Denise Klincik is an individual citizen of the State of Kansas and was an

  employee of Defendants.

         39.     Defendant Tricorp Management Company is a Missouri corporation with its

  principal place of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005.

  Tricorp Management Company may be served through its registered agent, Mr. Mark Z. Schraier, at

  7700 Forsyth Blvd., Suite 1100, St. Louis, Missouri 63105. Tricorp Management Company, Inc. is

  wholly owned by Tricorp Enterprises, Ltd.

         40.     Defendant Tricorp Food Services, Inc. is a Missouri corporation with its principal

  place of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp

  Food Services, Inc. may be served through its registered agent, Mr. Bradley Bax, at 733 Crown

  Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp Food Services, Inc. is wholly owned

  by Tricorp Enterprises, Ltd.

         41.     Defendant Tricorp Enterprises, Ltd. is a Missouri corporation with its principal place

  of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp


                                                   6
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 107 of 129 Page ID
                                     #984


  Enterprises, Ltd. may be served through its registered agent, Mr. Bradley Bax, at 733 Crown

  Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp Enterprises, Ltd. is wholly owned by

  BB Holding, LLC.

          42.     Defendant Tricorp, Inc. is a Missouri corporation with its principal place of business

  at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp, Inc. may be served

  through its registered agent, Mr. Stephen Bell, at 733 Crown Industrial Court, Suite V, Chesterfield,

  Missouri 63005. Tricorp, Inc. is wholly owned by BB Holding, LLC.

          43.     Defendant Tricorp Holding, LLC is a Missouri limited liability company with its

  principal place of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005.

  Tricorp Holding, LLC may be served through its registered agent, Mr. Bradley Bax, at 733 Crown

  Industrial Court, Suite V, Chesterfield, Missouri 63005. Tricorp Holding, LLC is wholly owned by

  BB Holding, LLC.

          44.     Defendant Primrose Restaurant Properties, L.P. is a Missouri limited partnership

  with its principal place of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri

  63005. Primrose Restaurant Properties, L.P. may be served through its registered agent, Mr. Stephen

  Bell, at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005. Primrose Restaurant

  Properties, L.P. is owned by BB Holding, LLC and Tricorp, Inc.

          45.     Defendant Fairview Heights Bistro, LLC is an Illinois limited liability company with

  its principal place of business at 733 Crown Industrial Court, Suite V, Chesterfield, MO 63005.

  Fairview Heights Bistro, LLC may be served through its registered agent, Mr. Bradley Bax, at 6910

  North Illinois Street, Fairview Heights, Illinois 62208. Fairview Heights Bistro, LLC is wholly owned

  by Bistate Bistro Associates, L.P.

          46.     Defendant Stephen Bell is an individual citizen of the State of Missouri. Mr. Bell may

  be served at 733 Crown Industrial Court, Suite V, Chesterfield, MO 63005.


                                                    7
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 108 of 129 Page ID
                                     #985


          47.     Defendant Bradly Bax is an individual citizen of the State of Missouri. Mr. Bax may

  be served at 733 Crown Industrial Court, Suite V, Chesterfield, MO 63005.

          48.     Bistate Bistro Associates, L.P. is a Missouri limited partnership with its principal

  place of business at 733 Crown Industrial Court, Suite V, Chesterfield, Missouri 63005. Bistate

  Bistro Associates, L.P. may be served through its registered agent, Mr. Stephen Bell, at 733 Crown

  Industrial Court, Suite V, Chesterfield, Missouri 63005.

          49.     BB Holding, LLC is a Missouri limited liability company with its registered office at

  7700 Forsyth Boulevard, St. Louis, Missouri 63105.

          50.     Doe Defendants 1-10 may include other related entities discovered as discovery in

  this litigation progresses.

                                     JURISDICTION AND VENUE
          51.     This Court has federal-question subject-matter jurisdiction pursuant to 29 U.S.C.

  §216(b) and 28 U.S.C. § 1331.

          52.     Further, this Court has subject-matter jurisdiction over this action pursuant to 28

  U.S.C. 1332(d)(2) based on the minimal diversity of citizenship between Plaintiff and Defendants

  and an amount in controversy exceeding $5,000,000.

          53.     This Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C.

  §1367(a).

          54.     This Court has personal jurisdiction over all Defendants because Defendants act as a

  single enterprise and regularly and systematically conduct business in this District.

          55.     Upon information and belief, the various Defendants are only mere departments of

  other Defendants, are and under the complete control of other Defendants.

          56.     Defendants exist as at least nine corporate entities even though Defendants’ business

  is operating T.G.I. Friday’s franchises.


                                                     8
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 109 of 129 Page ID
                                     #986


          57.     Fairview Heights Bistro, LLC is under the complete control of and exists as a mere

  department of Tricorp Food Services, Inc., Tricorp Enterprises, Ltd., Tricorp Holding, LLC,

  Primrose Properties, L.P., Bistate Bistro Associates, L.P., and BB Holding, LLC.

          58.     Upon information and belief, Defendants have underfunded certain corporate entity

  Defendants.

          59.     Upon information and belief, Defendants fail to observe corporate form.

          60.     Upon information and belief, certain Defendant corporate entities are intentionally

  underfunded.

          61.     Bistate Bistro Associates, L.P. is “controlled by Ste[phen] Bell and Bradley Bax.” 1

          62.     “Tricorp Food Services, Inc. owns and operates ... T.G.I. Friday’s restaurants in

  Missouri, Illinois, and Oklahoma, and is owned by Steve Bell and Brad Bax.” 2, 3

          63.     It has also been recognized that Tricorp Enterprises, Ltd. is “the company that

  operates T.G.I. Friday’s here.” 4

          64.     Although Defendants attempt to hide the singular form of the Tricorp/Bistate

  Bistro/Primrose/BB Holdings/Bell/Bax conglomerate, it is clear that there at least four different

  entities, if not more, have been recognize to own the Midwestern T.G.I. Friday’s franchises.

          65.     As the true corporate form of Defendants is a single enterprise, with more than

  $500,000 in annual revenue, which regularly and systematically conducts business within Illinois,

  Defendants are properly haled before this Court.



  1 http://www.bizjournals.com/stlouis/stories/2010/06/07/daily43.html (last visited August 13, 2015),
  attached as Exhibit B to First Amended Complaint.
  2 http://www.bizjournals.com/stlouis/stories/2002/02/25/daily52.html (last visited August 13, 2015)

  attached as Exhibit C to First Amended Complaint.
  3 http://www.bizjournals.com/stlouis/stories/2003/04/28/daily28.html (last visited August 13, 2015)

  attached as Exhibit D to First Amended Complaint.
  4 http://www.bizjournals.com/stlouis/stories/2003/06/09/daily50.html (last visited August 13, 2015)

  attached as Exhibit E to First Amended Complaint.

                                                      9
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 110 of 129 Page ID
                                     #987


           66.     Alternatively, upon information and belief, all Defendants participate in the

  management of the Illinois T.G.I. Friday’s location, and thus have minimum contacts with Illinois,

  making this Court’s assertion of jurisdiction proper here.

           67.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

  transact business within this District and the actions giving rise to Plaintiff’s injuries took place in

  this District, in St. Clair County, Illinois.

                                         FACTUAL ALLEGATIONS
           68.     Consistent with their enterprise-wide policies and patterns or practices as described

  herein, Defendants harmed Plaintiff, individually, as follows.

           69.     Defendants did not pay Plaintiffs the proper minimum wages for all of the time that

  they was suffered or permitted to work each workweek.

           70.     Throughout the duration of her employment for Defendants, Plaintiffs received bi-

  weekly paychecks from Defendants that did not properly record or adequately compensate them for

  all the hours they worked.

           71.     Defendants utilized an online system for providing access to Plaintiffs’ paycheck

  stubs.

           72.     After Plaintiffs’ employment with Defendants ended, Defendants terminated

  Plaintiff’s ability to access her paycheck stubs.

           73.     This action effectively prevents Plaintiffs from being able to pinpoint exact hours

  worked during specific weeks, and whether or not Plaintiff was properly paid minimum wage.

           74.     Defendants paid Plaintiffs at the tipped minimum wage rate.

           75.     Plaintiffs were paid at the tipped minimum wage rate irrespective of what hours they

  worked, what job duties they performed, or their ability (or inability) to earn tips.




                                                      10
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 111 of 129 Page ID
                                     #988


          76.       Defendants required Plaintiffs to spend at least 20% of their shift performing non-

  tipped work wholly unrelated to her duties as a tipped worker. These duties included, but are not

  limited to, running silverware through the dishwashing machine, sorting silverware, rolling

  silverware, breaking down side stands, breaking down and cleaning the soda machine and coffee

  machine, setting up burger bins, cutting lemons, sweeping, wiping down booths and chairs, stocking

  plates, napkins, cups, and to-go containers, cleaning doors and windows, and setting up and

  breaking down the expeditor line.

          77.       Although Plaintiffs should have been paid the full minimum wage, Defendants paid

  them an hourly rate that fell below the minimum wage to which she was entitled.

          78.       Upon information and belief, Plaintiffs were paid less than minimum wage on a

  weekly basis, for multiple workweeks.

          79.       During her employment, Ms. Volz generally worked the following scheduled hours

  unless she missed time for vacation, sick days, or holidays:

                •   Tuesday through Friday, and Sunday – 9:00 AM to 4:00 PM; or
                •   Wednesday through Saturday – 9:00 AM to 4:00 PM.

          80.       Defendants required Ms. Volz to wear a uniform consisting of a shirt with the T.G.I.

  Friday’s logo, black slacks, black shoes, black belt, and black socks.

          81.       Defendants did not launder and/or maintain Ms. Volz’s mandatory uniform, and

  failed to pay Ms. Volz the required weekly uniform-maintenance amount in addition to the required

  minimum wage.

          82.       Defendants maintained a policy that would deduct money from Ms. Volz paycheck if

  she had a customer walkout or a short register.




                                                     11
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 112 of 129 Page ID
                                     #989


             83.     Defendants did not keep accurate records of wages or tips earned, hours worked by

  Ms. Volz, or job duties performed in various positions. 5

             84.     Defendants failed to furnish Ms. Volz with accurate statements of wages, hours

  worked, rates paid, gross wages, and the claimed tip allowance.

                           COLLECTIVE AND CLASS ACTION ALLEGATIONS
             85.     Plaintiffs brings this action pursuant to 29 U.S.C. § 216(b) and Rules 23(a), 23(b)(2),

  and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of themselves and a class and

  subclasses of persons similarly situated and seeking relief, and defined as:

        The FLSA Collective Class
        All current and former tipped workers employed by Defendants who were subjected to sub-
        minimum wage pay for non-tipped duties within three years preceding the date of filing this
        action through final judgment in this matter, and who elect to opt-in to this action;

        The Illinois Subclass
        All current and former tipped workers employed by Defendants who were subjected to sub-
        minimum wage pay for non-tipped duties within three years preceding the date of filing this
        action through final judgment in this matter

        The Missouri Subclass
        All current and former tipped workers employed by Defendants who were subjected to sub-
        minimum wage pay for non-tipped duties within three years preceding the date of filing this
        action through final judgment in this matter

        The Oklahoma Subclass
        All current and former tipped workers employed by Defendants who were subjected to sub-
        minimum wage pay for non-tipped duties within three years preceding the date of filing this
        action through final judgment in this matter

        The Kansas Subclass
        All current and former tipped workers employed by Defendants who were subjected to sub-
        minimum wage pay for non-tipped duties within three years preceding the date of filing this
        action through final judgment in this matter

  The FLSA Collective Class and The Illinois, Missouri, Oklahoma, and Kansas Subclasses are

  collectively referred to herein as the “Class” or the “Subclasses” unless otherwise indicated. Plaintiffs

  reserve the right to add, amend, modify, or further define the Class or Subclass and/or to move for

  5   Plaintiff does not bring any cause of action for Defendants’ failure to keep accurate records.

                                                           12
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 113 of 129 Page ID
                                     #990


  certification of a class or classes defined differently than set forth above depending on the facts or

  law as discovered in this action.

          86.      Plaintiffs asserts claims against Defendants individually and on behalf of all Class and

  Subclass members for violations of the law as set forth below.

          87.      The members of the Class and Subclasses are ascertainable from objective criteria.

          88.      If necessary to preserve the case as a collective or class action, the Court itself can

  redefine the Class or Subclasses, create additional subclasses, or both.

          89.      The requirements of Rule 23(a) are satisfied for the proposed classes because the

  members of the proposed classes are so numerous and geographically dispersed that joinder of all its

  members is impracticable.

          90.      Upon information and belief there are more than 50 Illinois, Oklahoma, and Kansas

  Subclass members.

          91.      Therefore, the “numerosity” requirement of Rule 23(a)(1) is met.

          92.      The commonality requirement of Rule 23(a)(2) is satisfied because there are

  questions of law or fact common to Plaintiffs and the other members of the proposed Class and

  Subclasses that predominate over questions affecting only individual members of the Class and

  Subclasses. Among those common questions of law or fact are, but are not limited to, the following:

                a. whether Defendants failed to pay adequate minimum wages to tipped employees in
                   violations of the FLSA.

                b. whether Defendants violated the IMWL and supporting regulations;

                c. whether Defendants employed Plaintiff and the Illinois Subclass Members within the
                meaning of the IMWL;

                d. whether Defendants paid Plaintiff and the Illinois Subclass Members at the proper
                minimum wage rate for all hours worked;

                e. whether Defendants had a policy or practice of failing to provide adequate notice of
                their payment of a reduced minimum wage to Plaintiff and the Illinois Subclass
                Members;

                                                     13
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 114 of 129 Page ID
                                     #991


                f. what notice is required in order for Defendants to take a tip credit under Illinois law;

                g. whether Defendants kept complete and accurate records of Plaintiff and other Class
                   and Illinois Subclass members work time in accordance with Illinois Law;

                h. at what common rate, or rates subject to common methods of calculation,
                   Defendants were required to pay Plaintiff and the Illinois Subclass Members for their
                   work;

                i.   whether Defendants have a policy of requiring tipped employees to engage in side
                     work for two hours or more per day and/or for more than twenty percent of their
                     time at work in violation of the IMWL;

                j.   whether Defendants misappropriated tips from Plaintiff and the Illinois Subclass
                     Members by demanding, handling, pooling, counting, distributing, accepting, and/or
                     retaining tips and/or service charges paid by customers that were intended for
                     Plaintiff and the Illinois Subclass Members, and which customers reasonably
                     believed to be gratuities for Plaintiff and the Illinois Subclass Members;

                k. whether Defendants failed to pay Plaintiff and the Illinois Subclass Members for
                   uniform-related expenses;

                l.   whether Defendants made unlawful deductions from wages paid to Plaintiff and the
                     Illinois Subclass Members; and

                m. whether Defendants failed to keep true and accurate time and pay records for all
                   hours worked by Plaintiff and the Illinois Subclass Members, and other records
                   required by the IMWL.

          93.        Plaintiffs’ claims are typical of the claims of the proposed classes that they seek to

  represent, as described above, because they arise from the same course of conduct and policies and

  procedures of Defendants and are based on the same legal theories. Further, Plaintiffs have

  sustained legal injuries arising from Defendants’ conduct, as alleged herein, and Plaintiffs seek the

  same forms of relief for themselves and the proposed classes. Therefore, the “typicality”

  requirement of Rule 23(a)(3) is satisfied.

          94.        Because their claims are typical of the proposed classes that Plaintiffs seek to

  represent, Plaintiffs has every incentive to pursue those claims vigorously. Plaintiffs have no

  conflicts with, or interests antagonistic to, the proposed classes. Plaintiffs, victims of Defendants’

  illegal pay practices and violations of federal and state minimum wage laws, are committed to the

                                                      14
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 115 of 129 Page ID
                                     #992


  vigorous prosecution of this action, which is reflected in their retention of competent counsel

  experienced in complex and challenging litigation.

         95.     Plaintiffs’ counsel satisfies the requirements of Rule 23(g) to serve as counsel for the

  proposed class. Plaintiffs’ counsel (a) has identified and thoroughly investigated the claims set forth

  herein, (b) has been in the past, and is currently, involved in complex wage-and-hour litigation; (c)

  has extensive knowledge of the applicable law; and (d) is committed to the vigorous prosecution of

  this action on behalf of the proposed class. Accordingly, Plaintiff satisfies the adequacy of

  representation requirements of Rule 23(a)(4).

         96.     In addition, this action meets the requirements of Rule 23(b)(2). Defendants have

  acted or refused to act on grounds generally applicable to Plaintiffs and other members of the

  proposed classes, making declaratory relief with respect to the proposed classes appropriate.

         97.     This action also meets the requirements of Rule 23(b)(3). Common questions of law

  or fact, including those set forth above, exist as to the claims of all members of the proposed classes

  and predominate over questions affecting only individual class members, and a class action is the

  superior method – if not the only method – for the fair and efficient adjudication of this

  controversy.

         98.      Class treatment will permit large numbers of similarly-situated tipped workers to

  prosecute their respective claims in a single forum simultaneously, efficiently, and without the

  unnecessary duplication of evidence, effort, and expense that numerous individual actions would

  produce. Further, by prosecuting this case as a collective or class action, class members, who may be

  current employees of Defendants’, may receive just compensation for the work performed for

  Defendants without fear of retaliation for seeking just compensation.

         99.     Further, notice may be provided to members of the proposed class by including

  notice with each potential class members paycheck stub, first-class mail to addresses maintained for


                                                    15
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 116 of 129 Page ID
                                     #993


  each employee by Defendants, and through the alternative means, including electronic mail (email),

  social network posting (i.e, Facebook posts), and job-site postings.

          100.    Finally, the collective and class action is an appropriate method for the fair and

  efficient adjudication of this controversy given the following:

              a. all putative class and subclass members are “similarly situated,” in that, at least,
              Defendants utilized a company-wide policy and practice whereby tipped workers were
              paid the tipped minimum wage for all hours worked regardless of the duties performed
              or the ability to earn tips (i.e., when there was no ability to earn tips because the business
              was not open, tipped workers were still paid only the tipped minimum wage). Plaintiff
              Volz saw the same policy and practice enforced at both the South Saint Louis County
              T.G.I. Friday’s location where she received her training and at the Fairview Heights
              T.G.I. Friday’s location where she worked after training, even though the locations had
              different managers;

              b. common questions of fact and law predominate over any individual questions that
              may arise, such that the class action mechanism is superior to other available means for
              the fair and efficient adjudication of this dispute;

              c. there will be enormous economies to the Court and the parties in litigating the
              common issues in a class action instead of individual claims;

              d. class treatment is required for optimal resolution of this matter and for limiting the
              court-awarded reasonable legal expenses incurred by class members;

              e. if the size of individual class members’ claims are small, their aggregate volume,
              coupled with the economies of scale in litigating similar claims on a common basis, will
              enable this case to be litigated as a class action on a cost-effective basis, especially when
              compared with the cost of individual litigation; and

              f. the trial of this case as a class action will be fair and efficient because the questions of
              law and fact which are common to the Plaintiffs, the FLSA Collective Class, and the
              Subclasses predominate over any individual issues that may arise.

                            CLAIMS FOR RELIEF
             COUNT I – ON BEHALF OF THE FLSA COLLECTIVE CLASS
    FAILURE TO PAY MINIMUM WAGES UNDER THE FAIR LABOR STANDARDS ACT




                                                      16
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 117 of 129 Page ID
                                     #994


          101.     Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 through

  100, as if fully set forth herein.

          102.     Defendants are subject to the minimum wage requirements of the FLSA, 29 U.S.C. §

  201 et seq., including, but not limited to, 29 U.S.C. §§ 203 and 206, because Defendants are an

  enterprise engaged in interstate commerce, with annual revenue exceeding $500,000, and its

  employees, including tipped workers, are engaged in commerce.

          103.     Defendants were required to pay directly to Plaintiff and the FLSA Collective Class

  Members the applicable minimum wage rate for all hours worked.

          104.     Defendants failed to pay Plaintiffs and the FLSA Collective Class Members the

  minimum wages to which they are entitled.

          105.     Upon information and belief Plaintiffs were not paid, on a weekly basis, an amount

  equal or greater than her hours worked multiplied by the minimum wage.

          106.     Further, Defendants were not eligible to avail themselves of the federal tipped

  minimum wage rate under the FLSA, 29 U.S.C. §§ 201 et seq., because, upon information and belief,

  Defendants distributed a portion of their tips to workers who do not “customarily and regularly”

  receive tips.

          107.     Defendants also required Plaintiffs and the FLSA Collective Class Members to

  perform a substantial amount of non-tipped “back of the house” or “side work” in excess of twenty

  percent of their work time. During these periods, Defendants compensated Plaintiff and the FLSA

  Collective Members at the tipped minimum wage rate rather than at the full hourly minimum wage

  rate as required by 29 U.S.C. §§ 201 et seq.

          108.     Plaintiffs and all similarly-situated employees are victims of a uniform and employer-

  based compensation policy. This uniform policy, violative of the FLSA, has been applied, and upon

  information and belief, continues to be applied to all members of the FLSA Collective Class.


                                                    17
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 118 of 129 Page ID
                                     #995


          109.     Defendants’ unlawful conduct, as described in this Complaint, has been willful and

  intentional. Defendants were aware or should have been aware that the practices described in this

  Complaint were unlawful. Defendants have not made a good faith effort to comply with the FLSA

  with respect to the compensation of Plaintiffs and the FLSA Collective Members.

          110.     Because Defendants’ violations of the FLSA have been willful, a three-year statute of

  limitations applies, along with periods of equitable tolling, pursuant to 29 U.S.C. §§ 201 et seq.

          111.     As a result of Defendants’ willful violations of the FLSA, Plaintiff and the FLSA

  Collective Members have suffered damages by being denied minimum wages in accordance with the

  FLSA in amounts to be determined at trial, and are entitled to recovery of such amounts, liquidated

  damages, prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C.

  §§ 201 et seq.

                     COUNT II – ON BEHALF OF THE ILLINOIS SUBCLASS
                     VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW
          112.     Plaintiff Volz incorporates by reference the allegations set forth above, as if fully set

  forth herein.

          113.     At all times relevant hereto, Plaintiff Volz and Illinois Subclass members have been

  entitled to the rights, protections, and benefits provided under the IMWL, 820 Ill. Comp. Stat.

  105/1, et seq.

          114.     The IMWL regulates, among other things, the payment of minimum wage by

  employers to employees, subject to limited exemptions not applicable herein. Id.

          115.     During all times relevant to this action, Defendants were the “employer” of Plaintiff

  Volz, and Illinois Subclass members within the meaning of the IMWL. 820 Ill. Comp. Stat. 105/3(c).

          116.     During all times relevant to this action, Plaintiff Volz and Illinois Subclass members

  were Defendants’ “employees” within the meaning of the IMWL. 820 Ill. Comp. Stat. 105/3(d).



                                                      18
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 119 of 129 Page ID
                                     #996


          117.     Pursuant to the IMWL, during the relevant time period, employees were entitled to

  be compensated at a rate of $8.25 per hour for non-tipped work, and $4.95 per hour for tipped

  work, provided that the amount of tips earned equated to a rate of hourly pay of at least that

  otherwise required by the IMWL. 820 Ill. Comp. Stat. 105/4.

          118.     Defendants, pursuant to their policy and practice, violated the IMWL by refusing

  and failing to pay Plaintiff Volz and other similarly-situated employees adequate minimum wages for

  work performed for Defendants, including non-tipped side work.

          119.     Plaintiff Volz and Illinois Subclass members are victims of a uniform and employer-

  based compensation policy. Upon information and belief, this uniform policy, violative of the

  IMWL, has been applied, and continues to be applied to all Illinois Subclass members who are

  employed or were employed by Defendants.

          120.     Plaintiff Volz and all other similarly-situated employees are entitled to damages

  including payment of minimum wages for time spent working for Defendants for which Defendants

  did not pay adequate minimum wages, and additional damages of 2% of the amount of any such

  underpayments for each month following the date of payment during which such underpayments

  remain unpaid.

          121.     Further, Plaintiff Volz and other similarly-situated employees are entitled to an award

  of pre- and post-judgment interest at the applicable legal rate.

          122.     Finally, Defendants are liable for Plaintiff Volz’s costs and attorney’s fees incurred in

  this action.

                     COUNT III – ON BEHALF OF THE ILLINOIS SUBCLASS
                                  BREACH OF CONTRACT
                 DISMISSED BY ORDER OF THE COURT DATED JANUARY 13, 2016

          123.     Plaintiff incorporates by reference the allegations set forth in paragraphs 1 through

  119, as if fully set forth herein.

                                                      19
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 120 of 129 Page ID
                                     #997


             124.   During all times relevant to this action, Plaintiff and all others similarly situated

  entered into implied contracts with Defendants whereby such persons agreed to perform services as

  part of their employment by Defendants and Defendants agreed to compensate such persons for all

  such services based upon specified hourly rates of pay (“the Contracts”).

             125.   Implied in the terms of the Contracts was the agreement that Plaintiff and those

  similarly situated would be paid in accordance with the FLSA and IMWL, and applicable regulations

  thereto.

             126.   Defendants breached and violated the Contracts by failing to pay Plaintiff and all

  others similarly situated for time worked or at the correct wage rate, depending on what jobs and

  tasks were being performed.

             127.   Prior to Defendants’ breach and violation of the Contracts, Plaintiff and all others

  similarly situated performed their duties under the Contracts.

             128.   As a direct and proximate result of Defendants’ violations and breaches of the

  Contracts, as stated above, Plaintiff and all others similarly situated have been damaged by, at least,

  not receiving the full wage due under the Contracts.

             129.   Plaintiff and all similarly-situated tipped employees are entitled to damages equal to

  all unpaid wages due within five (5) years preceding the filing of this Complaint plus periods of

  equitable tolling.

                       COUNT IV – ON BEHALF OF THE ILLINOIS SUBCLASS
                                   UNJUST ENRICHMENT
             130.   Plaintiff Volz and Illinois Subclass Members incorporate by reference the allegations

  set forth above as if fully set forth herein.

             131.   Plaintiff Volz, Illinois Subclass Members, and all similarly-situated employees, by

  virtue of providing free labor, have conferred a benefit on Defendants.



                                                     20
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 121 of 129 Page ID
                                     #998


          132.    Defendants have appreciated the benefit conferred by Plaintiff Volz, Illinois Subclass

  Members, and all those similarly situated, by being able to operate their business and provide their

  services without having to pay for certain integral portions of its labor force’s work-time.

          133.    At least, Defendants use tipped workers making less than minimum wage to fill

  positions that should be staffed by full minimum wage workers.

          134.    Defendants have retained this benefit by failing to adequately compensate Plaintiff

  Volz and others similarly situated for their labor and for continuing to operate its business without

  compensating employees similarly situated to Plaintiff Volz.

          135.    Defendants have been able to retain this benefit by maintaining its current business

  model and its current pay scheme.

          136.    Further, the extra services – “side work” and “back of the house” work – were so

  different in nature from the Plaintiff Volz’s and Illinois Subclass members’ original job duties that

  there exists an implied promise to pay such different, distinct, and additional services.

          137.    Under the circumstances set forth above, Defendants retaining the benefit conferred,

  in the form of free and reduced rate labor, is unjust and inequitable.

          138.    Because Defendants obtained this benefit at the expense of Plaintiff Volz and Illinois

  Subclass members through illegal and inequitable conduct, Defendants are obligated to disgorge

  back to Plaintiff Volz and Illinois Subclass members all amounts by which Provider Plus has been

  unjustly enriched at their expense.

                    COUNT V – ON BEHALF OF THE MISSOURI SUBCLASS
                      VIOLATION OF MISSOURI MINIMUM WAGE LAW

          139.    Plaintiff Milo incorporates by reference the allegations set forth in paragraphs 1

  through 122, as if fully set forth herein.




                                                     21
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 122 of 129 Page ID
                                     #999


          140.       At all times relevant herein, Plaintiff Milo and Missouri Subclass members have been

  entitled to the rights, protections, and benefits provided under the MMWL, Mo. Rev. Stat. §

  290.500, et seq.

          141.       The MMWL regulates, among other things, the payment of minimum wage by

  employers in Missouri, subject to limited exemptions not applicable herein. Mo. Rev. Stat. §§

  290.502 & 290.500(3) & (4).

          142.       During all times relevant to this action, Defendants qualified as “employer” of

  Plaintiff Milo and Missouri Subclass members, within the meaning of the MMWL. Mo. Rev. Stat. §

  2910.500(3).

          143.       During all times relevant to this action, Plaintiff Milo and Missouri Subclass

  members were “employees” within the meaning of the MMWL. Mo. Rev. Stat. § 290.500(3).

          144.       The MMWL exempts certain categories of employees from Missouri’s minimum

  wage and other obligations, none of which apply to Plaintiff Milo or Missouri Subclass members

          145.       Defendants pay policies and practices, as described herein fail to adequately

  compensate Plaintiff Milo and Missouri Subclass Members.

          146.       Plaintiff Milo and Missouri Subclass Members are entitled to damages including

  payment of minimum wages for time spent working, when in excess of 20% of their work-time was

  spent performing work related to their tipped positions, or any time spent performing work

  unrelated to their tipped positions.

          147.       Additionally, Plaintiff Milo and all other similarly-situated employees are entitled to

  liquidated damages, an award of pre- and post-judgment interest at the applicable legal rate.

          148.       Finally, Defendants are liable for costs and attorney’s fees incurred in this action.




                                                        22
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 123 of 129 Page ID
                                    #1000


                     COUNT VI– ON BEHALF OF THE MISSOURI SUBCLASS
                                 UNJUST ENRICHMENT

          149.     Plaintiff Milo incorporates by reference all allegations in all preceding paragraphs as

  is fully set forth herein.

          150.     Plaintiff Milo, Missouri Subclass Members, and all similarly-situated employees, by

  virtue of providing free labor, have conferred a benefit on Defendants.

          151.     Defendants have appreciated the benefit conferred by Plaintiff Milo, Missouri

  Subclass Members, and all those similarly situated, by being able to operate their business and

  provide their services without having to pay for certain integral portions of its labor force’s work-

  time.

          152.     At least, Defendants use tipped workers making less than minimum wage to fill

  positions that should be staffed by full minimum wage workers and benefit from having Plaintiff

  Milo, Missouri Subclass Members, and all those similarly situated work off the clock.

          153.     Defendants have retained this benefit by failing to adequately compensate Plaintiff

  Milo, Missouri Subclass Members, and others similarly situated for their labor and for continuing to

  operate its business without compensating employees similarly situated to Plaintiff Milo.

          154.     Defendants have been able to retain this benefit by maintaining its current business

  model and its current pay scheme.

          155.     Under the circumstances set forth above, Defendants retaining the benefit conferred,

  in the form of free and reduced rate labor, is unjust and inequitable.

          156.     Plaintiff Milo, Missouri Subclass Members, and all those similarly situated have an

  absence of remedies at law.

          157.     Because Defendants obtained this benefit at the expense of Plaintiff Milo and

  Missouri Subclass Members through unlawful and inequitable conduct, Defendants are obligated to


                                                     23
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 124 of 129 Page ID
                                    #1001


  disgorge back to Plaintiff Milo and Missouri Subclass Members all amounts by which Defendants

  have been unjustly enriched at Plaintiff Kristin Milo’s and Missouri Subclass Members’ expense.

                 COUNT VII – ON BEHALF OF THE OKLAHOMA SUBCLASS
                   VIOLATION OF OKLAHOMA MINIMUM WAGE LAW

     158.         Plaintiff Kristin Boyle incorporates by reference the allegations set forth in

         paragraphs above as if fully set forth herein.

     159.         At all times relevant herein, Plaintiff Kristin Boyle and Oklahoma Subclass members

         have been entitled to the rights, protections, and benefits provided under the OMWL, Okla.

         Stat. Ann. tit. 40, § 197.1, et seq.

     160.         The OMWL regulates, among other things, the payment of minimum wage by

         employers in Oklahoma.

     161.         Defendants pay policies and practices, as described herein fail to adequately

         compensate Plaintiff Kristin Boyle and Oklahoma Subclass Members.

     162.         Plaintiff Kristin Boyle and Oklahoma Subclass Members are entitled to damages

         including payment of minimum wages for time spent working, when in excess of 20% of

         their work-time was spent performing work related to their tipped positions, or any time

         spent performing work unrelated to their tipped positions.

     163.         Additionally, Plaintiff Kristin Boyle and all other similarly-situated employees are

         entitled to liquidated damages, an award of pre- and post-judgment interest at the applicable

         legal rate.

     164.         Finally, Defendants are liable for costs and attorney’s fees incurred in this action.




                 COUNT VIII– ON BEHALF OF THE OKLAHOMA SUBCLASS


                                                     24
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 125 of 129 Page ID
                                    #1002


                                      UNJUST ENRICHMENT

     165.       Plaintiff Kristin Boyle incorporates by reference all allegations in all preceding

        paragraphs as is fully set forth herein.

     166.       Plaintiff Kristin Boyle, Oklahoma Subclass Members, and all similarly-situated

        employees, by virtue of providing free labor, have conferred a benefit on Defendants.

     167.       Defendants have appreciated the benefit conferred by Plaintiff Kristin Boyle,

        Oklahoma Subclass Members, and all those similarly situated, by being able to operate their

        business and provide their services without having to pay for certain integral portions of its

        labor force’s work-time.

     168.       At least, Defendants use tipped workers making less than minimum wage to fill

        positions that should be staffed by full minimum wage workers and benefit from having

        Plaintiff Kristin Boyle, Oklahoma Subclass Members, and all those similarly situated work

        off the clock.

     169.       Defendants have retained this benefit by failing to adequately compensate Plaintiff

        Kristin Boyle, Oklahoma Subclass Members, and others similarly situated for their labor and

        for continuing to operate its business without compensating employees similarly situated to

        Plaintiff Kristin Boyle.

     170.       Defendants have been able to retain this benefit by maintaining its current business

        model and its current pay scheme.

     171.       Under the circumstances set forth above, Defendants retaining the benefit conferred,

        in the form of free and reduced rate labor, is unjust and inequitable.

     172.       Plaintiff Kristin Boyle, Oklahoma Subclass Members, and all those similarly situated

        have an absence of remedies at law.




                                                   25
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 126 of 129 Page ID
                                    #1003


     173.        Because Defendants obtained this benefit at the expense of Plaintiff Kristin Boyle

        and Oklahoma Subclass Members through unlawful and inequitable conduct, Defendants are

        obligated to disgorge back to Plaintiff Kristin Boyle and Oklahoma Subclass Members all

        amounts by which Defendants have been unjustly enriched at Plaintiff Kristin Boyle’s and

        Oklahoma Subclass Members’ expense.

                      COUNT IX – ON BEHALF OF THE KANSAS SUBCLASS
                        VIOLATION OF KANSAS MINIMUM WAGE LAW

     174.        Plaintiff Denise Klincik incorporates by reference the allegations set forth above as if

        fully set forth herein.

     175.        At all times relevant herein, Plaintiff Denise Klincik and Kansas Subclass members

        have been entitled to the rights, protections, and benefits provided under the KMWL, Kan.

        Stat. Ann. § 44-1201, et seq.

     176.        The KMWL regulates, among other things, the payment of minimum wage by

        employers in Kansas.

     177.        Defendants pay policies and practices, as described herein fail to adequately

        compensate Plaintiff Denise Klincik and Kansas Subclass Members.

     178.        Plaintiff Denise Klincik and Kansas Subclass Members are entitled to damages

        including payment of minimum wages for time spent working, when in excess of 20% of

        their work-time was spent performing work related to their tipped positions, or any time

        spent performing work unrelated to their tipped positions.

     179.        Additionally, Plaintiff Denise Klincik and all other similarly-situated employees are

        entitled to liquidated damages, an award of pre- and post-judgment interest at the applicable

        legal rate.

     180.        Finally, Defendants are liable for costs and attorney’s fees incurred in this action.


                                                    26
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 127 of 129 Page ID
                                    #1004


                     COUNT X– ON BEHALF OF THE KANSAS SUBCLASS
                               UNJUST ENRICHMENT

     181.        Plaintiff Klincik incorporates by reference all allegations in all preceding paragraphs

        as is fully set forth herein.

     182.        Plaintiff Klincik, Kansas Subclass Members, and all similarly-situated employees, by

        virtue of providing free labor, have conferred a benefit on Defendants.

     183.        Defendants have appreciated the benefit conferred by Plaintiff Klincik, Kansas

        Subclass Members, and all those similarly situated, by being able to operate their business

        and provide their services without having to pay for certain integral portions of its labor

        force’s work-time.

     184.        At least, Defendants use tipped workers making less than minimum wage to fill

        positions that should be staffed by full minimum wage workers and benefit from having

        Plaintiff Klincik, Kansas Subclass Members, and all those similarly situated work off the

        clock.

     185.        Defendants have retained this benefit by failing to adequately compensate Plaintiff

        Klincik, Kansas Subclass Members, and others similarly situated for their labor and for

        continuing to operate its business without compensating employees similarly situated to

        Plaintiff Klincik.

     186.        Defendants have been able to retain this benefit by maintaining its current business

        model and its current pay scheme.

     187.        Under the circumstances set forth above, Defendants retaining the benefit conferred,

        in the form of free and reduced rate labor, is unjust and inequitable.

     188.        Plaintiff Klincik, Kansas Subclass Members, and all those similarly situated have an

        absence of remedies at law.


                                                   27
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 128 of 129 Page ID
                                    #1005


      189.         Because Defendants obtained this benefit at the expense of Plaintiff Klincik and

          Kansas Subclass Members through unlawful and inequitable conduct, Defendants are

          obligated to disgorge back to Plaintiff Klincik and Kansas Subclass Members all amounts by

          which Defendants have been unjustly enriched at Plaintiff Klincik’s and Kansas Subclass

          Members’ expense.

                                        PRAYER FOR RELIEF
          WHEREFORE Plaintiffs, individually and on behalf of all others similarly situated, pray for
  relief as follows:
          A. an order from the Court certifying the FLSA Collective Class identified herein as an
              FLSA collective action;
          B. an order from the Court certifying the Subclasses identified herein as a class action
              pursuant to Fed. R. Civ. P. 23(b) and (c) and appointing Plaintiffs, respectively, class
              representatives and their counsel to represent the Illinois, Missouri, Oklahoma, and
              Kansas Subclasses;
          C. an order from the Court awarding Plaintiffs and Class and Subclass members their
              unpaid wages in an amount to be proven at trial;
          D. an order from the Court awarding Plaintiffs and Class and Subclass members
              compensatory damages in an amount to be proven at trial;
          E. an order from the Court awarding Plaintiffs and Class and Subclass members liquidated
              damages in an amount set by applicable law and to be proven at trial;
          F. an order from the Court requiring Defendants to disgorge to Plaintiffs and Subclass
              members the amount, to be proven at trial, by which Defendants were unjustly enriched
              by their unlawful conduct at the expense of Plaintiff and those similarly situated;
          G. an order from the Court awarding Plaintiffs and Class and Subclass members pre-
              judgment and post-judgment interest, as well as reasonable attorneys’ and expert-witness
              fees and other costs as may be available under law; and
          H. an order from the Court awarding such other and further relief as this Court may deem
              just and proper.




                                                    28
Case 3:15-cv-00627-DRH-RJD Document 389-1 Filed 09/15/16 Page 129 of 129 Page ID
                                    #1006


                               DEMAND FOR JURY TRIAL
                     Plaintiffs request a jury trial on all issues so triable.



                                                     Respectfully submitted,
                                                     Plaintiffs Jania Volz, Catrina Milo, Kristin
                                                     Boyle, and Denise Klincik
                                                     BY THEIR ATTORNEY AND ATTORNEY FOR
                                                     THE CLASSES AND SUBCLASSES,


                                                     /s/ Brandon M. Wise
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                                                29
